                EXHIBIT 2




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                             Deposition of:
                    Patrick Lappert, M.D.
                         September 30, 2021


                            In the Matter of:

                   Kadel, et al vs. Folwell




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1                IN THE UNITED STATES DISTRICT COURT

2           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

3

4

5

6

7           CIVIL ACTION NO.:               1:19-cv-272-LCB-LPA

8

9           MAXWELL KADEL, et al.

10                       Plaintiffs

11

12          v.

13

14          DALE FOLWELL, et al.

15                       Defendants

16

17

18               REMOTE VIDEOTAPED VIDEOCONFERENCE

19                       DEPOSITION TESTIMONY OF:

20                          PATRICK LAPPERT, M.D.

21                              September 30, 2021

22

23



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1                            A P P E A R A N C E S

2

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4           videoconference):

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1           FOR THE DEFENDANTS (via remote

2           videoconference):

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17          ALSO PRESENT (via remote

18          videoconference):

19

20          Andrew Baker, Videographer

21

22

23



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7           Mr. Tishyevich                                            489

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15                             operation 'utterly

16                             unacceptable' and a form of

17                           'child abuse',

18                             LifeSiteNews.com

19

20                (Exhibits attached to transcript.)

21

22

23



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1                           I, Lane C. Butler, a Court

2            Reporter and Notary Public, State of

3            Alabama at Large, acting as Notary,

4            certify that on this date, pursuant to

5            the Federal Rules of Civil Procedure,

6            there came before me via remote

7            videoconference from Decatur, Alabama,

8            commencing at approximately 8:30 a.m.

9            Central, on the 30th day of September,

10           2021, PATRICK LAPPER, M.D., witness in

11           the above cause, for oral examination,

12           whereupon the following proceedings were

13           had:

14

15                        THE VIDEOGRAPHER:                 Good morning.

16           We are going on the record at 8:31 a.m.,

17           Thursday, September 30th, 2021.                           This is

18           Media Unit 1 of the videorecorded

19           deposition of Dr. Patrick Lappert as

20           taken by counsel for plaintiff in the

21           matter of Kadel, et al. v. Folwell, et

22           al., filed in the United States District

23           Court for the Middle District of North



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1            Carolina, Civil Action No.

2            1:19-cv-272-LCB-LPA.

3                         This deposition is being

4            recorded remote via Zoom located in

5            Decatur, Alabama.               My name is Andrew

6            Baker from the firm Veritext Legal

7            Solutions.          I am the videographer.                       The

8            court reporter is Lane Butler, also from

9            Veritext Legal Solutions.

10                        Will counsel now state their

11           appearance and affiliations for the

12           record.       The court reporter will swear in

13           the witness.           Thank you.           We may proceed.

14                        MR. TISHYEVICH:              This is Dmitriy

15           Tishyevich from McDermott, Will & Emery,

16           LLP, for plaintiffs.

17                        MR. KNEPPER:            My name is John

18           Knepper.        I represent three of the

19           defendants in this matter: the North

20           Carolina State Health Plan for Teachers

21           and State Employees; Dale Folwell, the

22           treasurer for the State of North

23           Carolina; and Dee Jones, the executive



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1            administrator of the North Carolina State

2            Health Plan.           I'll be defending Dr.

3            Lappert's deposition.

4

5                          PATRICK LAPPERT, M.D.,

6                     having first been duly sworn,

7               was examined and testified as follows:

8

9            EXAMINATION BY MR. TISHYEVICH:

10               Q.       Good morning, Doctor.

11               A.       Good morning, sir.

12               Q.       State your full name for the

13           record.

14               A.       Patrick Walter Lappert.

15               Q.       Any reason you're not able to

16           give complete and truthful testimony

17           today?

18               A.       There is no reason.

19               Q.       You've been retained as an

20           expert by defendants in this case;

21           correct?

22               A.       I have.

23               Q.       You've prepared an expert



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1            report; right?

2                  A.      I have.

3                  Q.      So, I've premarked Exhibit 1.

4            Open that, and let me know when you have

5            it.

6            (Exhibit 1 was marked for identification

7            and is attached.)

8                  A.      Okay.       I have it.

9                  Q.      This report contains all the

10           opinions that you intend to offer in this

11           case; correct?

12                 A.      It does.

13                 Q.      All right.           Without telling me

14           any conversations that you had with

15           counsel, what did you do to prepare for

16           your deposition today?

17                 A.      Well, I reviewed the -- the

18           documents.           I guess it's called the

19           complaint.           I reviewed the patient

20           records.         And then, I reviewed the

21           literature, pertinent journal articles,

22           publications, and had conversations with

23           -- with counsel, Mr. Kadel [sic], and his



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1            staff at various times.

2                Q.       When you say "patient records,"

3            are you talking about the medical records

4            for the individual plaintiffs?

5                A.       Yes.      The ones that were -- that

6            were given to me to review.

7                Q.       And when you say "the

8            literature," are you referring to some of

9            the studies that you cite in your report?

10               A.       Yes.

11               Q.       Have you reviewed any studies --

12           strike that.

13                        In preparing for your deposition

14           today, have you reviewed additional

15           studies that are not cited in your

16           report?

17               A.       No.     The report contains all of

18           the studies that I -- that I reviewed

19           that I consider pertinent.                      I glossed

20           some but didn't see them as germane.                             So

21           all the ones that were -- that were

22           germane to my opinion are -- are in the

23           -- in the document.



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1                Q.       Understood.           And you mentioned

2            that you met with or spoke with Mr.

3            Knepper in preparing for today?

4                A.       I have.

5                Q.       Okay.       Again, without disclosing

6            any substance of the conversation, how

7            many times did you speak or meet with

8            him?

9                A.       Three or four times, I think.

10               Q.       And when did those conversations

11           take place?

12               A.       Well, as recently as yesterday

13           evening and I think a couple of meetings

14           back in May, I think it was.                       I'd have to

15           look at my calendar, but.

16               Q.       Last evening, you spoke --

17           strike that.

18                        You know that Dr. Hruz was

19           deposed yesterday; right?

20               A.       I'd heard, yes.

21               Q.       And so before yesterday, when

22           was the last time that you spoke with Mr.

23           Knepper to prepare for your deposition?



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1                A.       I want to say it's a couple of

2            weeks ago.          I'm not exactly sure.

3                Q.       How long was the conversation

4            with Mr. Knepper last night?

5                A.       A little less than an hour.

6                Q.       Did he provide you with copies

7            of any of the exhibits that were used at

8            Dr. Hruz's deposition?

9                A.       No, he did not.

10               Q.       Did he provide you with any --

11           any portions of that deposition

12           transcript?

13               A.       No.

14               Q.       And then going in reverse

15           chronological order, you mentioned you

16           may have spoken a couple of weeks ago?

17               A.       I think.         I don't know exactly

18           -- I don't know exactly when that was,

19           Mr. Tishyevich.             I want to say three

20           weeks ago perhaps.                I'm not exactly sure.

21               Q.       Do you recall roughly how long

22           that conversation was?

23               A.       About the same duration.                     I



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1            think it was perhaps an hour, perhaps an

2            hour.

3                Q.       Okay.       All right.           You -- in the

4            course of -- strike that.

5                         In the course of working on this

6            case, have you ever communicated with Dr.

7            Hruz?

8                A.       Not directly.             I've spoken with

9            Dr. Hruz, but in the matter at hand, I

10           have not spoken with him about it.

11                        MR. TISHYEVICH:              For the court

12           reporter, that's H-R-U-Z.                     And I'll try

13           and spell things as we go to make it a

14           little easier.

15               Q.       How about Dr. McHugh?

16           M-C-H-U-G-H.           Have you spoken with him in

17           the course of working on this case?

18               A.       I've never spoken directly to

19           him, no.

20               Q.       How about Dr. Levine?

21           L-E-V-I-N-E.

22               A.       I have not spoken with Dr.

23           Levine.



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1                  Q.      But you have met Dr. Hruz before

2            working on this case; right?

3                  A.      Yes.

4                  Q.      And is the same true for Dr.

5            Levine?

6                  A.      I've never met Dr. Levine.

7                  Q.      All right.            About how many hours

8            do you estimate you've spent working on

9            your expert report?

10                 A.      Somewhere around maybe 60 hours.

11           I could -- I could look for that number,

12           but I'm going to estimate it at about 60

13           hours, something like that.

14                 Q.      You're aware that the individual

15           plaintiffs in this case have been

16           deposed; right?

17                 A.      Yes, I've heard.

18                 Q.      Were you provided with

19           deposition transcripts or any portion of

20           their testimony?

21                 A.      I have -- I have not seen those,

22           no.

23                 Q.      Okay.        You're aware that other



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1            experts in this case have also already

2            been deposed?

3                A.       Yes.

4                Q.       Have you been provided with

5            deposition transcripts or any portion of

6            their deposition testimony?

7                A.       I -- I saw a transcript of Dr.

8            McHugh's.

9                Q.       Was that the only tran- --

10           strike that.

11                        Was Dr. McHugh's transcript the

12           only expert deposition transcript you've

13           seen?

14               A.       It's the only one I've read.                        I

15           -- I think that -- yeah, I think it's the

16           only one I read.              Yes, sir.

17               Q.       Okay.       All right.           So throughout

18           your report, you use this term --

19               A.       Could I amend that last answer?

20               Q.       Of course.

21               A.       I -- I did read portions of Dr.

22           Brown's transcript, actually, some days

23           back.      My -- my apologies.



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1                Q.       No.     And I should say that.                      If

2            at any point in time in your deposition

3            you want to go back and amend your

4            answer, that is totally fine.

5                A.       Thank you.

6                Q.       Okay.       So in your report, you

7            use this term "transgender treatment

8            industry."          Right?

9                A.       Yes.

10               Q.       And you and Dr. Levine and Dr.

11           McHugh all use this term in your reports.

12           Were you aware of that?

13               A.       Oh, I was aware that the -- no,

14           I wasn't aware that they were using it,

15           actually.

16               Q.       Is it coincidental that the

17           three of you are using this term?

18               A.       I -- I think it's sort of

19           becoming a common term lately.                         I don't

20           know where it came from.                    I was trying to

21           think about that.               I don't know who

22           originated it, but I've -- I don't know

23           even if it was me that originated it,



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1            actually, since I've been speaking about

2            this subject for some time now.                          But it

3            seemed like an apt term, so it doesn't

4            surprise me that others are using it.

5                Q.       You don't know who came up with

6            that term?

7                A.       I don't.

8                Q.       It's possible that it was you?

9                A.       It wouldn't surprise me.

10               Q.       And you mentioned that it's

11           becoming more commonly used.                       Is that

12           right?

13               A.       It seems to be.              I don't know.

14           I don't know how common it is, but it's

15           kind of a small circle of people talking

16           about these things.

17               Q.       Are you aware of a single

18           peer-reviewed scientific article that has

19           used the term "transgender treatment

20           industry"?

21               A.       I am not.

22               Q.       Do you know what PubMed is?

23           P-U-B-M-E-D.



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1                A.       Yes.

2                Q.       It's a search engine maintained

3            by the National Institute of Health;

4            right?

5                A.       Yes.       That's my understanding.

6                Q.       It's a search engine for

7            scientific articles, basically; right?

8                A.       Yes.

9                Q.       So I'll represent to you that I

10           ran a search in PubMed for the phrase

11           transgender treatment industry, in

12           quotation marks, and came back with zero

13           results for that phrase.

14                        MR. KNEPPER:             Objection to form.

15               Q.       Do you find that surprising?

16               A.       No.

17               Q.       Okay.        What does that lack of

18           results tell you about whether this term

19           is a commonly used term in this field?

20                        MR. KNEPPER:             Objection to form.

21               A.       I wouldn't expect it to be a

22           commonly used term, and it doesn't

23           surprise me that you didn't find it.



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1                Q.       Yeah.       "Transgender treatment

2            industry" is not a commonly used term in

3            the field of treatment and diagnosis of

4            gender dysphoria; right?

5                         MR. KNEPPER:            Objection to form.

6                A.       I would agree.

7                Q.       Yeah.       It's a term that, as far

8            as I can tell, is fairly idiosyncratic to

9            the opinions that you and the other

10           defendant experts are using in this case.

11           Does that sound right?

12                        MR. KNEPPER:            Objection to form.

13               A.       That sounds right to me, yeah.

14               Q.       Okay.       Look at page 1 of your

15           expert report, Exhibit 1.

16               A.       All right.

17               Q.       I see it says, "Declaration of

18           Patrick Lappert, MD."                  You see that?

19               A.       Yes.

20               Q.       Under that, it says, "Board

21           Certified in Surgery and Plastic

22           Surgery."         Do you see that?

23               A.       I do.



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1                Q.       Let's talk about your

2            certifications.             Let's start with plastic

3            surgery.        You originally received your

4            board certification in plastic surgery in

5            1997; correct?

6                A.       That's correct.

7                Q.       Then you got recertified in

8            2008; correct?

9                A.       That's correct.

10               Q.       That board certificate was only

11           valid for ten years; correct?

12               A.       Correct.

13               Q.       And your plastic board -- strike

14           that.

15                        And your plastic surgery board

16           certificate expired at the end of 2018;

17           correct?

18               A.       Correct.

19               Q.       Well, why did you decide not to

20           renew your board certificate past 2018?

21               A.       Well, I'm a -- I'm a solo

22           practitioner, and the main reason for

23           maintaining that expensive certificate



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1            was that many hospitals required it in

2            order to have privileges.                     Several years

3            ago, a lot of hospitals started dropping

4            that requirement, so it didn't make sense

5            for a surgeon who is within three years

6            of retirement to expend all that money

7            and time to maintain a certification that

8            was no longer necessary for me in terms

9            of maintaining my practice.

10               Q.       Do you currently have admitting

11           privileges at any hospital?

12               A.       No.

13               Q.       When was the last time you had

14           admitting privileges in any hospital?

15               A.       A year ago.

16               Q.       What hospital was that?

17               A.       Crestwood Hospital, Huntsville,

18           Alabama.

19               Q.       So within the last year at

20           least, I take it you haven't performed

21           any surgeries at a hospital.                       Right?

22               A.       That's correct.              A -- a year

23           ago, I retired from active surgical



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1            practice.

2                Q.       Were you doing surgeries in 2019

3            after your plastic -- plastic surgery

4            board certificate expired?

5                A.       Yes.

6                Q.       When -- just can we pin this

7            down more?          What -- what month do you

8            think you stopped performing surgeries?

9                A.       Let's see.            This is November of

10           2021, so it would have been August of

11           2020.

12               Q.       All right.            You are not

13           currently board-certified in plastic

14           surgery; correct?

15               A.       Correct.

16               Q.       And you have not been

17           board-certified in plastic surgery since

18           2018; correct?

19               A.       Correct.

20               Q.       For over two and a half years at

21           this point; right?

22               A.       Correct.

23               Q.       So this page 1 of your report



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1            says that you're board-certified in

2            plastic surgery.              Do you think it's

3            appropriate for you to make that

4            representation even though you don't have

5            an active certification?

6                         MR. KNEPPER:            Objection, form.

7                A.       Well, appropriate in terms of --

8            I don't understand the question.

9                Q.       Let me be more specific.

10               A.       Okay.

11               Q.       Do you know what the Amer- --

12           I'll go back.

13                        You know what the American Board

14           of Plastic Surgery is; right?

15               A.       Certainly.

16               Q.       Do you know what the American

17           Board of Plastic Surgery has to say about

18           doctors who represent that they're

19           board-certified when they don't have an

20           active certification?

21                        MR. KNEPPER:            Objection, form.

22               A.       They discourage it.                  I -- I

23           suspect that the -- the document -- well,



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1            I didn't prepare that -- that particular

2            part of the document, although I signed

3            it, certainly.              But I see your point,

4            yes.

5                Q.       Okay.        I'm going to introduce

6            another exhibit.               You'll see it in a

7            minute.        Let me know when you have it,

8            Doctor.

9            (Exhibit 2 was marked for identification

10           and is attached.)

11               A.       I have it.

12               Q.       This is a printout from the -- a

13           web page from the American Board of

14           Plastic Surgery.               Go to page 2.

15               A.       All right.            I'm there.

16               Q.       Middle of the page, it says in

17           bold letters, "Guidelines for Stating

18           Certification Status."                    Do you see that?

19               A.       I do.

20               Q.       Look at the third paragraph.

21               A.       All right.

22               Q.       It says, "ABPS does not mandate

23           the specifics of how diplomates state



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1            their certification, except to assert

2            that diplomates should not state or imply

3            that they are certified if their

4            certification has expired."

5                         Do you see that?

6                A.       I do.

7                Q.       All right.           You understand that

8            under this guidance from the ABPS, you

9            are not supposed to be representing that

10           you are board-certified in plastic

11           surgery because you do not have a current

12           certification; correct?

13                        MR. KNEPPER:            Objection, form.

14               A.       Yes, I understand it.

15               Q.       Let's look at what else it says.

16           Towards the bottom of page 2, it says,

17           "We ask that you follow these guidelines

18           throughout your career to accurately

19           state your ABPS certification."                          Do you

20           see that?

21               A.       I do.

22               Q.       The first bullet says,

23           "Diplomates of ABPS must accurately state



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1            their certification status at all times."

2            Do you see that?

3                A.       I do.

4                Q.       And you understand what this

5            means; right?

6                A.       I do.

7                         MR. KNEPPER:            Objection, form.

8                Q.       Page 3, next bullet says,

9            "Diplomates with expired time-limited

10           certification or those whose

11           certification is revoked may not claim

12           Board certification by ABPS and must

13           revise all descriptions of their

14           qualifications accordingly."                       Right?

15                        MR. KNEPPER:            Objection to form.

16               A.       Yes.      Yes, I see that.

17               Q.       And you understand what that

18           means; right?

19                        MR. KNEPPER:            Objection to form.

20               A.       I do.

21               Q.       Your expert report is not in

22           compliance with this guidance from the

23           ABPS; correct?



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1                         MR. KNEPPER:            Objection, form.

2                A.       The -- the one line there under

3            my name is not in compliance.                        That's

4            correct.

5                Q.       And the same is true of your CV;

6            right?

7                A.       Well, the CV states that I have

8            been board-certified by the American

9            Board of Surgery and have been

10           board-certified by the ABPS in 1997 and

11           2008, yes.          Have been.

12               Q.       And look back at this page 3

13           from the ABPS.             It says, "When a

14           physician misrepresents certification

15           status, ABPS may notify local

16           credentialing bodies, licensing bodies,

17           law enforcement agencies and others."                            Do

18           you see that?

19               A.       I do.

20               Q.       All right.           And you understand

21           what this means; right?

22                        MR. KNEPPER:            Objection to form.

23               A.       Yes.



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1                Q.       Okay.        Are you going to update

2            your expert report so that it comports

3            with this guidance from the ABPS?

4                         MR. KNEPPER:             Objection to form.

5                A.       Certainly.

6                Q.       Okay.        So that's plastic

7            surgery.         Let's talk about your board

8            certification in surgery next.                          So, go

9            back to your expert report, page 1.

10               A.       Okay.

11               Q.       You received your board

12           certification in surgery in 1992;

13           correct?

14               A.       Was it '92 or '91?                  '92, yes,

15           sir.

16               Q.       And that certification expired

17           in 2002; right?

18               A.       Yes.

19               Q.       And you had not renewed that

20           after 2002; right?

21               A.       Correct.

22               Q.       You're not currently

23           board-certified in surgery; correct?



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1                A.       Correct.

2                Q.       You have not been

3            board-certified in surgery since 2002;

4            correct?

5                A.       Since 2002, yes, sir.

6                Q.       That's over nineteen years;

7            right?

8                         So, I showed you this guidance

9            from the American Board of Plastic

10           Surgery.        How about the American Board of

11           Surgery?        What do you think they have to

12           say about doctors who make these kind of

13           representations?

14                        MR. KNEPPER:            Objection, form.

15               A.       I'm sure it's probably the same.

16               Q.       Yeah.       Would it surprise you

17           that the American Board of Surgery does

18           not allow doctors to represent that they

19           are board-certified in surgery unless

20           they have a current board certificate?

21                        MR. KNEPPER:            Objection, form.

22               A.       It would not surprise me, no.

23               Q.       All right.           You are currently



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1            serving as an expert in another case,

2            Brandt v. Rutledge.                B-R-A-N-D-T.

3            Correct?

4                A.       Yes.

5                Q.       That's a case pending in federal

6            court in Arkansas; right?

7                A.       Correct.

8                Q.       In that case, you were retained

9            by the defendants, by the State of

10           Arkansas; right?

11               A.       Yes.

12               Q.       Dr. Hruz, who is one of the

13           defendants -- strike that.                      Dr. Hruz, who

14           is one of the experts in this case, is

15           also serving as an expert for defendants

16           in that Brandt case; right?

17               A.       That's my understanding, yes.

18               Q.       And the same is true for Dr.

19           Levine; right?

20               A.       I didn't know about Dr. Levine,

21           but.

22               Q.       And you submitted an expert

23           declaration in that Brandt case in July



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1            of this year; correct?

2                A.       I believe that was when I

3            submitted it, yes.

4                Q.       All right.           Let's look at it.

5            And let me know when you get the exhibit,

6            Doctor.

7            (Exhibit 3 was marked for identification

8            and is attached.)

9                A.       Here it is.           Let's see.            All

10           right.

11               Q.       All right.           Page 1 says,

12           "Declaration of Dr. Patrick Lappert."

13           That's you; right?

14               A.       Yes.

15               Q.       Fair to say that there is at

16           least some overlap between the opinions

17           that you're offering in this case and the

18           opinions that you're offering in that

19           Brandt case; right?

20                        MR. KNEPPER:            Form.

21               A.       Well, given that the subject

22           matter is the same, I would expect some

23           overlap, yes, sir.



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1                Q.       Go to page 5 of that

2            declaration.

3                A.       All right.           I'm there.

4                Q.       You say under Section II,

5            "'Gender affirming' treatments are

6            experimental."             Right?

7                A.       Yes.

8                Q.       It's basically the same opinion

9            that you offered in this case; right?

10               A.       Yes, sir.

11               Q.       Go to page 29 of your

12           declaration.           See there's a paragraph 63?

13               A.       Yes, sir.

14               Q.       And toward the end of that

15           paragraph, you talk about the national

16           reviews in England, Sweden, and Finland

17           and other reviews like Cochrane, Griffin,

18           and Carmichael.             You see that?

19               A.       Yes, sir.

20               Q.       You relied -- you relied on all

21           those studies for your opinions in this

22           case as well; right?

23               A.       I did.



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1                Q.       Okay.       Go to page 38 of your

2            declaration.           Do you see that it's the

3            section titled "Concluding Opinions" and

4            it goes through the next --

5                A.       Yes, sir.

6                Q.       -- few pages?

7                         We don't need to go through

8            these individually, but you agree there's

9            a lot of overlap between the opinions

10           you're offering in that Brandt case and

11           the opinions you're offering in this

12           case; right?

13                        MR. KNEPPER:            Objection to form.

14               A.       Yes.

15               Q.       The Brandt case involves a

16           challenge to an Arkansas law which bans

17           doctors from providing various types of

18           gender-affirming treatments to

19           adolescents; correct?

20               A.       Yes.

21               Q.       Including puberty blockers and

22           cross-sex hormones and gender-affirming

23           surgery; correct?



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1                A.       Yes.

2                         MR. KNEPPER:            Objection.

3                Q.       Have you kept up with what's

4            going on in that case in Arkansas?

5                         MR. KNEPPER:            Objection, form.

6                A.       I haven't heard anything perhaps

7            in the last several weeks.

8                Q.       Well, are you aware that in July

9            of this year, the judge in that case held

10           that the State is prohibited from

11           enforcing the ban while the case is being

12           decided?

13               A.       I've heard that.

14               Q.       All right.           And as part of that

15           order, the judge made some factual

16           findings.         Are you aware of that?

17               A.       I'm not -- haven't read the

18           details.

19               Q.       All right.           Let me show you.

20               A.       Okay.

21               Q.       Let me introduce one more

22           exhibit.

23           (Exhibit 4 was marked for identification



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1            and is attached.)

2                A.       I have it now.

3                Q.       Okay.        So, this is a

4            supplemental order from Judge Moody in

5            Arkansas dated August 2nd, 2021.                            Do you

6            see that?

7                A.       I see that, yes.

8                Q.       This first paragraph says,

9            "After further consideration, the Court

10           supplements the ruling made at the

11           conclusion of the July 21, 2021 hearing

12           to include the following findings."                              Do

13           you see that?

14               A.       I do.

15               Q.       By the way, did you testify live

16           at that July 2021 hearing?

17               A.       No.

18               Q.       Do you know if any of the other

19           experts testified live at that hearing?

20               A.       I don't know.

21               Q.       Go to page 7.

22               A.       All right.

23               Q.       All right.            Look at the last



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1            paragraph.

2                A.       Okay.

3                Q.       The second sentence in that last

4            paragraph says, "Gender-affirming

5            treatment is supported by medical

6            evidence that has been subject to

7            rigorous study."              Right?        Do you see

8            that?

9                A.       That's what it says, yes, sir.

10               Q.       And that finding by the Court in

11           Arkansas is contrary to the opinions that

12           you offered in that case; right?

13               A.       Apparently so, yes.

14               Q.       And it's also contrary to the

15           opinions that Dr. Hruz and Dr. Levine

16           offered in that case; right?

17               A.       Yes.

18                        MR. KNEPPER:            Objection to form.

19               A.       It appears to be, yes.

20               Q.       And it's also contrary to the

21           opinions that you and Dr. Hruz and Dr.

22           Levine are offering in this case; right?

23               A.       Yes.



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1                Q.       Look at the next sentence.                          It

2            says, "Every major expert medical

3            association recognizes that

4            gender-affirming care for transgender

5            minors may be medically appropriate and

6            necessary to improve the physical and

7            mental health of transgender people."

8                         That's what it says; right?

9                A.       That's what it says, yes, sir.

10               Q.       That's also contrary to the

11           opinions that you and Dr. Hruz and Dr.

12           Levine are offering in both these cases;

13           right?

14               A.       Yes, it certainly is.

15               Q.       In fact, according to this

16           order, every major expert medical

17           association disagrees with you because

18           they've all taken a position that this

19           treatment is in fact medically necessary;

20           right?

21                        MR. KNEPPER:            Objection to form.

22               A.       Apparently so, yes.

23               Q.       All right.           Look at page 6.



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1            Look at the last paragraph.                       You see it

2            says that -- the third sentence says,

3            "The consensus recommendation of medical

4            organizations is that the only effective

5            treatment for individuals at risk of or

6            suffering from gender dysphoria is to

7            provide gender-affirming care."                          Do you

8            see that?

9                A.       I do.

10               Q.       You see there's a Footnote 3?

11               A.       Let me get my glasses on here.

12           Footnote 3.          I don't see Footnote 3.

13           Let's see.

14               Q.       The bottom of page 6.

15               A.       I see it now, yes.

16               Q.       Footnote 3 has a long list of

17           medical organizations that all have taken

18           the position that gender-affirming care

19           is medically appropriate for individuals

20           with gender dysphoria; right?

21                        MR. KNEPPER:            Objection to form.

22               A.       Yeah, the consensus

23           recommendations.              Those are consensus



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1            recommendations.               And yes, I was aware

2            that those were the positions taken by

3            those organizations even before the

4            judge's opinion.

5                Q.       Yeah.        By my count, Footnote 3

6            lists 18 different professional medical

7            organizations, and as I read this

8            footnote, every single one of them takes

9            the view that's contrary to the opinions

10           that you and Dr. Hruz and Dr. Levine are

11           offering; right?

12                        MR. KNEPPER:             Objection to form.

13               A.       Yes.       There's a consensus of

14           consensus on this, exactly, yes, sir.

15               Q.       And you're not aware of a single

16           professional medical organization that

17           submitted anything in this Brandt case

18           and said that they agree with the

19           opinions that you and Dr. Hruz and

20           Dr. Levine are offering; right?

21               A.       Well, I'm aware of at least one

22           professional organization that -- that

23           disagrees with that, yeah, the



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1            pediatric -- American Pediatric --

2            American Association of Pediatricians.

3                Q.       Do you know if they submitted

4            anything to the Court in this Brandt case

5            to that effect?

6                A.       I'm not aware.              I don't know.

7                Q.       Okay.       Look back to your report,

8            Exhibit 1.

9                A.       Okay.

10               Q.       And go to page 5.

11               A.       Okay.

12               Q.       See there's paragraph 11?

13               A.       Yes.

14               Q.       And you say that "Affirmation

15           Treatments are Currently Experimental."

16           And then you say, "are not generally

17           accepted by the relevant scientific

18           community."          Right?

19               A.       Yes, I say that, absolutely.

20               Q.       Well, apparently, there's at

21           least eighteen different professional

22           medical organizations that all say that

23           you and Dr. Hruz and Dr. Levine are wrong



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1            and that these gender-affirming

2            treatments are, in fact, medically

3            appropriate; right?

4                A.       Well, I --

5                         MR. KNEPPER:            Object.

6                A.       I would say that part of the

7            difficulty here is a misunderstanding

8            about how those consensus opinions are

9            arrived at.          They're not arrived at

10           scientifically.             So minus a scientific

11           opinion, those are -- those are consensus

12           opinions.

13                        For example, in plastic surgery,

14           there was a controversy some years ago

15           about the use of fat grafting in breast

16           reconstruction, and there was a concern

17           about whether it would promote malignant

18           degeneration.            The American Society of

19           Plastic and Reconstructive Surgeons came

20           out with a consensus statement

21           essentially recommending against, if not

22           outright forbidding, the use of fat

23           grafting in breast reconstruction or



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1            cosmetic surgery.               But I was never

2            polled.       I was a member of the American

3            Society of Plastic Surgery, but I was

4            never polled.

5                         These consensus statements do

6            not poll the scientific or professional

7            community.          They're the work product of

8            a -- of small committees where they

9            perhaps will review scientific literature

10           and come to an opinion within that

11           relatively small group.

12                        So I think the misunderstanding

13           is that because, for example, the

14           American Medical Association or the

15           American Pediatric Society has a

16           statement making this claim, it's not, by

17           definition, supported by the membership

18           of that -- that society.                    It is the work

19           product of a committee, and it's -- and

20           it doesn't -- it doesn't lay out the

21           scientific basis for those opinions for

22           the membership to review, as was the case

23           in -- and it turns out that seven, eight



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1            years later, the American Society of

2            Plastic and Reconstructive Surgery

3            rescinded their prohibition when the

4            membership basically chimed in and said

5            this is incorrect and this is our

6            evidence, here's the science.                        And the

7            American Society rescinded that consensus

8            statement that they had made ten years

9            earlier.

10                        So I imagine that similar things

11           are going on here.                Committees generates

12           consensus statements.                  The consensus

13           statements are published.                     And one gets

14           the impression that the entire membership

15           supports the statement when that in fact

16           is not the case.              And when these

17           consensus statements are published, they

18           don't publish the supporting scientific

19           literature.          They merely make the

20           statement.          So I think this is the case

21           here as well.

22               Q.       You are not a member of the,

23           let's say, American Medical Association;



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1            right?

2                  A.      Not -- not any longer, no.

3                  Q.      And your -- I hear you

4            speculating that there's a committee that

5            came to this decision at the AMA; right?

6                          MR. KNEPPER:            Objection, form.

7                  A.      Well, if the AMA functions like

8            the American Society of Plastic Surgery

9            or other -- other professional bodies

10           like that, professional organizations

11           like that, I would expect that's how they

12           make their consensus statements, yes.

13                 Q.      You personally do not know how

14           the AMA came to issue this consensus

15           statement, do you?

16                         MR. KNEPPER:            Objection.

17                 A.      I have no personal knowledge,

18           no.

19                 Q.      You have no personal knowledge

20           what scientific literature they reviewed

21           in coming up with that consensus

22           statement, do you?

23                 A.      That's the difficulty.                    Yes,



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1            sir.

2                Q.       Yeah.

3                A.       Correct.

4                Q.       You have no idea, in short, how

5            the AMA came to reach this consensus

6            statement; right?

7                         MR. KNEPPER:             Objection to form.

8                A.       I have no personal knowledge of

9            it, no.

10               Q.       How about the American Pediatric

11           Society?         You're not a member of that;

12           right?

13               A.       No.

14               Q.       You have no idea how the

15           American Pediatric Society came to

16           support this consensus statement; right?

17               A.       Well, in that case, I do have

18           friends who are members of the American

19           Pediatric Society, I think it is.                                And

20           they, in conversation, have told me that

21           this is how the process works.                          I don't

22           have personal -- personal knowledge of

23           it, no.



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1                Q.       Are those friends on the

2            committee at the APA that decided to

3            adopt this consensus statement?

4                A.       Not to my knowledge.

5                Q.       So they also -- strike that.

6                         How about the American

7            Psychiatric Association?                      You're not a

8            member of that --

9                A.       No.

10               Q.       -- right?

11               A.       No.

12               Q.       You have no idea on what basis

13           they decided to support this consen- --

14           what you call consensus -- consensus

15           statement about the necessity of

16           treatment for gender dysphoria, do you?

17               A.       No.

18               Q.       So, Doctor, I hear you

19           criticizing these organizations, but you

20           do not have firsthand knowledge of how

21           any of those organizations came to reach

22           these positions, do you?

23                        MR. KNEPPER:             Objection to form.



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1                A.       No.

2                Q.       And you do not know what

3            scientific literature they relied on, do

4            you?

5                A.       No.

6                         MR. KNEPPER:            Objection to form.

7                A.       Other than to say that I'm

8            familiar with the current literature, and

9            I -- and whenever these -- these

10           consensus statements are supported with

11           references to the scientific literature,

12           that literature I have reviewed.                          That

13           was part of the process of generating my

14           expert testimony.

15               Q.       I thought I just heard you say

16           that these position statements are not

17           typically supported by "Here's the study

18           we relied on."             Isn't that what you said?

19               A.       Well, no.          In the -- in the

20           actual document that they publish, they

21           make -- they make reference to things

22           like that.

23                        What I meant to say, I suppose,



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1            is that -- that I've reviewed the current

2            literature, particularly in the last

3            three to five years, that's germane to

4            the subject of gender affirmation in

5            pediatric patients and adolescents, and

6            I -- and I find that the science is weak,

7            so --

8                Q.       But because you have no

9            firsthand knowledge of how any of these

10           associations came out with these position

11           statements, you do not know to what

12           extent it may have taken that literature

13           into account before adopting these

14           position statements; right?

15                        MR. KNEPPER:            Objection.

16               A.       I can only say that if they gave

17           full force to the scientific literature

18           that is used to support their position, I

19           find the scientific literature weak,

20           yeah.

21               Q.       This Brandt case involves a

22           state law that prohibits doctors in

23           Arkansas from providing gender-affirming



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1            medical treatment to anyone under

2            eighteen; correct?

3                A.       Yes.

4                Q.       You yourself support these kind

5            of state law bans; right?

6                         MR. KNEPPER:             Objection, form,

7            scope.

8                A.       I do support a control over

9            these kinds of therapies, yes, I do.

10               Q.       Well, not -- not just control,

11           because Arkansas says it will criminally

12           prosecute doctors that do it; right?

13               A.       Right.

14                        MR. KNEPPER:             Objection to form,

15           scope.

16               Q.       And you think that's a good

17           idea; right?

18               A.       I do.

19                        MR. KNEPPER:             Objection to form,

20           scope.

21               Q.       You think that other states

22           outside of Arkansas should be passing

23           similar bans; right?



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1                         MR. KNEPPER:            Objection, form,

2            scope.

3                A.       Actually, what I would prefer to

4            see is the -- is the professional

5            societies recommend against these sorts

6            of things, yes.             That would be my

7            preference.          I would rather that the

8            State did not step in and manage the care

9            of people who are suffering.                       I'd rather

10           the State stayed out of it.                       But short of

11           that, I suppose that's the -- the

12           fallback position is to recourse through

13           the law.

14                        It would seem to me that

15           professional organizations should be

16           managing these issues, and practitioners

17           ultimately should be responsible, as was

18           found in the -- in the -- the case in

19           Great Britain at the Tavistock Portman

20           Institute when the Court came back and

21           reviewed the find -- the ruling there and

22           declared that primacy should be given to

23           the decision-making of doctors rather



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1            than the Courts stepping in as -- as

2            managers of medical care.

3                         And I feel the same way.                     I

4            don't think that the State should have to

5            do this.        But -- given that -- given that

6            things are moving at the pace they are.

7                Q.       Are you aware that state

8            legislators in Utah have proposed a

9            similar ban as Arkansas for

10           gender-affirming medical treatment for

11           minors?

12               A.       Yes.

13                        MR. KNEPPER:            Objection to form,

14           scope.

15               Q.       You had involvement with those

16           legislative efforts in Utah, didn't you?

17               A.       I think I made some

18           recommendations to them.                    Yes, I did.

19               Q.       Yeah.       Because now I hear you

20           saying you prefer the professional

21           organizations handle it.                    But the fact is

22           you have actively lobbied to get these

23           kind of bans passed in other states,



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1            haven't you?

2                A.       Yes, I have.

3                         MR. KNEPPER:             Objection to form,

4            scope.

5                A.       Yes, I have.

6                Q.       I'm going to introduce another

7            exhibit.         Let me know when you have it,

8            Doctor.

9            (Exhibit 5 was marked for identification

10           and is attached.)

11               A.       I have it.

12               Q.       Exhibit 5 is a document titled:

13           "Transgender 'Transition' Procedures

14           Performed on Minors.                  Answers to

15           Questions and Information for Joint

16           Interim Committee," dated June 10th,

17           2021.      Do you see that?

18               A.       I do.

19               Q.       It says, "Submitted by Rep Rex

20           P. Shipp," S-H-I-P-P.                   Do you know who

21           that is?

22               A.       I don't know him personally, but

23           I -- I see he's a representative from



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1            Utah apparently.

2                Q.       Have you ever communicated with

3            Mr. Shipp and his staff?

4                A.       I may have and don't recall.

5                Q.       Why do you say you may have?

6                A.       I have a lot of correspondence

7            with people who ask a lot of questions

8            who are involved in this -- in this

9            issue, and I don't have a great memory

10           for names sometimes.                 But I know I was in

11           communication at some level with people

12           in Utah, but I don't recall exactly the

13           nature of that conversation, or that

14           interchange.

15               Q.       Go to page 16.

16               A.       Sixteen?

17               Q.       One six.

18               A.       One six.         Okay.

19               Q.       Toward the bottom of the page,

20           it says, "We express appreciation to

21           these noted professionals who contributed

22           to this report."              Do you see that?

23               A.       I do.



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1                Q.       Go to page 17.

2                A.       Okay.

3                Q.       The bottom of the page says,

4            "Patrick Lappert, M.D."

5                A.       Yes.

6                Q.       That's you; right?

7                A.       Yes.

8                Q.       So at some point earlier this

9            year, you were providing information to

10           the Utah State Legislature to support the

11           potential enactment of a ban on

12           gender-affirming healthcare for minors;

13           right?

14                        MR. KNEPPER:            Objection, form.

15               A.       Yes.

16               Q.       Look at the fourth name from the

17           bottom on page 17.

18               A.       Fourth name -- I'm sorry?

19               Q.       Fourth name from the bottom.

20               A.       Paul Hruz.           Yes.

21               Q.       That's the same Dr. Hruz who's

22           an expert in this case; right?

23               A.       Yes.



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1                Q.       Go to page 18.              The second name

2            from the top is Stephen B. Levine M.D.;

3            right?

4                A.       Yes.

5                Q.       Same Dr. Levine who is an expert

6            in this case; right?

7                A.       Yes.      I think so, yes.

8                Q.       And the next name is Paul

9            McHugh, M.D.; right?

10               A.       Yes.

11               Q.       The same Dr. McHugh who is an

12           expert in this case; right?

13               A.       Yes.

14               Q.       All four of you were providing

15           information to the Utah State Legislature

16           to support this potential ban; right?

17                        MR. KNEPPER:            Objection to form.

18               A.       Yes.

19               Q.       How did you get involved with

20           providing this information to the Utah

21           State Legislature?

22               A.       I don't recall.              My -- my

23           suspicion is I may have been contacted by



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1            e-mail or some other such thing.                            In

2            fact, I'm fairly confident it was an

3            e-mail request for assistance, probably.

4                Q.       Do you remember who the e-mail

5            was from?

6                A.       I do not.

7                Q.       Do you remember who at the Utah

8            State Legislature or anyone affiliated

9            with them you were communicating with in

10           this respect?

11               A.       I don't remember, no.

12               Q.       All right.            Let's see what you

13           were telling the state legislature in

14           this report.            Go to page 5.              See there's

15           a section near the top titled "Sex

16           reassignment surgeries"?

17               A.       Yes.

18               Q.       There's some language in quotes

19           -- in quotes and italicized.                         Do you see

20           that?

21               A.       I do.

22               Q.       And the first portion of the

23           paragraph says: '"Sex reassignment



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1            surgery' is a massive misrepresentation

2            of what these operations actually do.

3            You can't change a person's sex.                            All

4            that is happening is that the patient is

5            undergoing an intentional mutilation in

6            order to create a counterfeit appearance

7            of the other sex."

8                         Do you see that?

9                A.       I do.

10               Q.       And underneath, it says,

11           "Patrick Lappert, M.D."                     Right?

12               A.       Yes.

13               Q.       These are your words, Dr.

14           Lappert; right?

15               A.       Yes.

16               Q.       You consider gender reassignment

17           surgery to be an intentional mutilation;

18           right?

19               A.       I do.        Absolutely.

20                        MR. KNEPPER:             Form.

21               Q.       And calling gender reassignment

22           surgery, quote, intentional mutilation,

23           is that commonly accepted terminology in



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1            this field, Doctor?

2                A.       I expect not.

3                Q.       And then you say that when a

4            patient undergoes gender reassignment

5            surgery, all that is happening is, quote,

6            a counterfeit appearance of the other

7            sex; right?

8                A.       Yes.

9                Q.       This phrase, "counterfeit

10           appearance," do you think that's an

11           appropriate term for a doctor to use?

12               A.       Absolutely.

13               Q.       And you stand by these words;

14           right?

15               A.       I do.

16               Q.       All right.           So, we've talked

17           about Arkansas, we've talked about Utah.

18           Now, I know there is currently a number

19           of other states that are considering

20           passing similar bans.                  Outside of Utah,

21           have you done any work whatsoever in

22           connection with these potential bans in

23           other states?



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1                         MR. KNEPPER:            Objection, form,

2            scope.

3                A.       I have.

4                Q.       Which states?

5                A.       Alabama, Texas.

6                Q.       What else?

7                A.       Texas.        I don't know if there

8            were any in the Northwest or not.                           I

9            think that's all of them.                     I may be

10           wrong, but I think that's all.                         Alabama

11           and Texas I would just add to your list.

12               Q.       Okay.

13               A.       There may been something in

14           Arizona.        I'm not certain about Arizona

15           as well, but --

16               Q.       Now let me introduce another

17           exhibit.        Okay.       Let me know when you get

18           this one.

19           (Exhibit 6 was marked for identification

20           and is attached.)

21               A.       I've got it.

22               Q.       All right.           This article is

23           titled, "Alabama bill that would



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1            criminalize treatment for transgender

2            minors headed to full Alabama Senate."

3            You see that?

4                A.       I do.

5                Q.       Alabama, your home state, was

6            considering a ban very similar to

7            Arkansas just this year; correct?

8                A.       Actually over the last couple of

9            years.

10               Q.       Okay.       The first paragraph says,

11           "The Alabama Senate Health Committee on

12           Wednesday approved a bill that would

13           outlaw puberty-blocking medications and

14           gender-affirming care for minors,

15           giving" -- "giving it a favorable report

16           in an 11-2 vote."               You see that?

17               A.       I do.

18               Q.       Then it says, "An Alabama House

19           committee heard testimony in a public

20           hearing on a companion bill, but the

21           committee did not vote on the" -- "on the

22           measure."         You see that?

23               A.       I do.



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1                Q.       You testified in support of this

2            bill; right?

3                A.       Yes, sir.

4                Q.       Go to page 2.

5                A.       Okay.

6                Q.       Look at the second paragraph

7            from the bottom.

8                A.       Second from the bottom.                      Yes.

9                Q.       It says, "Dr. Patrick Lappert, a

10           Decatur plastic surgeon, spoke in favor

11           of the bill."

12                        That's you; right?

13               A.       That's right.

14               Q.       Go to page 3.

15               A.       Okay.

16               Q.       And look at the third paragraph.

17           It says that you've "spoken against the

18           use of medicine and surgery for

19           transgender people as a Catholic deacon

20           in his local diocese."                    See that?

21               A.       Yes.

22               Q.       You don't deny that you've

23           spoken against the use of medical and



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1            surgical treatment for transgender people

2            in your position as a Catholic deacon;

3            right?

4                A.       That's correct, I do not.

5                Q.       All right.           Focus on the last

6            sentence of this third paragraph.                           It

7            says that when a committee member

8            questioned your medical expertise on this

9            issue, you said that you would not treat

10           a person for gender dysphoria and would

11           instead refer them to a qualified mental

12           health professional.                 You see that?

13               A.       Yes.

14               Q.       At this hearing, someone on the

15           committee was questioning your medical

16           expertise to offer these opinions; right?

17                        MR. KNEPPER:            Objection, form.

18               A.       I don't remember that detail,

19           but I think so, yeah.                  I think the

20           objection they raised was that I don't do

21           these treatments, how could I know.

22               Q.       You're not a psychiatrist;

23           right?



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1                A.       No.

2                Q.       You do not have specialized

3            training or expertise in diagnosing

4            mental health conditions; right?

5                A.       I have limited -- limited

6            training.          Yes.

7                Q.       And when you say "limited

8            training," what does that mean?

9                A.       Well, in the training of plastic

10           surgeons, we are -- we are required --

11           because we offer aesthetic surgery, we

12           get some training in issues,

13           psychological/psychiatric issues relating

14           to people who will seek to modify their

15           bodies in order to achieve a sense of

16           peace or a sense of improvement in their

17           lives.       And it's imperative that a

18           plastic surgeon be able to recognize

19           persons who are suffering from

20           psychiatric problems because plastic

21           surgery -- to offer them plastic surgery

22           to modify their bodies is in the category

23           of malpractice, not to mention that very



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1            often, dissatisfied patients will -- will

2            make life very difficult for the

3            practitioner, if not threaten them with

4            physical harm.

5                         I would refer you to an article

6            by -- although we haven't offered it up,

7            -- a friend of mine, Dr. Mark Gorney, who

8            was one of the -- one of the grand old

9            men of plastic surgery, started the

10           Physicians Company to manage physician

11           liability and risk and had -- he

12           discovered that there's an

13           overrepresentation of -- of violence

14           against physicians by aesthetic patients

15           committing violence against plastic

16           surgeons.         That's just one of the

17           motivators.

18                        But nonetheless, the issue of

19           body dysmorphic disorder is part of our

20           training, persons who are seeking a

21           remedy to their interior woundedness or

22           their psychological disturbances by

23           changing their outward opinion.                          And body



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1            dysmorphic disorder is a

2            well-characterized psychiatric diagnosis

3            that impinges greatly upon plastic

4            surgery precisely because aesthetic

5            surgery -- even in its name, you can tell

6            that aesthetic surgery is surgery aimed

7            at the aesthetic, the feelings, esthesia,

8            the feelings that a patient has about

9            themselves, about their life.                        So it's

10           incumbent upon plastic surgeons to know

11           about these things, and so we get trained

12           in those matters.

13                        So again, I have very limited

14           psychiatric/psychological knowledge, but

15           I do know that that subset of patients

16           should be referred for psychological help

17           rather than offered surgery.                       Not to

18           mention the fact that such patients can't

19           even give informed consent because of

20           their psychological disturbances.

21               Q.       All right.           You're talking about

22           patients who have body dysmorphic

23           disorder; right?



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1                A.       That's right.

2                Q.       When did you last receive

3            training in how to diagnose someone with

4            body dysmorphic disorder?

5                A.       I guess it's ongoing training

6            when one's in the -- in the practice of

7            plastic surgery.              But I had originally in

8            my residency and then on an ongoing basis

9            I think at conferences through the years.

10                        Formal training in it, I -- I

11           don't recall beyond my residency.                           All I

12           do is try to keep abreast of the

13           literature.

14               Q.       Yeah.       So, let's take that in

15           steps.       Outside of -- when was your

16           residency in plastic surgery, Doctor?

17               A.       '92 to '94.

18               Q.       Right.        Past '94, you have not

19           received formal training in how to

20           diagnose someone with body dysmorphic

21           disorder; right?

22               A.       There may have been some CME

23           credits at a conference in there



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1            somewhere or remote learning.                        I don't

2            recall.

3                Q.       But sitting here, you can't

4            recall any of those specifically; right?

5                A.       I cannot, no.

6                Q.       What are the diagnostic criteria

7            for body dysmorphic disorder?

8                A.       Well --

9                Q.       Do you know that sitting here

10           today?

11               A.       Yes.      So, a person with body

12           dysmorphic disorder, the diagnostic

13           criteria is the -- is the patient who

14           presents with evidence of a psychological

15           disturbance.           In review of their history

16           and physical examination, you may see

17           evidence of a history of substance abuse,

18           maybe evidence of some self-harm,

19           evidence of social isolation in their

20           intake forms, that sort of thing.                           That

21           would raise the concern.

22                        The second would be the person

23           who attaches tremendous potential benefit



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1            of, psychologically, the -- the quality

2            of the -- sort of a transformative power

3            of cosmetic surgery.

4                         And then the third criteria

5            would be that they -- they see something

6            that you don't see.                They see a defect

7            that you don't see.                And that's probably

8            the key diagnostic criteria.                       For

9            example, a man who presents seeking a

10           modification to his nose who has evidence

11           of living a life of social isolation who

12           is adamant that by changing his -- the

13           appearance of his nose, he will -- he

14           will have a much better life.                        And

15           hearing that, of course, the alarm bells

16           go off and then examining the patient and

17           seeing that there's no objectively

18           definable deformity, only a normal

19           variation that one would expect to see on

20           a man's face.

21                        Those are all red flags.                      And --

22           and based upon that, it is -- it

23           is definitely the -- has been



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1            historically the recommendation of the

2            likes of Dr. Mark Gorney and other

3            leaders in the American Society of

4            Plastic Surgery to not offer surgery, but

5            rather to offer referral for

6            psychiatric/psychological support and

7            evaluation.

8                Q.       These diag- -- these diagnostic

9            criteria that you mentioned, where do

10           they come from?

11               A.       They -- I think you can find

12           much of that in the DSM book, if -- if --

13           if that's the route you want to go.                              You

14           find it in the literature.                      There are --

15           there are references in the scientific

16           literature about it dating back to I

17           think the 1920s.              I included some of

18           those, I think, in my discussion, if not

19           on this one, in the Arkansas case.

20                        But -- but there have been

21           papers published through the years that

22           describe the condition and make

23           recommendations about care, and again,



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1            going all the way back even to textbooks

2            in plastic surgery and -- and of course,

3            the residency training that speaks about

4            that as well.

5                Q.       So for diagnosing someone with

6            body dysmorphic disorder, you would rely

7            on the DSM-5; right?

8                A.       I wouldn't rely on it, no.                          No.

9            I would rely on my -- my clinical

10           experience more than anything else there.

11               Q.       Well, you just rattled off three

12           or four guidelines that I think I heard

13           you say come from the DSM-5; right?

14                        MR. KNEPPER:            Objection, form.

15               A.       Well, they're -- they don't come

16           from the DSM-5 but are described in the

17           DSM-5, yeah.

18               Q.       So when I asked you --

19               A.       And 4 -- actually, DSM-4 has a

20           clearer description, I think, than DSM-5.

21               Q.       So when I asked you what

22           criteria you would use to diagnose

23           someone with body dysmorphic disorder,



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1            the source you went to was the DSM;

2            right?

3                A.       No.     The source I went to was my

4            training and the -- and the papers that

5            relate to it.            I think it's just been

6            subsequently characterized in the DSM.

7            And it's a ready -- it's a volume that's

8            readily accessible to people.                        The

9            language is readily accessible, so people

10           who are seeking information about that,

11           they can go there for it or they can go

12           to the articles, if they like.                         Yes.

13               Q.       Outside of whatever training you

14           had on diagnosing someone with body

15           dysmorphic disorder, you do not have

16           specialist training or expertise in

17           diagnosing other mental health

18           conditions; fair?

19                        MR. KNEPPER:            Objection, form.

20               A.       Let's see.           Well, there's -- I

21           guess there are subcategories of -- of

22           body dysmorphic disorder, like

23           recognizing the anorexic patient, of



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1            course, who presents for body

2            modification.             That -- that's a fairly

3            readily and obvious one.

4                         But no, I'm not a -- I'm not

5            formally trained in psychiatry or

6            psychology.

7                Q.       You do not have -- you do not

8            hold yourself out as an expert in

9            diagnosing mental health conditions

10           outside, potentially, of body dysmorphic

11           disorder; right?

12               A.       Correct.

13               Q.       You do not have specialist

14           training or expertise in treating mental

15           health conditions; right?

16               A.       No.

17               Q.       You would refer that person to a

18           qualified mental health professional;

19           right?

20               A.       I would.          I would.

21               Q.       Because you yourself are not a

22           qualified mental health professional;

23           correct?



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1                A.       Correct.

2                Q.       All right.           You've also

3            published an op-ed in May of this year

4            supporting this Alabama ban; correct?

5                A.       Yes.

6                Q.       And you said that Alabama

7            legislators should enact this ban because

8            they have a duty to protect the

9            vulnerable population of gender-confused

10           children.         Does that sound familiar?

11               A.       Yes.

12               Q.       So again, earlier you said you

13           had a preference for professional

14           societies dealing with this, but you're

15           out there publishing op-eds calling on

16           state legislatures to pass these bans;

17           right?

18                        MR. KNEPPER:            Objection, form.

19               A.       Right.        Yes, sir.

20               Q.       All right.           How about Texas?

21           Tell me what work you've done supporting

22           this kind of a ban in Texas?

23               A.       It's been similar.                 I've been in



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1            communication with -- I can't remember if

2            they're on the legislative side or on the

3            justice side.            I don't remember exactly

4            where they fit into the -- the government

5            of Texas, but I've corresponded with them

6            and offered them information and advice.

7                Q.       Was it similar information to

8            what we've seen in that Utah packet?

9                A.       I'm sorry, sir?

10               Q.       Was it information similar to

11           what we've seen in that Utah legislation

12           packet?

13                        MR. KNEPPER:            Objection, form.

14               A.       Right.        The substance -- the

15           substance of the issue at hand is the

16           same wherever you find it.                      It's this

17           contest between those who -- who promote

18           gender-affirming care versus those who

19           promote, in the case of children, for

20           example, watchful waiting and

21           psychological support and cognitive

22           behavioral therapy and those things, yes.

23           It's the same battle wherever you find it



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1            because it's the same problem, the same

2            science, the same language.                        All of it's

3            the same.

4                Q.       So earlier, we saw that in

5            addition to you, Dr. Hruz and Dr. Levine

6            and Dr. McHugh were also involved with

7            those Utah legislative efforts; right?

8                         MR. KNEPPER:             Objection, form.

9                A.       I -- I don't know their

10           involvement in -- in Texas.                        I'm -- I'm

11           not aware.

12               Q.       Yeah.        Do you know whether any

13           of them have been involved with any of

14           these efforts in any other state?

15               A.       I don't.          I don't know.

16               Q.       Okay.        Fair to say that you have

17           some strong personal opinions on whether

18           doctors should be providing

19           gender-affirming treatment to minors?

20                        MR. KNEPPER:             Objection to form.

21               A.       Very fair to -- very fair to

22           say, yes.

23                        MR. TISHYEVICH:                Let's go off



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1            the record.

2                         THE VIDEOGRAPHER:                This is the

3            end of Media Unit 1.                 We are off the

4            record at 9:33 a.m.

5                                 (Break taken.)

6                         THE VIDEOGRAPHER:                This is the

7            beginning of Media Unit No. 4.                         We are on

8            the record at 9:44 a.m.

9                Q.       (By Mr. Tishyevich) Doctor,

10           you're familiar with an organization

11           called Alliance Defending Freedom, ADF;

12           right?

13               A.       Yes.

14               Q.       How are you familiar with the

15           ADF?

16               A.       I was invited down there for a

17           conference on the subject of transgender.

18           I was an invited presenter, I should say.

19           They asked me to come and speak from a

20           plastic surgeon's perspective on how I

21           view the current state of transgender

22           medicine and surgery.

23               Q.       Those were -- those were the



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1            meetings in Arizona?                 Is that right?

2                         MR. KNEPPER:            Objection.

3                A.       Yes.

4                Q.       Who invited you?

5                A.       I don't remember who the

6            particular name was.                 I -- I don't recall

7            who the -- the particular person, the one

8            that sent me the invitation.

9                Q.       Was it --

10               A.       It may have been -- it may have

11           been Gary McCaleb, I want to say.                           I'm

12           not positive about that, though.

13               Q.       You -- you anticipated my

14           question.

15               A.       Okay.

16               Q.       To your knowledge, what's the

17           view that the FDA takes on providing

18           healthcare treatment to patients with

19           gender dysphoria?

20               A.       The position of the FDA?

21               Q.       The ADF.

22               A.       Oh, the ADF.            They -- let's see.

23           So, the sense I get is that the ADF takes



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1            a -- the opinion that the present state

2            of transgender medicine and surgery is

3            not in the interest of the patients or

4            the families.

5                Q.       The ADF has moral objections to

6            doctors performing this kind of surgery

7            and treatment; right?

8                         MR. KNEPPER:            Objection, form,

9            scope.

10               A.       I would -- I would characterize

11           the ADF's position as more than just a

12           moral objection.              It's both moral and

13           objective scientific objections.

14                        So the -- the -- the sense I got

15           from that conference was that most of the

16           invited speakers came to speak about --

17           for example, Dr. Hruz was there, and he

18           spoke about endocrinology and the

19           endocrinol- -- endocrinologic basis for

20           sex/gender.          And he spoke about the

21           effects of -- the endocrinological

22           effects, the objective changes that are

23           caused by, for example, puberty-blocking



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1            cross-sex hormones.

2                          I was -- there was also another

3            speaker there, I think, on the subject

4            of -- from the family medicine

5            perspective, the overall effects on the

6            health of the child, developmental

7            issues.        There was a presenter on the

8            objective psychological issues.

9                          And then, I presented on the

10           realities of the surgery.                      They wanted me

11           to speak about the technical details of

12           transgender surgery, kind of the

13           evolution of the process of transitioning

14           surgery, and the -- and to give them a

15           summary of the state of the science on

16           it.

17                         So I would characterize the ADF

18           as interested in both the moral -- the

19           moral issues and the objective, and they

20           impinge upon one another.                      Clearly, to do

21           something that is not in the -- in the

22           objective benefit of the patient is a

23           moral problem.



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1                         Did I answer your question?

2                Q.       That's helpful, yeah.

3                         The ADF is not a professional

4            scientific organization; right?

5                A.       Not to my knowledge, no.

6                         MR. KNEPPER:            Objection to form,

7            scope.

8                Q.       They're a legal organization;

9            right?

10               A.       Yes.      That's my understanding.

11               Q.       ADF is engaged with bringing

12           lawsuits that do things like challenge

13           schools' rights to -- to have transgender

14           persons on their teams; right?

15                        MR. KNEPPER:            Objection, form,

16           scope.

17               A.       I don't know the scope, the full

18           scope of their efforts, but yeah, they're

19           one of I guess several legal

20           organizations that are -- that are

21           approaching these matters, as are you,

22           for example.

23               Q.       All right.           Let's talk about



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1            these meetings in more detail.                         So, how

2            many -- strike that.

3                         You've been to two meetings

4            organized by ADF?

5                A.       That's my recoll- -- yeah, two

6            meetings.          I think that's right.

7                Q.       All right.           Let's start with the

8            first one.          This was in 2017?

9                A.       That sounds about right, yeah.

10               Q.       What --

11               A.       I think it was 2017, yeah.

12               Q.       What month roughly?

13               A.       I don't remember now.

14               Q.       Do you know how they came to

15           invite you to that first meeting?

16               A.       I do not.

17               Q.       Before that meeting, you had not

18           published anything about gender

19           dysphoria, had you?

20               A.       No.

21               Q.       Before that meeting, you had not

22           published anything about the risks of use

23           of hormone blockers in minors; right?



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1                A.       No.     I've given -- I gave some

2            -- some -- I think they may have heard of

3            me not through publications, but through

4            public speaking.

5                Q.       How long have you been doing

6            public speaking on the issues related to

7            gender dysphoria?

8                A.       Since 2014.

9                Q.       Let's start with the first

10           meeting.        So, Dr. Hruz was also present

11           at that meeting?

12               A.       Yes.

13               Q.       Was Dr. Levine present at that

14           meeting?

15               A.       I don't think I've ever met Dr.

16           Levine, so I don't -- he couldn't have

17           been there because I would have

18           remembered meeting him, and I don't

19           remember ever having met him.

20               Q.       How about Dr. McHugh?

21               A.       No.     I would have remembered

22           him.     He's a very famous person.

23               Q.       How many people were present at



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1            this first meeting?

2                A.       Perhaps ten.            I'm not certain.

3                Q.       Outside of you and Dr. Hruz, who

4            else do you remember being at that first

5            meeting?

6                A.       I remember meeting a Dr. Andre

7            Van Mol.        I believe he was at that

8            meeting.        There was a pediatric

9            endocrinologist there by the name of

10           Quentin Van Meter.                I think he was there.

11                        There was a -- there was an

12           expert in scientific data and scientific

13           data analysis, medical record data

14           analysis from UC-San Francisco.                          I don't

15           believe he was a physician.                       I think he

16           was a -- had a doctorate in science.                             And

17           he was a -- he was actually a

18           detransitioner.             So he was giving not

19           only his knowledge of the medical

20           literature, he was just an incredible

21           resource and reference for medical

22           literature.          You could just about ask him

23           anything.         But he was also there, I



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1            think, to speak from a personal

2            perspective as well, being a

3            detransitioner.

4                         There was another detransitioner

5            there who I don't remember their name,

6            but they were there to speak.                          I think

7            they were also an educator as well.                              I'm

8            not positive about that.

9                         So it's kind of vague for me,

10           but I -- but definitely Paul Hruz stands

11           out because we had a very good

12           conversation there.

13               Q.       What was the format?                    Were there

14           presentations, a round table discussion?

15           How did the conversations go?

16               A.       There was some introductory

17           remarks, and then -- and then each --

18           each sort of specialist gave a

19           presentation.             I think I gave an

20           hour-long presentation.                     And there were

21           others like mine on those other subjects

22           we talked about.

23               Q.       Did you use slides as part of



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1            that presentation?

2                A.       I usually do, yes, although I

3            don't know what I've done with that slide

4            deck.      I don't keep them very long.                          They

5            sort of morph all the time.

6                Q.       Do you think you might have an

7            electronic copy of that slide deck

8            somewhere?

9                A.       I don't.

10               Q.       At a very high level, what was

11           the -- what were you trying to convey

12           through your presentation to that group?

13           Let me ask it a different way.                         Were --

14           was your presentation broadly similar to

15           the opinions that you're offering in this

16           case and in the Brandt case?

17                        MR. KNEPPER:            Objection, form.

18               A.       Well, by the -- by "broadly

19           similar," do you mean the subject matter

20           or the nature of my opinion or the

21           evidence used to support my opinion?

22               Q.       All right.           Give me a high-level

23           summary of what your presentation was at



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1            that first meeting.

2                A.       It was a --

3                         MR. KNEPPER:            Objection, form,

4            scope.

5                A.       -- a summary, a summary of the

6            present state of transgender medicine and

7            surgery, a review of the scientific

8            literature used to support the treatments

9            that are being offered, a review of the

10           long-term outcomes of treatment that are

11           being offered, with particular attention

12           to the European literature, which is more

13           reliable.         I sort of -- I compared the

14           American literature to the European

15           literature because that's one of the

16           great problems we're having in this

17           issue.       And it was already evident in

18           2017 that there was a great disparity

19           between the American literature and the

20           European literature in terms of the

21           quality of the scientific evidence that's

22           being used to support the interventions.

23                        So that was -- really at the



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1            heart of the presentation was what's the

2            state of the science and where is the

3            reliable science coming from and what is

4            it -- what is it showing us, so.                          But

5            they also -- the audience wanted to have

6            an understanding of what these plastic

7            surgery interventions were.                       So there was

8            an extensive discussion of the

9            particulars of the surgeries, the details

10           about the surgeries, the typical outcomes

11           of the surgeries, so.

12               Q.       I want to -- strike that.

13                        One of the topics of discussion

14           at that meeting was about the need to

15           have expert witnesses for litigation;

16           right?

17                        MR. KNEPPER:            Objection, form,

18           scope.

19               A.       I remember -- I remember a

20           fairly long discussion about the poverty

21           of people who are willing to testify

22           because of the risk that they take in

23           testifying.          That was a -- that was a



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1            fairly long discussion.                   And the

2            difficulty that that -- that people have

3            in finding expert witnesses because of

4            the risks they place themselves in, in

5            testifying.

6                Q.       And people at that meeting were

7            asked whether they would be willing to

8            participate as expert witnesses; right?

9                A.       Yes.

10               Q.       Before that meeting, you had

11           never testified as an expert witness?

12               A.       Before this moment, I never

13           testified as an expert witness.

14               Q.       Who made the introductory

15           remarks at the beginning of this meeting?

16                        MR. KNEPPER:            Objection, form,

17           scope.

18               A.       I'm trying to remember.                     It was

19           a -- it was an attorney whose first name

20           is Jeff, and I'm trying to remember what

21           his last name was.                But he seemed to be

22           the -- the -- kind of the emcee, if you

23           will.      Yeah, Jeff.            I'll see if, in the



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1            course of our conversation today, the

2            name will pop in.               This is the difficulty

3            I have with remembering names.                         They'll

4            just pop in at a moment's notice.

5                         But it was -- yeah, it was an

6            attorney who gave the overall scope of

7            why -- why we were there, to discuss this

8            issue, to see what -- what the -- what

9            the science is showing to see where --

10           what the -- the moral aspects of good

11           science versus bad science and issues

12           like that, yeah.

13               Q.       Aside from you and Dr. Hruz, do

14           you recall anyone else expressing an

15           interest at that conference about serving

16           as an expert witness?

17                        MR. KNEPPER:            Objection, form,

18           scope.

19               A.       You mean someone expressing just

20           generally about having expert witnesses?

21               Q.       No.     Other participants saying,

22           "I might consider being an expert witness

23           in one of these cases."



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1                A.       I don't recall.              I don't, no.

2                Q.       Okay.       All right.           So then there

3            was a second meeting also in Arizona;

4            right?

5                A.       Right.

6                Q.       And that was also in 2017?

7                A.       I don't remember the date of

8            that as well -- either, no.

9                Q.       What was the purpose of that

10           second meeting?

11               A.       I think it was similar, although

12           it may have been a little bit more

13           refined.        There was not as much

14           discussion of the really foundational

15           science as more a review, I think, of --

16           you know, I -- I guess it was similar in

17           terms of format.              I think there were more

18           -- more people there who were speaking

19           from personal experience.

20                        So I think the most important

21           thing I recall from that meeting was that

22           -- that there was a mother -- actually, a

23           couple of family members of persons who



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1            experienced cross-sex self-identification

2            who have gone through various -- various

3            phases of transitioning.                    And they were

4            giving sort of a personal experience,

5            trying to describe to us what they went

6            through as a family, what they went

7            through with their children.                       And that's

8            what -- so that was the difference

9            between the first and the second meeting.

10           I think it was more of a personal thing.

11           It had the science as well, but I think

12           it had more of a personal side to it as

13           well.

14               Q.       How many people do you think

15           attended -- attended that second meeting?

16               A.       I'm trying to think how full the

17           room was.         I think it was probably

18           comparable maybe, a dozen perhaps.                               I'm

19           not sure.

20               Q.       Who do you remember being there

21           by name?

22               A.       I think that may have been when

23           I met Dr. Cretella.                I can't remember if



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1            I met her at the first meeting or the

2            second meeting.

3                         Oh, also at that second meeting,

4            there was a plastic surgeon.                       I can't

5            remember his last name.                   I was -- I

6            remember being very encouraged to meet

7            another plastic surgeon who saw this as

8            an issue.         And I do remember that he had

9            been the chairman -- this speaks to the

10           issue of fear about testifying.                          He had

11           been the chairman of a major plastic

12           surgery department in a large Midwest

13           university, had built that program for

14           many years, had run one of the most

15           successful residency training programs.

16           And he had been fired because he had

17           objections to the transgender services

18           that the hospital administration -- or

19           the university administration wanted to

20           introduce.          And I thought it was a very

21           heartbreaking story to see that a man had

22           lost his entire career over his

23           professional opinion.                  I don't remember



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1            his last name, but I do know that I met

2            him at that second meeting.

3                Q.       Do you remember his first name?

4                A.       I don't.

5                Q.       Do you remember which center he

6            was affiliated with?

7                A.       I believe he was from the Ohio

8            State University.               But I haven't seen or

9            heard from him since.                  He has just

10           disappeared.           I tried to reach out to

11           him, I recall, because, again, there's

12           not a lot of plastic surgeons who are

13           willing to speak on this matter.                          And --

14           but I haven't heard from him since.

15               Q.       Did participants at the second

16           meeting make presenta- -- make

17           presentations as well?

18                        MR. KNEPPER:            Objection, form,

19           scope.

20               A.       I -- I don't -- yeah, I think it

21           was more limited presentations, briefer,

22           sort of reviews sort of thing.                         But it

23           wasn't -- it didn't have the formality of



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1            the first meeting, as I recall.                           Again,

2            it's -- it's a little bit murky four

3            years on.

4                Q.       Yeah.        I'm just asking for your

5            best recollection.                 That's fine.

6                A.       Sure.        Okay.

7                Q.       Do you remember giving a

8            presentation at that second meeting?

9                A.       I believe I did.

10               Q.       How long do you think that

11           meeting lasted, roughly?

12                        MR. KNEPPER:             Objection, form,

13           scope.

14               A.       Well, I remember it -- we went

15           through a full morning, a light lunch,

16           and perhaps into the very early

17           afternoon.

18               Q.       And you mentioned that there was

19           some personal testimony from parents,

20           families.         What portion of the meeting

21           was that, roughly?

22               A.       What -- what portion?

23                        MR. KNEPPER:             Objection, form,



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1            scope.

2                 Q.      What portion, yes.

3                 A.      I would be guessing that perhaps

4            a third of the meeting was -- was that.

5                 Q.      Okay.       After these meetings in

6            2017, have you continued to stay in touch

7            with the ADF?

8                         MR. KNEPPER:            Objection, form,

9            scope.

10                A.      I think perhaps, you know, one

11           or two e-mail exchanges, but nothing --

12           nothing substantive.                 I haven't really

13           heard anything from them.                     I think I got

14           a -- no.        Well, I can't -- I can't recall

15           anything other than maybe a thank-you

16           e-mail or hope you're doing well kind of

17           thing, but nothing substantive, no.

18                Q.      How did you come to get involved

19           with being an expert in this case?

20                A.      I was contacted by Mr. Knepper.

21                Q.      Okay.

22                A.      Actually, I was contacted by his

23           staff.       He didn't call me himself, but



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1            his -- someone on his staff called me and

2            asked --

3                 Q.      I understand.

4                 A.      -- if I would be available.

5            Yeah.

6                 Q.      How did you come to get involved

7            with the Brandt case in Arkansas?

8                         MR. KNEPPER:            Objection, form,

9            scope.

10                A.      I think it may have been

11           similar.        I don't recall the particulars,

12           but I -- someone on -- on the legal

13           counsel side contacted me.                      I don't

14           remember who it was.

15                Q.      Okay.       Let me shift gears a bit.

16           You know what the American Society of

17           Plastic Surgeons is; right?

18                A.      Of course.

19                Q.      Are you a current member?

20                A.      No.     I -- I let my membership

21           lapse years ago, yeah.

22                Q.      When --

23                A.      About two years ago, I would



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1            say.      Maybe two years ago, yeah.

2                 Q.      Why did you decide to let your

3            membership lapse?

4                 A.      Well, in order to be a member of

5            the American Society of Plastic Surgeons,

6            you have to be board-certified.                          And so

7            since I declined continuing board

8            certification for the reasons I explained

9            to you, then my membership -- you know,

10           over time, when my subscriptions and

11           membership fees lapsed, so did my

12           membership.          And I think that would have

13           been in 2019.

14                Q.      I understand.

15                A.      Yeah.

16                Q.      Is it -- is an active board

17           certification in plastic surgery a

18           prerequisite to being in the American

19           Society of Plastic Surgeons?

20                A.      I seem to remember that when I

21           -- back in the '90s after my residency,

22           there's a -- there's a membership for --

23           for board-eligible.                It's not the full



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1            membership, but then when you get

2            board-certified, then you get full

3            membership and the rights to use the logo

4            and all that sort of stuff, so.                          Yeah, as

5            I recall.         It's been a long time since I

6            read the bylaws.              That would have been

7            back in '95, I think, that I read those

8            things.

9                 Q.      Yeah.       When did you first join

10           the ASPS?

11                A.      I think I joined as a student

12           member when I was in my residency.                               I

13           want to say it was probably like '92 or

14           '93, somewhere in there.

15                Q.      So you were in the ASPS roughly

16           '92 --

17                A.      I think, yeah.

18                Q.      -- to 2017?

19                A.      I think, yeah.              As I recall --

20           again, it's a little bit murky, but as I

21           recall, there's sort of a provisional

22           membership for residents in training.

23           You sort of get a discounted rate on all



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1            of the expensive things, and the -- and

2            access to the White Journal, as it's

3            called.       And then -- and then I -- as I

4            recall, you don't get the full membership

5            until you've been board-certified, which

6            happened for me, as you know, in '97.

7                 Q.      Okay.       But you were part of the

8            ASPS for a long time; right?

9                 A.      Yes.      Going to meetings.

10                Q.      You consider the ASPS to be a

11           reputable organization; right?

12                        MR. KNEPPER:            Objection, form.

13                A.      Yeah.       Well, for the most part,

14           yeah.      Certainly, the members, virtually

15           most of the members I've ever known are

16           reputable.          And there are some things

17           that the ASPS has done through the years

18           that -- that I've had difficulty with

19           and -- but they're certainly the

20           organization in American plastic surgery.

21                Q.      Yeah.       I think one statistic I

22           heard is 93 or so percent of all plastic

23           surgeons are part of the ASPS.



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1                 A.      Yeah.

2                 Q.      Right?

3                 A.      That -- that number wouldn't

4            surprise -- I would have thought even

5            higher, actually, but yeah.

6                 Q.      Do you think the ASPS would

7            encourage its members to perform

8            surgeries that are not medically

9            necessary?

10                        MR. KNEPPER:            Objection, form.

11                A.      Well, the -- as a -- as an

12           organization, they don't encourage

13           particular surgeries, but they may

14           support them with their scientific

15           presentations, their conferences, and

16           that sort of thing.

17                        For example, three or four years

18           ago, I went to a meeting of the

19           California Society of Plastic Surgery,

20           which is -- I think it has sort of a

21           subsidiary relationship with the ASPS.

22           And at that conference, among other

23           things -- I went there because that's one



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1            of the -- the areas of the country where

2            I trained and I had hoped to see some

3            friends there.             But -- but for example,

4            in that conference I went to a lot of

5            great presentations, but the last day was

6            devoted almost entirely to transgender

7            surgery.

8                         And so if you're asking me do I

9            -- how do I feel about that, well, I have

10           great difficulty with a professional

11           organization that would support or

12           promote those sorts of interventions

13           knowing what I know about the scientific

14           underpinnings of those medical and

15           surgical procedures.                 And I had many

16           conversations at that conference on the

17           subject with persons who were providing

18           the services, and I didn't find their

19           answers particularly satisfactory.                               So

20           that would be an example.

21                        I can't give you carte blanche

22           that everything that the Society says and

23           does is to my liking.                  I would say



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1            probably most of what they say and do is

2            very much to my liking.                   But on this

3            matter, I have -- I have a great

4            difficulty.          And it's one of the reasons

5            that I -- I -- yeah.

6                 Q.      It's one of -- one of the

7            reasons that you what?

8                 A.      That I -- that I don't have a

9            lot of heartache about stepping away from

10           the ASPS.

11                Q.      Do you think the AS- -- ASPS

12           advocates in favor of surgical procedures

13           that are not medically necessary?

14                A.      I think that would be probably

15           an overreaching statement.                      I wouldn't

16           say that.         I would say that perhaps

17           they're mute on some of the -- some of

18           the procedures that their members

19           perform, and they certainly have their

20           eyes and ears open for new things.                               And

21           so when members come forward to make

22           presentations about particular new

23           therapies and new approaches, as they



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1            should, the ASPS is open to those things.

2            So for many years, transgender surgery

3            has been in that category.

4                          I remember when I was a -- even

5            when I was a general surgeon and I was

6            looking for residency programs to train

7            in, I was considering UVA.                       And I saw

8            that -- that Milton Edgerton, one of the

9            great names in plastic surgery was at UVA

10           doing transgender surgery, both at UVA

11           and at Johns Hopkins.                   And I remember

12           thinking, well, I'm -- I really need --

13           it struck me as an unusual operation, and

14           I -- I started doing some research into

15           it.

16                         And I remember starting to think

17           about the issue of transgender surgery

18           back in the -- what would have been 1991,

19           1990, 1991.           And -- and through the

20           years, the ASPS has made room for that

21           intervention, those therapies, in their

22           conferences, in their dialogues, in their

23           publications.             And I've reviewed all that



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1            stuff as it has come along.                        And I think

2            now being twenty, nearly thirty years on

3            since I first started looking at it and

4            they're still just sort of at that stage

5            of -- of putting it out there, although

6            now they're offering more extensive

7            training conferences on how to do those

8            procedures, and they're now encouraging

9            that it be included in residency

10           programs, and so -- yeah.

11                Q.      Do you know what position the

12           ASPS takes on whether gender-affirming

13           surgery is medically necessary?

14                A.      I think that position has

15           changed, and now they're -- they're

16           speaking positively about it.

17                Q.      Yeah.        Your own professional

18           organization, or at least your former

19           organization, takes the position that

20           gender-affirming surgery is medically

21           necessary; right?

22                        MR. KNEPPER:             Objection, form.

23                A.      Yeah.        As I -- as I said before,



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1            this is one of the reasons why I don't

2            have a lot of heartache about having

3            withdrawn my membership.                      Yeah.

4                 Q.      Now let me introduce another

5            exhibit.         Let me know when you have it,

6            Doctor.

7            (Exhibit 7 was marked for identification

8            and is attached.)

9                 A.      Okay.        Okay.       I've got it.

10                Q.      The top of the page says,

11           "American Society of Plastic Surgeons."

12           Right?

13                A.      Yes.

14                Q.      You see this document is dated

15           February 25, 2021; right?

16                A.      Yes.

17                Q.      This is after all the studies

18           that you cite in your report; right?

19                A.      Where does that say that?                           I'm

20           sorry, you're at a particular paragraph?

21                Q.      No.      The date of this --

22                A.      Oh, I see.            Oh, the date is

23           after this --



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1                 Q.      Yeah.

2                 A.      Yes.      Well, February 25th, yes,

3            2021.

4                 Q.      Yeah.       This is -- this is dated

5            after all of the studies that you cite in

6            your report; correct?

7                 A.      I don't -- yeah, I don't

8            remember off the top of my head any

9            studies that were dated after.                         There may

10           have been an April study in there, but

11           okay.

12                Q.      The first sentence says, "Policy

13           around transgender care has recently

14           gained considerable attention amid a

15           growing trend of legislation carrying

16           serious professional, financial or

17           criminal penalties for the provision of

18           gender affirmation care."                     You see that?

19                A.      I do.

20                Q.      Now, this reference to a growing

21           trend of legislation, that's talking

22           about legislation like the Arkansas ban

23           and the Utah ban and the Alabama ban that



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1            we talked about earlier; right?

2                 A.      Right.

3                         MR. KNEPPER:            Objection, form.

4                 Q.      Go to page 2.             Look at the

5            second paragraph.               It says that "Less

6            than three months into 2021, 11 pieces of

7            legislation attempting to criminalize

8            gender affirmation therapies have been

9            introduced in 10 states."                     See that?

10                A.      I do.

11                Q.      And then there's a list of

12           states; right?

13                A.      Yes.

14                Q.      So we talked about Utah and

15           Alabama and Texas before.                     Looking at

16           this list, does that refresh your

17           recollection whether you've worked on

18           these kind of legislative efforts in any

19           other states?

20                A.      I think -- I think, yeah, my

21           answer has not changed.                   I think I've

22           only been involved in Alabama, Texas, and

23           Utah.      I don't remember anything from



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1            Oklahoma, New Hampshire, Montana, or

2            Missouri or Mississippi.                    I don't recall

3            any other states in that list, no.

4                 Q.      Okay.       All right.           Now let's

5            look at what position the ASPS takes on

6            whether gender-affirming treatment is

7            medically necessary.                 Go to page 3.               The

8            first sentence says, "ASPS firmly

9            believes that plastic surgery services

10           can help gender dysphoria patients align

11           their bodies with whom they know

12           themselves to be and improve their

13           overall mental health and well-being."

14           Do you see that?

15                A.      I do.

16                Q.      The ASPS, your own professional

17           organization, does not agree with your

18           opinions that gender-affirming surgery is

19           medically inappropriate; right?

20                        MR. KNEPPER:            Objection, form.

21                A.      Let me just read that.                    Give me

22           just a moment to look at that.                         Okay.

23                        Yeah.       This is a very --



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1            language used by the other professional

2            organizations, and essentially, the

3            language takes the position that surgical

4            intervention for a subjective problem is

5            medically indicated.                 And that's the

6            difficulty that I'm having here, is that

7            in this document the ASPS does not --

8            does not provide medical scientific

9            support.        They essentially admit that the

10           surgery is for help with a psychological

11           problem of perception on the part of the

12           patient.        So essentially what -- what the

13           ASPS firmly believes in is the use of

14           surgery to manage a psychological

15           problem.        And -- and this is -- this is

16           consonant with the -- with the -- the

17           consensus opinions that were offered by

18           the other professional organizations that

19           you listed earlier.

20                Q.      The AS- -- ASPS does not agree

21           with your opinions that gender-affirming

22           surgery is experimental; correct?

23                        MR. KNEPPER:            Objection, form.



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1                 A.      They don't -- let's see, do they

2            say anything about experimental in here?

3            No, they don't.              So yeah, I would agree.

4                 Q.      Do you agree?              Yeah.

5                 A.      I would agree, yeah, sure.

6                 Q.      Look at the last sentence.                          It

7            says, "ASPS will continue its efforts to

8            advocate across state legislatures for

9            full access to medically necessary

10           transition care."                Do you see that?

11                A.      Yeah.        I don't find that

12           statement at all surprising.                         No.

13                Q.      Yeah.

14                A.      I do see that, yeah.                    Not

15           surprising.           This is legislative --

16                Q.      The ASPS --

17                A.      -- legislative advocacy by the

18           ASPS.

19                Q.      The ASPS considers transition

20           care to be medically necessary; right?

21                        MR. KNEPPER:             Objection, form.

22                A.      Again, that returns -- returns

23           to that -- that inherent and



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1            contradictory statement of medical

2            necessity for a subjective condition.

3            And the statement is consistent with what

4            -- yeah.         Exactly, yeah.

5                  Q.      It's fair to say that the

6            opinions that you and Dr. Hruz and Dr.

7            Levine are offering in this case are very

8            different than the position that the ASPS

9            has adopted on whether gender-affirming

10           surgery is medically necessary; right?

11                         MR. KNEPPER:            Objection, form.

12                 A.      Absolutely correct.

13                 Q.      In fact, let me show you how

14           strongly the ASPS feels about this issue.

15           Let me introduce another exhibit.                            Okay.

16           Let me know when you -- when you receive

17           it.

18                         MR. KNEPPER:            Dmitriy, I -- I

19           will tell you, it seems to be moving more

20           slowly than normal.                 I don't know if

21           you're seeing the same thing on your end.

22                         MR. TISHYEVICH:              I am.

23                 A.      So yeah, I have this document.



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1            Again from the ASPS?                 Is that the one?

2            February 25th?

3                 Q.      No.     It should be -- it's a

4            one-page document.                I think it just says

5            ASPS in your folder.

6                 A.      Exhibit 7?

7                         MR. TISHYEVICH:              Let me -- let's

8            go off the record for a minute.

9                         MR. KNEPPER:            Sure.

10                        THE VIDEOGRAPHER:                We are off

11           the record at 10:19 a.m.

12                                (Break taken.)

13                        THE VIDEOGRAPHER:                We are back

14           on the record at 10:21 a.m.

15                Q.      (By Mr. Tishyevich) All right.

16           Doctor, before the break, we were talking

17           about the ASPS and the position they take

18           on the medical necessity of

19           gender-affirming surgery.                     You recall

20           that?

21                A.      Yes.

22                Q.      All right.           This is a document

23           from the ASPS titled "2021 State Policy



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1            Priorities."           Do you see that?

2            (Exhibit 8 was marked for identification

3            and is attached.)

4                 A.      Yes.

5                 Q.      Last sentence of the first

6            paragraph says, "To ensure that our

7            health care system is effective and

8            efficient, ASPS will focus its state

9            advocacy efforts on," and then there's a

10           list.      Do you see that?

11                A.      Yes.

12                Q.      And there's three sections:

13           "Core Priorities," "High Priorities," and

14           "Other Priorities."                You see that?

15                A.      Yes.

16                Q.      Go to the "High Priorities"

17           section.

18                A.      Okay.

19                Q.      The last bullet says, "Opposing

20           attempts to criminalize gender

21           confirmation."             Do you see that?

22                A.      I do.

23                Q.      And you understand what this



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1            bullet means; right?

2                 A.      I do.

3                         MR. KNEPPER:            Objection to form.

4                 Q.      One of the ASPS's high

5            priorities for this year is to oppose

6            legislation like the Arkansas ban and the

7            Utah ban and the Alabama ban that you are

8            supporting; right?

9                 A.      Apparently so, yes.

10                        MR. KNEPPER:            Objection, form,

11           scope.

12                Q.      The sense that I got from

13           reading your report, Doctor, is that it's

14           supposedly generally accepted that

15           gender-affirming surgical treatment is

16           experimental and should not be performed

17           on anyone; right?               That's what you think?

18                        MR. KNEPPER:            Objection, scope,

19           form.

20                A.      Right.        My opinion -- my opinion

21           in that matter is based on the -- on the

22           world literature rather than advocacy

23           statements by a professional



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1            organization.            That's right.

2                 Q.      You are suggesting, in fact,

3            that doctors who do these surgeries

4            should be investigated for unethical

5            behavior and potential misconduct; right?

6                         MR. KNEPPER:            Objection, form.

7                 A.      I -- yes, I do.

8                 Q.      And you do not think it's

9            relevant to mention that your own

10           professional society takes a view that is

11           contrary to the opinions that you're

12           offering in this case; right?

13                A.      I'm not sure I understood your

14           question, sir.

15                Q.      Yeah.       When you talk about how

16           these doctors should be investigated for

17           misconduct, you don't think it's relevant

18           that your own professional society takes

19           a completely contrary view?

20                        MR. KNEPPER:            Objection, form.

21                A.      Well, I think I would -- I would

22           characterize my concern and -- and

23           possibly recommendation of investigation,



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1            I was discussing, I think, consent

2            procedures and getting informed consent.

3            I don't think -- yeah, so -- so I think

4            the object- -- the concerns I raised had

5            to do with the off-label use of drugs in

6            irreversible treatments, the -- the

7            problem of obtaining consent from

8            emotionally compromised people who are

9            threatening suicide.                  Those were the

10           issues that I raised in terms of, you

11           know, investigation kind of things, or

12           examination would be a better term,

13           examination of -- of how a

14           physician/surgeon conducts their

15           practice, so.

16                Q.      Go -- go back to your report.

17                A.      Okay.

18                Q.      Go to page 15.               You with me?

19                A.      Yes, sir.

20                Q.      Look at the second sentence in

21           the bottom paragraph.                   You say, "Basing

22           life changing surgeries that damage and

23           destroy the natural functions of



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1            perfectly healthy organs on nothing more

2            than the unverified self-reports

3            (conversations) of often disturbed

4            patients as part of untested, unproven,

5            experimental 'treatments' that are

6            'supported' by a methodo-" --

7            "methodologically defective research base

8            when competent reviews have called such

9            research 'low quality' evidence and noted

10           the 'lack of any randomized clinical

11           trials' -- should be properly

12           investigated as unethical, misconduct and

13           an abuse of a vulnerable patient

14           population."

15                        Right?        That's your opinion?

16                A.      Yes, sir.          And I stand by that.

17                Q.      You know that today there's

18           thousands of plastic surgeons that are

19           performing these surgeries; right?

20                        MR. KNEPPER:            Objection, form,

21           scope.

22                A.      I don't know the number of

23           plastic surgeons who do these surgeries.



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1                 Q.      Hundreds?

2                 A.      I'm -- I'm sure the number is

3            large.       I don't know what the number is.

4            Yes.

5                 Q.      And you think all of those

6            doctors are out there committing

7            misconduct?          Is that really what you

8            think?

9                 A.      Well, I think that -- that their

10           knowledge might affect their

11           decision-making.              So if somebody is going

12           through a residency training program that

13           -- that is teaching these things and they

14           grow up in that world -- let me give you

15           an example.

16                        When I was a surgeon in training

17           in general surgery, the -- the most

18           coveted surgical experience would be, as

19           a chief resident, to do ulcer surgery.

20           At the time, we thought that ulcers were

21           caused by neurologic problems affecting

22           the stomach.           And so some of the most

23           complex abdominal surgeries were ulcer



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1            surgeries, and some of the greatest names

2            in general surgery were given to those

3            operations.          Subsequent to my residency

4            training, perhaps five years later, it

5            was found to be a medical condition

6            treatable with antibiotics and antacids.

7            Nobody does ulcer surgery any longer.

8                         I would put -- I would put

9            transgender surgery in the same category.

10           Well-meaning persons who are interested

11           in the care of people who are suffering,

12           in this case, transgender persons who are

13           suffering, well-meaning physicians and

14           surgeons are offering them the best care

15           that they've learned in their training.

16           But I -- I would expect that when the

17           science shows that to be not the case,

18           that those same doctors will abandon it.

19           And I think we're at the same stage now.

20           We're at an inflection point in plastic

21           surgery where in the last three years

22           things have changed radically.

23                        If you had asked that question



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1            five, seven years ago, it would have been

2            up for grabs.            But things have changed

3            radically with the flood of credible

4            scientific evidence pouring in from

5            Europe to now -- if -- if five years from

6            now, having seen that information,

7            surgeons persist in doing transgender

8            surgery, then I would -- then I would

9            have real issues with that, as I would

10           with a -- with a general surgeon offering

11           a Billroth II ulcer operation today when

12           you could give the patient erythromycin

13           and some -- and some Zantac.                       You see

14           where I'm going.

15                        So we're at a -- we're at a

16           tipping point in the world of plastic

17           surgery right now, and the last three

18           years have changed everything, because

19           the very, very well-supported -- see, the

20           problem is quality of evidence.                          Plastic

21           surgeons in America are operating with

22           scientific evidence that even the

23           American Society of Plastic Surgery



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1            characterizes as level 5 evidence,

2            basically, the -- the professional

3            opinions based on personal experience.

4            This is entry-level science for a

5            particular therapy or a particular

6            intervention.

7                         To raise to level 4, you would

8            have to have the same collected cases

9            with -- with before and after tests of

10           the patient.           We haven't gotten to that

11           level yet.          There are no long-term

12           longitudinal studies in the American

13           literature.          It's all in the European

14           literature, and the bulk of it in the

15           last three years.

16                        So the question is a difficult

17           one to answer.             As simply as saying that

18           all of these people are immoral, I'm not

19           saying that at all.                I'm saying that

20           they're doing the best that they know how

21           according to the training that they've

22           received for people that they very much

23           care for and are hoping to do good by.



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1            But the -- but the world is changing

2            rapidly now, and we've reached a stage

3            now where it's such a controversy that

4            this is -- this is -- this is why I've

5            become so publicly vocal about it,

6            because the controversy is now raging.

7            It's no longer:              "Maybe so.            Milton

8            Edgerton, interesting guy.                       You know, the

9            surgery at UVA, the surgery at Johns

10           Hopkins, let's get a look at that kind of

11           thing."        We've gone beyond that now, and

12           just in the last three years.

13                         So I -- the people who do these

14           surgeries are not right out of residency

15           training.          These are people who have --

16           you know, who have been in the -- in the

17           business for a number of years now, and

18           they're relying on what they learned and

19           doing the best that they can.                         But as I

20           say, the science is changing everything,

21           so.

22                         MR. TISHYEVICH:              With respect,

23           I'm going to strike that answer as not



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1            responsive.

2                 Q.      Here's the -- here's --

3                         MR. KNEPPER:             No.

4                 Q.      -- the question that I'd like

5            you to answer.

6                         MR. KNEPPER:             Go ahead.

7                 Q.      Here's the question that I'd

8            like you to answer.                  Is it your expert

9            opinion that the surgeons that are today

10           performing gender-affirming surgical

11           procedures are committing or potentially

12           committing misconduct, yes or no?

13                        MR. KNEPPER:             Objection, form,

14           scope, asked and answered.                       Dmitriy, you

15           asked him.          He gave you a --

16                        MR. TISHYEVICH:                I don't need

17           the speaking objections.                      I do not need

18           the speaking objections.

19                Q.      Answer my question, Doctor.

20                        MR. KNEPPER:             He gave you a

21           thoughtful answer.

22                A.      Okay.        If you could ask me the

23           question again, I want to be sure that



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1            I -- I answer it as succinctly as I can.

2                 Q.      Is it your expert opinion that

3            the surgeons that are performing

4            gender-affirming surgical procedures

5            today are potentially committing

6            professional misconduct, yes or no?

7                         MR. KNEPPER:            Objection, form.

8                 A.      I would -- I would say, only to

9            the extent that they're familiar with the

10           more recent literature would make them

11           sort of culpable, if you will.                         Not --

12           not being aware of that literature, I

13           would not accuse them of such a thing.

14                Q.      All right.           Let me introduce

15           another exhibit.              Let me know when you

16           get this one, Doctor, Exhibit 9.

17           (Exhibit 9 was marked for identification

18           and is attached.)

19                A.      All right.           The first page of

20           my -- well, that's the CV, I guess.                              My

21           CV, yes.

22                Q.      This is a copy of your CV;

23           right?



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1                 A.      Yeah.       Yes.

2                 Q.      You prepared this?

3                 A.      Well, it was prepared for me by

4            -- I gave -- I gave the factual input for

5            it, but I didn't prepare it myself, let's

6            say.

7                 Q.      Top of the page says, "Board

8            Certified in Surgery and Plastic Surgery"

9            again; right?

10                A.      Right.        Same mistake, yeah.

11                Q.      We agree that's not consistent

12           with guidance from the American Board of

13           Surgery, American Plastic Board of

14           Surgery; correct?

15                        MR. KNEPPER:            Objection, form.

16                A.      Yes.

17                Q.      Go to page 3, the bottom of the

18           page.      It says, "Publications - Peer

19           Reviewed Medical Journals."                       You see

20           that?

21                A.      I do.

22                Q.      And then through page 4, it

23           lists six publications; right?



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1                 A.      Right.

2                 Q.      In your professional career,

3            you've published six articles in

4            peer-reviewed medical journals; right?

5                 A.      Right.

6                 Q.      First one was in 1997; right?

7                 A.      '87.      Yes.

8                 Q.      Most recent one was in 1998;

9            correct?

10                A.      Correct.

11                Q.      That's 23 years ago; right?

12                A.      Right.

13                Q.      You have not published any

14           original research in peer-reviewed

15           literature within the last 23 years;

16           correct?

17                A.      Correct.

18                Q.      All right.           Let's go through

19           these in reverse order.                   All right.             Most

20           recent one from '98 is titled "Treatment

21           of an isolated outer table frontal sinus

22           fracture using endoscopic reduction and

23           fixation."          Right?



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1                  A.      Yes.

2                  Q.      That publication doesn't relate

3            to gender-affirming surgery or to gender

4            dysphoria; correct?

5                  A.      Tangentially, it would relate to

6            it.        And I would say this about it.                         It

7            was one of the first, if not the first,

8            paper demonstrating the use of endoscopic

9            technique to operate on facial bones of

10           the forehead and the use of internal

11           fixation devices for modification or

12           repair of the forehead.                    Those are the

13           same techniques that are now used by

14           transgender surgeons who are offering top

15           surgery.         For example, for feminization

16           of a masculine brow ridge, they use

17           endoscopic technique, which is described

18           in this paper that came out 23 years ago

19           and was written by myself and another

20           Navy surgeon.

21                 Q.      Understood.

22                 A.      Yeah.

23                 Q.      The -- the patient in this



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1            publication was not treated for face --

2            for gender dysphoria obviously; right?

3                 A.      No.     She was a sweet pizza maker

4            who had slipped in the kitchen and struck

5            her head on a stainless steel table and

6            had a -- had a displaced fracture of her

7            forehead.          But no, she was -- not to my

8            knowledge.          I don't know if she was or

9            not, but to my knowledge, she was not.

10                Q.      Next one going backwards is from

11           1996, and it's titled, "Scarless Fetal

12           Skin Repair: 'Unborn Patients' and 'Fetal

13           Material.'"          Do you see that?

14                A.      I do.

15                Q.      All right.           That doesn't relate

16           to gender-affirming surgery or to gender

17           dysphoria, I take it?

18                A.      It -- it actually refers to all

19           forms of surgery and particularly,

20           ethical decision-making.                    So I would say

21           that it's -- it's a -- it's a fairly

22           broad paper that talks about how we treat

23           other human persons.                 So transgender



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1            surgery is all about how we treat other

2            human persons.             That's what that paper is

3            about and how -- how some surgeons are

4            likely -- or possibly physicians and

5            surgeons could characterize someone as

6            less than human, which is a -- which is a

7            danger that transgender persons

8            experience when they're seeking care.

9            And so I would say that in a very

10           tangential way, it does.                    It does impinge

11           upon the field of transgender medicine

12           precisely for the reason that transgender

13           persons suffer oftentimes from being

14           treated as -- as someone who is less than

15           human.

16                Q.      Aside from that very tangential

17           angle, this paper does not specifically

18           relate to gender-affirming surgery or

19           gender dysphoria; correct?

20                A.      No, it does not.

21                Q.      And the next one before that is

22           in 1995.        Do you see that?

23                A.      I do.



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1                 Q.      You're listed as the third

2            author in this one; right?

3                 A.      Yes, sir.

4                 Q.      Because you're not the lead

5            author; right?

6                 A.      No.     The attending surgeon is

7            always the lead author, and I was a

8            resident.          I was a resident at that time,

9            yeah.

10                Q.      Understood.           This one's titled

11           "Delayed development of an ectopic

12           frontal sinus mucocele after pediatric

13           cranial trauma."

14                A.      Mucocele, yes.              Mucocele.

15                Q.      Thank you.           This publication

16           doesn't relate to gender-affirming

17           surgery or gender dysphoria; correct?

18                A.      Not directly, no.

19                Q.      Okay.       Next one before that is

20           titled "Patch Esophagoplasty"?

21                A.      Very good.

22                Q.      And that's repair or

23           reconstruction of the esophagus; right?



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1                 A.      Yes.

2                 Q.      Does this relate to

3            gender-affirming surgery or gender

4            dysphoria?

5                 A.      No.

6                 Q.      Next one before that is titled

7            "Modified Skin Incisions for Mastectomy:

8            The Need for Plastic Surgical Input in

9            Preoperative Planning."                   Do you see that?

10                A.      I do.

11                Q.      And finally, your oldest

12           publication is from 1987, titled

13           "Peritoneal Fluid in Human Acute

14           Pancreatitis."             Do you see that?

15                A.      Yes.

16                Q.      Does that relate to

17           gender-affirming surgery or gender

18           dysphoria?

19                A.      It does not.            By the way,

20           that -- that second to the last article,

21           your pattern of questions, I wondered if

22           you overlooked asking the same question

23           on that paper.



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1                 Q.      No.     I want to ask you more

2            specific questions about that one, so

3            we'll spend --

4                 A.      Oh, okay.

5                 Q.      -- more time on that one.

6                 A.      Good.       Good.       Very good.           All

7            right.

8                 Q.      Don't worry.

9                 A.      Yeah.       "Peritoneal Fluid in

10           Acute Pancreatitis" was a research paper,

11           animal model, and review of the

12           literature.          Yeah.

13                Q.      Okay.       You agree there's a

14           difference between a scientific article

15           that reports original research versus a

16           letter to the editor that's published in

17           a scientific journal?

18                        MR. KNEPPER:            Objection, form.

19                A.      Yes.

20                Q.      Some of your publications listed

21           here are just letters to editors; right?

22                A.      Yes.

23                Q.      Why is it that your CV doesn't



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1            identify those as letters as opposed to

2            original research?

3                 A.      I didn't -- that didn't occur to

4            me to do that.             Do we generally list them

5            separately?          I don't know.              I just put

6            all my publications there.

7                 Q.      So we can look at them, but for

8            example, the scarless fetal skin repair,

9            that's a letter to the editor; right?

10                A.      Right.

11                Q.      And so is the 1993 publication

12           on patch esophagoplasty; right?

13                A.      Right.

14                Q.      So out of the six publications

15           that you list in your CV, at least two of

16           them are letters to editors rather than

17           original research; fair?

18                        MR. KNEPPER:            Objection, form.

19                A.      Right.        Yes.

20                Q.      Okay.       Let's talk about your

21           experience treating transgender patients.

22           You retired from the military in 2002;

23           correct?



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1                 A.      Correct.

2                 Q.      In 2002, the U.S. military

3            certainly was not providing any

4            gender-affirming treatment to anyone in

5            the military; right?

6                 A.      That's correct.

7                 Q.      Or to veterans; right?

8                 A.      Correct.

9                 Q.      In fact, at that time, there was

10           a policy not to provide gender-affirming

11           treatment to active military or to

12           veterans; correct?

13                        MR. KNEPPER:            Objection, form,

14           scope.

15                A.      Correct.

16                Q.      So during your career in the

17           military, you did not provide any

18           gender-affirming treatment to any

19           patients; correct?

20                A.      Correct.

21                Q.      All right.           Let's focus on your

22           practice after you left the military in

23           2002.      You currently run the Lappert Skin



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1            Care clinic; right?

2                 A.      That's correct.

3                 Q.      How long have you operated that

4            clinic?

5                 A.      One year.

6                 Q.      Did you operate any clinics

7            before opening this one?

8                 A.      Yes.

9                 Q.      What was that one?

10                A.      That was my plastic surgery

11           office called Lappert Plastic Surgery in

12           Madison, Alabama.                And before that, it

13           was under the same name but located in

14           Decatur, Alabama.                And before that, it

15           was in Scottsbluff, Nebraska, same name.

16                Q.      How long did you run the Lappert

17           Plastic Surgery clinic?

18                A.      The Madison office was for 15

19           years.       I'm sorry.            The Madison office

20           was for ten years.                 My -- my mistake.

21           Ten years at the Madison office, five

22           years at the Decatur office, and three

23           years at the Scottsbluff office.



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1                 Q.      So, let me just make sure I have

2            my timing here.             So you've had the

3            Lappert Skin Care clinic for a year,

4            since 2020?

5                 A.      Right.

6                 Q.      And then the Lappert Plastic

7            Surgery ten years in Madison, so roughly

8            2010 to 2020?

9                 A.      That's right.

10                Q.      And then five years before that

11           in Decatur, 2005 --

12                A.      Right.

13                Q.      -- to 2010, roughly?

14                A.      Right.

15                Q.      And then --

16                A.      Scottsbluff was from 2002

17           through two -- through 2005.                       That was

18           where I went when I retired out of the

19           Navy.

20                Q.      Your -- your skin clinic

21           currently does treatments like Botox,

22           light therapy, laser hair removal; right?

23                A.      Right.        Laser tattoo removal,



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1            injectables, just skin consultations for

2            skin problems like rosacea, acne, that

3            sort of thing.             That's right.

4                 Q.      Were you performing similar

5            treatments at the Lappert Plastic Surgery

6            clinic?

7                 A.      Yes.      All I've done is I've just

8            suspend -- I just retired from active

9            surgical practice.                I had an operatory in

10           my office in Madison as well as in

11           Decatur previously, so I would do both

12           hospital-based surgeries as well as

13           clinic-based, office-based procedures.

14                Q.      So for example, light therapy

15           services, you've offered that for

16           ten-plus years, I take it?

17                A.      I believe we got that instrument

18           in 2006.

19                Q.      How about Botox?               Have you been

20           offering that for more than ten years?

21                A.      Yes.

22                Q.      Have you done forehead

23           injections for more than ten years?



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1                 A.      With Botox?

2                 Q.      Yes.

3                 A.      Yes.

4                 Q.      How about crow's feet?                    Is that

5            the right term?

6                 A.      Yes.

7                 Q.      More than -- more than ten

8            years?

9                 A.      Yes.

10                Q.      When was the last time you've

11           performed a surgical procedure?

12                A.      Well, as I said, I retired from

13           surgery in August of 2020, so it was -- I

14           think I was doing some last procedures in

15           that same month, perhaps July, somewhere

16           in there.

17                Q.      And in 2020, roughly how many

18           surgical procedures do you think you've

19           performed?

20                A.      From January to July?

21                Q.      Yes.

22                A.      Let's see.           Seven months.

23           Perhaps -- I don't know.                    Maybe eighty,



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1            something 80 to 100, I'm guessing.                               I

2            don't know.

3                 Q.      And give me examples of common

4            surgeries you would have performed in

5            2020.

6                 A.      Well, among the most common ones

7            that we did in the -- in the office were

8            autologous fat grafting for recon- -- for

9            rejuvenation of the face, autologous fat

10           grafting for breast augmentation,

11           ultrasound -- I'm sorry -- laser

12           lipoplasty for body contouring, and then

13           many in-office surgical procedures for

14           skin cancer and skin cancer

15           reconstruction, particularly of the face

16           and the extremities.

17                        And then on the hospital side, I

18           would be guessing how many, but it was

19           common for me to do breast reductions and

20           abdominoplasties, little local flap

21           reconstructions in the hospital for

22           younger patients who needed anesthesia,

23           reconstruction -- little reconstructive



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1            flaps for trauma or for cancer.

2                         I had a working relationship

3            with a dermatologist who did a lot of

4            what's called Mohs surgery for removal of

5            cancers.        He would send me his patients

6            if they -- if they were cancers that

7            involved the face.                I would do those

8            reconstructive surgeries.

9                         Yeah, that was probably -- I was

10           definitely throttling back in my last

11           year.      I didn't take on a lot of complex

12           cases, so.

13                Q.      Okay.

14                A.      Because I needed -- you need

15           follow-up, and so limited.

16                Q.      I understand.             Let's go back to

17           your report.           Go to page 4.

18                A.      Okay.

19                Q.      Okay.       Five lines down, you see

20           the sentence starting with, "In my

21           private practice"?

22                A.      Yes.

23                Q.      Okay.       Let's break this down.



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1            So you reference treated skin

2            pathologies.           What skin pathologies are

3            you referring to here?

4                 A.      Skin can- -- well, surgically or

5            medically, we're talking two different

6            categories, but.              So I'm consulted on --

7            on a lot of nonsurgical skin pathologies.

8            But as far as surgical skin pathologies,

9            that would include various forms of

10           malignancy and then benign growths and

11           things that are either aesthetically or

12           -- aesthetically problematic or

13           suspicious in appearance, so both proven

14           cancers and things that are suspicious of

15           cancers.        So those would be the skin

16           conditions.          The medical --

17                Q.      Yeah.       Well --

18                A.      -- skin conditions -- I'm sorry?

19                Q.      Yeah.       That's all right.                I'm

20           asking more specifically.

21                A.      Okay.

22                Q.      Because here, you write, "I've

23           had occasion to treat many



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1            self-identified transgender patients for

2            skin pathologies related to their use of

3            high dose sex steroids."

4                 A.      Yeah.

5                 Q.      So focusing specifically on that

6            patient population.

7                 A.      Okay.

8                 Q.      So, what skin pathologies are

9            you referring to here with respect to

10           transgender patients?

11                A.      Well, I've had a few patients

12           who've come in evidencing, you know,

13           acneiform conditions of the facial skin.

14           And so helping people manage acne is a

15           common thing that I do, and a variety of

16           interventions including, you know, the

17           light therapy, but more -- more properly,

18           the use of medications and -- and

19           sometimes laser therapy to manage

20           scarring.         But in those particular cases

21           of the trans-identified people, it's

22           mostly just ordinary management of acne.

23           And it's usually the same patients who



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1            come to see me about facial hair removal

2            with laser.          I have a couple of patients

3            in that category, people who are

4            transitioning and who are seeking laser

5            removal of hair from their faces.

6                 Q.      And you said this is a few

7            patients.         How many transgender patients

8            would you estimate you've treated for

9            skin pathologies related to steroids?

10                A.      Related to -- to sex steroids?

11                Q.      Yes.

12                A.      Oh, I don't know.                Probably less

13           than half a dozen.

14                Q.      Okay.       The acne you're referring

15           to, it's essentially a side effect from

16           the steroids; right?

17                A.      It's a common side effect of --

18           of -- yeah.          Particularly androgen is the

19           most common.

20                Q.      So this -- and so you're

21           treating patients with gender dysphoria

22           after they have already decided to follow

23           a certain course of treatment and started



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1            taking sex steroids; right?

2                 A.      Right.        Yeah.

3                 Q.      Okay.       And then you say you've

4            done laser therapies for management of

5            facial hair of also the transgender

6            population?

7                 A.      That's right.

8                 Q.      Right?

9                 A.      That's right.

10                Q.      And is that also in about half a

11           dozen patients?             Or what's you're

12           estimate?

13                A.      Yeah.       It's not a huge number.

14                Q.      Okay.       And finally, you say

15           you've done breast reversal surgeries for

16           detransitioning patients.                     On how many

17           patients have you performed -- strike

18           that.

19                        On how many detransitioning

20           patients have you performed the surgery?

21                A.      Two.

22                Q.      Two.      All right.           It's not a

23           commonly performed procedure for you;



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1            fair?

2                         MR. KNEPPER:            Objection, form.

3                 A.      Yeah, no.          They -- they started

4            coming to me in that last year of

5            practice, so.            Yeah, that -- it's not

6            a -- yeah, it's not a -- it was never a

7            common procedure for me.                    I did a lot of,

8            you know, implant removals and stuff

9            through my years.               It's the same

10           operation.          And I've done a lot of

11           gynecomastectomy surgeries.                       That's also

12           the same operation.                But in terms of as

13           it's applied to a trans- -- a

14           transitioned person who wants to revert

15           back to male presentation, very limited

16           experience.          But even though it's the

17           same operation, I have only done it for

18           two people.

19                Q.      And you said both of those

20           patients were in 2020?

21                A.      I believe so, yeah.                  One of them

22           may have been in 2019.                   I'm not positive

23           about that.



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1                 Q.      Before 2019 or 2020, you had

2            never had a detransitioning patient come

3            to you to obtain breast reversal surgery;

4            fair?

5                 A.      I think that's correct, yeah.

6            I'm just trying to think if there was

7            any, but I can't -- I can't recall any

8            other.

9                 Q.      Okay.       Are you aware that modern

10           gender affirmation programs typically

11           have a multidisciplinary team of

12           healthcare providers?

13                A.      Yes.

14                        MR. KNEPPER:            Objection, form.

15                Q.      And they usually involve mental

16           health specialists; right?

17                A.      Yes.

18                        MR. KNEPPER:            Objection, form.

19                Q.      Endocrinologists?

20                A.      Yes, that's my understanding.

21                Q.      And oftentimes plastic surgeons

22           if the patient wants to go that route;

23           right?



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1                 A.      Right.        That's -- that's my

2            understanding, yes.

3                 Q.      You personally have never been

4            part of this kind of a multidisciplinary

5            team for any patient with gender

6            dysphoria; correct?

7                 A.      No.     I have always -- I have

8            always turned away personal -- for per-

9            -- well, my understanding of those

10           procedures has caused me to reject

11           offering them to my patients because I

12           don't see them as beneficial.                        So

13           clearly, I wouldn't want to participate

14           in a multidisciplinary team that's

15           offering therapies that I consider to be

16           incorrect treatments for a condition that

17           deserves our care, so.

18                Q.      All right.

19                A.      If you want, I can give you a

20           shorter answer.             No.

21                Q.      Yeah, let's -- you personally

22           have never treated a single patient for

23           gender dysphoria; correct?



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1                  A.      I have never treated a patient

2            with gender dysphoria surgically.

3                  Q.      Okay.

4                  A.      Other than the detransitioner.

5            I -- I suspect they were still suffering

6            from dysphoria even though they were

7            detransitioning, but I didn't treat them

8            with surgery to -- per se for that

9            condition the way the transgender teams

10           do.        Yeah.

11                 Q.      When you were providing laser

12           hair removal to trans women, is that

13           providing gender-affirming care?

14                         MR. KNEPPER:            Objection, form.

15                 A.      I don't get into the affirmation

16           side of the treatment.                    I'm simply

17           providing a service to -- to people who

18           -- who I want to have as friends.

19           Believe it or not, it's true.                         I -- I

20           don't turn anyone away whose -- whose

21           request is -- is within the scope of what

22           I consider moral practice of medicine and

23           surgery, so.



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1                 Q.      So earlier, I asked you, you

2            personally have never treated a single

3            patient for gender dysphoria, and I think

4            you said not surgically.                    Let me ask more

5            broadly.        Not limited to surgery, you

6            have never treated a single patient for

7            their gender dysphoria symptoms; correct?

8                 A.      Well, I guess if -- if you were

9            to look at laser facial hair removal and

10           consider that in the -- in the spectrum

11           of care, certainly that's -- that's --

12           that's clinic care that's probably

13           improving the emotional life of the

14           patient because they're seeking to

15           present as women.               So in that sense, I

16           have, yeah.

17                Q.      Nothing outside of laser hair

18           removal?

19                A.      No.

20                Q.      You personally have never --

21                A.      Well, and -- and acne.                    Because

22           clearly, that's a problem.                      But in terms

23           of their -- the trajectory of their



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1            transition, acne doesn't enter into it.

2            But certainly laser hair removal, yeah.

3                 Q.      You personally have never sat in

4            any meetings between a provider and a

5            patient where the doctor was trying to

6            diagnose whether the patient has gender

7            dysphoria; correct?

8                 A.      Correct.

9                 Q.      You have never sat in any

10           meetings between a provider and a patient

11           discussing their potential treatment

12           options for gender dysphoria; correct?

13                A.      No.

14                Q.      All right.           You're not an

15           endocrinologist; right?

16                A.      Correct.

17                Q.      You're not a psychiatrist;

18           right?

19                A.      Correct.

20                Q.      You're not a licensed mental

21           healthcare provider of any kind; right?

22                A.      Correct.

23                Q.      In your professional day-to-day



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1            practice, you do not diagnose mental

2            health conditions of any kind; right?

3                         MR. KNEPPER:            Objection, form.

4                 A.      With the exception of what we

5            discussed earlier about body dysmorphic

6            disorder and gender -- gender identity as

7            a subcategory of body dysmorphic

8            disorder, no, I would say I don't.

9                 Q.      Okay.       If some patient thinks

10           that they may have depression or anxiety,

11           you would expect that patient to go to a

12           mental health professional, not to you;

13           right?

14                A.      That's my expectation.                    But

15           again, many depressed people come to

16           plastic surgeons seeking a remedy for

17           their depression thinking that their

18           appearance is the cause of their

19           depression.          And it's my duty as a

20           plastic surgeon to recognize those

21           patients and -- and send them to the

22           psychologist, psychiatrist, rather than

23           offering them surgical care, yeah, so.



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1                 Q.      Yeah.       I'm asking a slightly

2            different question.

3                 A.      Okay.

4                 Q.      If a -- if a patient, for some

5            reason, came to you and asked you to

6            diagnose them with depression or anxiety,

7            I assume you would refer them to a train

8            -- trained mental health professional;

9            right?

10                A.      Yes.

11                Q.      Because doctors should not be

12           diagnosing patients with mental health

13           conditions if they do not have training

14           in how to diagnose mental health

15           conditions; right?

16                        MR. KNEPPER:            Objection, form.

17                A.      Well, I wouldn't say that,

18           because for example, as a -- as a -- as a

19           surgeon, as a plastic surgeon, we do have

20           to make diagnoses outside of our

21           specialty in order to get people to the

22           right specialist.               So to an extent, you

23           have to make that diagnosis.



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1                         So for example, as a resident in

2            training, I diagnosed an endocrinological

3            disease and probably saved a woman's life

4            because she was in a psych ward, and --

5            and -- and the doctors had a question

6            about her -- a lump in her neck.                          She had

7            been on the psych ward for weeks, and I

8            diagnosed a hyperfunctioning thyroid

9            nodule.       I didn't confirm that diagnosis.

10           I sent her to an endocrinologist.                           But I

11           made the initial diagnosis of

12           hyperfunctioning thyroid nodule, and --

13           and ultimately, I did her thyroidectomy.

14           But that's an example.

15                        You have to understand pathology

16           outside your specialty because you don't

17           know why the patient is going to present

18           to you, and you have to be ready to start

19           the process that gets them to the

20           specialist, so you have to have a working

21           knowledge of the problems.

22                Q.      Yeah, that's exactly the point.

23           Even for that one example, you still send



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1            this patient to a trained endocrinologist

2            to confirm the diagnosis; right?

3                 A.      Right.        And then they sent them

4            back to me to give them definitive care.

5                 Q.      Yeah.       And that's what you would

6            do for any patient that presents to you

7            with a mental health condition; right?

8            You would train -- you would send them to

9            someone who is -- who is trained in how

10           to diagnose mental health conditions;

11           right?

12                        MR. KNEPPER:            Objection, form.

13                A.      Yes.

14                Q.      You're not trained in providing

15           psychotherapy counseling; right?

16                A.      Right.

17                Q.      You've never provided

18           counseling, psychotherapy counseling to

19           children or adolescents with gender

20           dysphoria; right?

21                A.      Right.

22                Q.      You've never provided

23           psychotherapy counseling to adults who



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1            have gender dysphoria; right?

2                 A.      Right.

3                 Q.      You do not have the professional

4            training to provide psychotherapy

5            counseling to adults who have gender

6            dysphoria; right?

7                         MR. KNEPPER:            Objection, form.

8                 A.      Correct.

9                 Q.      Or to children or adolescents

10           with gender dysphoria; right?

11                        MR. KNEPPER:            Objection, form.

12                A.      Correct.

13                Q.      Go to page -- back to your --

14           strike that.

15                        Back to your report on page 4,

16           in this paragraph 9, about six lines

17           down, you say, "I have consulted with

18           families with children who are

19           experiencing gender discordance."                           Do you

20           see that?

21                A.      Yes.

22                Q.      Describe these consultations for

23           me at a high level.



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1                 A.      Basically, it was families that

2            wanted to understand what -- the nature

3            of plastic surgery sort of in the future

4            for their children.                These were -- these

5            were personal encounters rather than in

6            the office, but fairly lengthy at times,

7            talking to families about -- they wanted

8            to understand what was being offered to

9            their children.             They wanted to

10           understand the nature of -- or what the

11           future would look like for their

12           children.         They wanted to get some idea

13           of -- basically, they wanted to hear sort

14           of a fuller explanation of the -- of the

15           medical and surgical side of things.                             So

16           I wasn't giving them psychiatric

17           counseling, but basically offering them

18           my experience as a plastic surgeon,

19           wanting to know what the surgery's about,

20           what the -- the hormone therapy that

21           precedes the surgery's about, that sort

22           of thing.

23                Q.      How many of these consultations



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1            have you done, would you estimate?

2                 A.      Perhaps five or six, maybe more.

3            Maybe -- yeah, five or six would be a

4            fair number, I think.

5                 Q.      Over what years?

6                 A.      Perhaps the last three.

7                 Q.      Do you know how these parents

8            know to reach out to you for these

9            consultations?

10                A.      It's -- I think maybe some of

11           them were -- having heard about my public

12           presentations at various venues.                          People

13           hear about this plastic surgeon in

14           Decatur who's raising objections, I

15           guess.       I don't know the particular

16           details about how a particular patient

17           might have come to me.                   I just -- I just

18           always make myself available when people

19           are anxious for their children and

20           they're looking for an understanding of

21           what transgender is about.

22                Q.      What's the typical advice that

23           you give to parents of children or



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1            adolescents who are considering starting

2            puberty blockers?

3                 A.      Well, my advice on that score is

4            based on the -- on the world literature,

5            that the desistance rate for their child,

6            if they don't give them puberty blockers,

7            the likelihood is that by the time they

8            reach mid-adolescence, they have an 80

9            percent likelihood of desisting in their

10           cross-sex self-identification.                         And if

11           you follow them into young adulthood,

12           that percentage will be in the 90s.

13                        But essentially, I recommend

14           that they slow everything down, and I

15           recommend against the use of puberty

16           blockade because it's experimental and

17           because the likelihood is very high -- in

18           fact, if I had any medical procedure that

19           gave me 90-plus percent success rate, I

20           would consider that a great victory.

21           So -- so that's -- that's what I speak to

22           them about.

23                        That -- that desistance data is



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1            a very important thing for parents to

2            understand.            And very often, the patient

3            -- the parents are experiencing

4            tremendous pressure from the people

5            they've seen in consultation, a

6            tremendous pressure.                   And usually, the

7            parents are very distressed about what

8            they're hearing, particularly the -- the

9            fear of suicide and self-harm.

10                 Q.      Yeah.

11                 A.      So --

12                 Q.      You encourage -- yeah, no, I got

13           it.        You encourage patients of children

14           who -- or adolescents who experience

15           gender dysphoria not to start them on

16           puberty-blocking drugs; fair?

17                         MR. KNEPPER:             Objection, form.

18                 A.      Yeah, I discourage the use of

19           puberty blockade for anything other than

20           precocious puberty or other

21           endocrinopathies.

22                 Q.      And you also discourage them

23           from pursuing surgical procedures for



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1            gender dysphoria; correct?

2                         MR. KNEPPER:            Objection, form.

3                 A.      Correct.

4                 Q.      When you do these consultations,

5            do you talk just to the parents or to the

6            children as well?

7                 A.      Both, yeah.           I like to meet the

8            children and -- and -- and get to know

9            them, yeah.

10                Q.      And do you convey the same

11           message to the children?                    Don't start

12           puberty blockers; don't start -- don't do

13           any surgical procedures?

14                        MR. KNEPPER:            Objection.

15                A.      I -- I generally don't -- I'm

16           sorry.       I generally don't speak about the

17           details of therapy to children.                          I speak

18           to their parents.

19                Q.      How many children do you think

20           you have consulted with specifically?

21                A.      On this -- on this issue?

22                Q.      Yes.

23                A.      As I say, maybe six.                  I often --



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1            well, yeah, I would say six is a good

2            number.

3                 Q.      Do you know how many of them

4            went on to start hormone-blocking

5            therapy, if any?

6                 A.      I don't.          I don't know the

7            answer to that question.                      Yeah, I don't.

8                 Q.      Do you know how many of them, if

9            any, went on to start cross-sex hormone

10           therapy?

11                A.      I don't know the answer to that

12           question, no.

13                Q.      You don't know how many of them

14           went on to do any kind of surgical

15           gender-affirming procedures?

16                A.      No.

17                Q.      You haven't done any follow-up

18           with any of these families that you've

19           consulted?

20                A.      As I say, this was an informal

21           thing, so.          Yeah.        So no, I -- I haven't

22           followed up long-term.                    This has -- as I

23           say, this has happened over the last



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1            perhaps three years.                 And so the general

2            course of events there is -- is typically

3            longer than that, so.                  But I have not

4            seen -- well, I have seen one -- one

5            child twice, actually, with the parents.

6            And actually -- okay.                  So -- so perhaps

7            she would be an exception.

8                         She was sort of headed in the

9            direction of seeking puberty blockade.

10           And then in our meetings, she has sort of

11           given that up.             She was under a lot of

12           pressure at school, you know, being

13           pressured by boys because she was

14           starting to develop secondary sex

15           characteristics, and she developed a

16           tremendous anxiety about it.                       And someone

17           had told her that -- that if she went

18           through transition care, that that would

19           be avoided.          And I had a conversation

20           with her parents, I had a conversation

21           with her, and essentially just encouraged

22           her to slow down and sort of examine her

23           other options.             And I think within about



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1            seven months, she came back to me, and

2            she's not even thinking along those lines

3            any longer.          In fact, now she's talking

4            about what high school she wants to go

5            to, so.

6                 Q.      Okay.       So this is one child who

7            was considering, or whose parents were

8            considering starting puberty-blocking,

9            but after consultation with you, decided

10           not to; right?

11                A.      I think that she -- yeah.

12                        MR. KNEPPER:            Objection to form.

13                        MR. TISHYEVICH:              Okay.        All

14           right off the record.

15                        THE VIDEOGRAPHER:                This is the

16           end of Media Unit No. 2.                    We are off the

17           record at 11:06 a.m.

18                                (Break taken.)

19                        THE VIDEOGRAPHER:                This is the

20           beginning of Media Unit No. 3.                         We are on

21           the record at 11:16 a.m.

22                Q.      (By Mr. Tishyevich) Doctor, you

23           know what facial feminization surgery is;



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1            right?

2                 A.      Yes, I do.

3                 Q.      You have never performed facial

4            feminization surgery for any transgender

5            patient; correct?

6                 A.      Correct.

7                 Q.      You know what facial

8            masculinization surgery is?

9                 A.      Yes.

10                Q.      You have never performed that

11           for any transgender patient; correct?

12                A.      Correct.

13                Q.      Do you know what transfeminine

14           top surgery is?

15                A.      Yes.

16                Q.      You have never performed that on

17           a transgender patient?

18                A.      No.

19                Q.      How about a chest reconstruction

20           surgery?         Have you performed that on a

21           transgender patient?

22                A.      No.

23                Q.      You have never performed a



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1            vaginoplasty for a transgender patient?

2                 A.      No.

3                 Q.      You have never performed a

4            metoidioplasty for any transgender

5            patient?

6                 A.      No.

7                 Q.      You've never performed what's

8            colloquially known as bottom surgery for

9            any transgender patient; correct?

10                A.      Correct.

11                Q.      Fair to say you've never

12           performed any kind of gender-affirming

13           surgery in transgender patients; right?

14                A.      Correct.

15                Q.      And fair to say you don't have

16           recent and substantive experience in

17           performing gender-affirming -- -affirming

18           surgery for transgender patients;

19           correct?

20                        MR. KNEPPER:            Form.

21                A.      I have -- I have substantive

22           experience with all the actual -- the

23           nature of the particular operations but



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1            never performed for transgender patients

2            to transition them, no.                   But the

3            operations themselves as used in

4            reconstruction, I have considerable

5            experience with.

6                 Q.      We talked earlier about the

7            American Society of Plastic Surgeons.

8            You recall that?

9                 A.      I do.

10                Q.      You know that the ASPS has a

11           code of ethics?

12                A.      Yes.

13                Q.      And you know that members are

14           required to comply with the code of

15           ethics; right?

16                A.      Yes.

17                Q.      And I know you're not a member

18           now, but you were a member of the ASPS

19           for a considerable amount of time; right?

20                A.      Yes.

21                Q.      And I assume during that time,

22           you followed the ASPS code of ethics;

23           right?



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1                 A.      To my knowledge, I never

2            violated it.            Yes.

3                 Q.      When was the last time you

4            reviewed it?

5                 A.      I'm sorry, did I lose the sound

6            here?

7                 Q.      When was the last time you

8            reviewed the ASPS code of ethics?

9                 A.      Oh, gosh.           Years ago.            Years

10           ago.

11                Q.      Let me introduce an exhibit.

12                        Let me ask you this first.                          Are

13           you aware that the ASPS code of ethics

14           had some specific rules for members who

15           provide expert testimony?

16                A.      Yes.

17                Q.      Okay.        You didn't review those

18           provisions before you formed your expert

19           opinions in this case?

20                A.      No.

21                Q.      Sitting here today, do you know

22           if your opinions in this case are in

23           compliance with what the ASPS code of



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1            ethics says about members who provide

2            expert testimony?

3                 A.      I'm not aware that I've violated

4            them in any way, yeah.

5                 Q.      Let me introduce an exhibit.

6            Okay.      Let me know when you have it.

7            (Exhibit 10 was marked for identification

8            and is attached.)

9                 A.      Okay.

10                Q.      It's still opening on my end.

11                        Okay.       So, Exhibit 10 is the

12           Code of Ethics of the American Society of

13           Plastic Surgeons.               You see that?

14                A.      I do.

15                Q.      The bottom left corner says,

16           "Updated September 25, 2017."                        See that?

17                A.      I do.

18                Q.      That's when you were still an

19           active member of the ASPS; right?

20                A.      Yeah, that's right.

21                Q.      Go to page 4.

22                A.      I think I'm on page 4 here.

23           They're not numbered.                  Oh, here we are,



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1            yes.

2                 Q.      Or I'm sorry, page 6.

3                 A.      Page 6.

4                 Q.      Section IV.

5                 A.      Section IV, yes.

6                 Q.      Section IV is "Expert

7            Testimony"; right?

8                 A.      Yes.

9                 Q.      I want to focus you on the last

10           two sentences of this first paragraph.

11           It says, "Members whose testimony,

12           including testimony as to credentials or

13           qualifications, is false, deceptive, or

14           misleading may be subject to disciplinary

15           action, including expulsion."                        You see

16           that?

17                A.      Yes.

18                Q.      The next sentence says, "Further

19           to help limit false, deceptive and/or

20           mislead" -- "misleading testimony,

21           Members serving as expert witnesses

22           must," and then there's a list of

23           requirements.            You see that?



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1                 A.      I do.

2                 Q.      Okay.       So "must" means this is a

3            mandatory rule, not an optional

4            suggestion; right?

5                         MR. KNEPPER:            Objection, form.

6                 A.      I expect that's what it means,

7            yes.

8                 Q.      All right.           Let's look at these

9            rules.       Number 1 says that members

10           serving as expert witnesses must "Have

11           recent and substantive experience (as

12           defined in the Glossary of the Code) in

13           the area in which they testify,

14           including, without limitation, experience

15           in the relevant subspecialty or the

16           particular procedure performed on the

17           plaintiff."

18                        Do you see that?

19                A.      I do.

20                Q.      All right.           Without looking at

21           the glossary, do you know, sitting here

22           today, how the glossary defines "recent

23           and substantive experience"?



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1                 A.      I don't.

2                 Q.      Okay.       Why don't we look at that

3            definition together.                 Go to page 8.

4                 A.      Okay.

5                 Q.      See there's subsection F?

6                 A.      Yes.

7                 Q.      All right.           Read that definition

8            to yourself, and tell me when you're

9            done.

10                A.      Okay.

11                     (Witness reviews document.)

12                A.      Okay.

13                Q.      To be able to provide expert

14           testimony -- well, strike that.

15                        Let me focus you on the very

16           last part of this definition.                        Okay.       To

17           be able to provide expert testimony about

18           a particular surgical procedure, the ASPS

19           Code of Ethics requires a surgeon to have

20           performed a specific procedure in

21           question within three years of being

22           retained as an expert witness; correct?

23                A.      That's what it says, yes, sir.



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1                         MR. KNEPPER:            Objection, form.

2                 Q.      All right.           Now, as we've just

3            discussed, you personally have not

4            performed any kind of facial

5            masculinization surgery in the last three

6            years; correct?

7                         MR. KNEPPER:            Objection, form.

8                 A.      Correct.

9                 Q.      Any kind of facial feminization

10           surgery; right?

11                A.      Correct.

12                        MR. KNEPPER:            Objection, form.

13                Q.      Vaginoplasty; right?

14                        MR. KNEPPER:            Objection, form.

15                A.      Correct.

16                Q.      Metoidioplasty; right?

17                        MR. KNEPPER:            Objection to form.

18                A.      Correct.

19                Q.      You personally have not

20           performed any kind of gender-affirming

21           surgical procedure on a transgender

22           patient in the last three years; correct?

23                        MR. KNEPPER:            Objection, form.



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1                 A.      I have never performed such

2            procedures.

3                 Q.      All right.           Well, given that you

4            have not ever personally performed any

5            kind of surgical procedures in the last

6            three years, I take it you're not

7            offering expert opinions on any of these

8            surgeries because doing so would be

9            inconsistent with the ASPS code of

10           ethics; right?

11                        MR. KNEPPER:            Objection, form.

12                A.      Well, so the ethics that informs

13           my opinion here is I don't derive from

14           the ASPS, nor am I subject to their --

15           their -- what's the word I'm looking

16           for -- their sanctions, I guess, would be

17           the correct word.               The expert opinion I

18           offer here is not on -- on complications

19           of an operation that might enter into a

20           litigation.          In terms of the -- you know,

21           I guess the -- the question at hand here

22           is transition surgery, the bigger

23           picture.        I certainly make record of --



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1            of the known complications as available

2            in the literature.                And in my testimony,

3            I did a literature review on the

4            complications of particular surgeries.

5                         But I don't do these operations

6            for a reason, and the reason I don't do

7            these operations is ethical based on my

8            knowledge of the science.                     I don't derive

9            my ethical decision-making from the ASPS,

10           and this is one of the reasons why,

11           again, I have no heartburn about having

12           withdrawn my membership.                    I have great

13           issue with -- with the idea that a

14           professional organization would encourage

15           or sanction these operations given the

16           world literature.

17                Q.      Your opinion -- your -- strike

18           that.

19                        Your expert report does offer

20           some opinion, or purports to offer some

21           opinions about surgical risks of some of

22           these gender-affirming surgical

23           procedures, does it not?



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1                 A.      Yes.      Based on my -- my

2            experience in microvascular surgery, on

3            flap reconstruction of the perineum, for

4            example, flap reconstruction of the chest

5            or the -- or the genital area in

6            treatment for traumatic injuries and

7            things.       So the operations themselves,

8            I'm quite familiar with.                    I'm quite

9            familiar with the complications that are

10           peculiar to free flap or local flap

11           reconstructions.

12                        But as far as doing those

13           operations for gender transitioning, I --

14           I don't do those operations.                       But the

15           complications are the same: flap loss,

16           flap necrosis, urinary fistulas.                          All of

17           those things I have -- I have experience

18           with in managing trauma, in managing

19           cancer, in managing infectious

20           destruction of the genital area.                          But

21           I've never done the operation for

22           transgender per se, correct.

23                Q.      And because you've never done



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1            any of those procedures on transgender

2            patients, can we agree that offering

3            those opinions is inconsistent with the

4            ASPS Code of Ethics?

5                         MR. KNEPPER:             Objection, form.

6                 A.      I would not agree with that.

7                 Q.      Does it bother you that you

8            might be in violation of the Code of

9            Ethics by offering these opinions?

10                        MR. KNEPPER:             Objection.

11                A.      No.      Not in the least.

12                Q.      Do you think that a judge might

13           be troubled by the fact that your

14           professional organization, former

15           professional organization, says you

16           shouldn't be allowed -- you shouldn't be

17           offering these kind of opinions?

18                        MR. KNEPPER:             Objection, form.

19                A.      Yeah, I find -- I find the --

20           the whole situation troubling, and I

21           would hope that the judge would be

22           troubled by it, yes.

23                Q.      Okay.        Yeah, no, I mean, I'm



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1            asking a much more specific question.

2            The judge is going to be asked to find

3            whether your testimony is reliable.                              Do

4            you think the judge might have some

5            concerns if she -- if they were to

6            conclude that the testimony you're

7            offering in this case is not allowed

8            under the code of ethics of the ASPS?

9                         MR. KNEPPER:            Objection, form.

10                A.      I -- I -- I haven't thought

11           about it.

12                Q.      And you haven't thought about it

13           because before today, you didn't know

14           whether or not your testimony complies

15           with the ASPS Code of Ethics; right?

16                        MR. KNEPPER:            Objection, form.

17                A.      I was not -- I was not concerned

18           with the ASPS Code of Ethics, for reasons

19           we've discussed earlier.

20                Q.      Did you know that -- did you

21           know that the ASPS Code of Ethics

22           prohibits members from offering expert

23           testimony on topics in which they do not



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1            have recent and substantive experience?

2                         MR. KNEPPER:            Objection, form.

3                 A.      Could you -- can you -- I want

4            to make sure I answer your question and

5            not something else.                Could you offer me

6            that question again, please?

7                 Q.      Before I showed you this code of

8            ethics at your deposition today, were you

9            aware that the ASPS Code of Ethics

10           prohibits members from offering expert

11           opinions on topics on which they do not

12           have recent and substantive experience?

13                        MR. KNEPPER:            Objection, form.

14                A.      Actually, I dreaded that such a

15           -- such a fact would come to light.                              I

16           have not read the -- the ethics code in

17           recent years, as I said earlier.                          But

18           I -- I have dreaded this evolution in the

19           ethics of my former professional society,

20           that they would consider transgender

21           surgery the way they do.

22                        I -- other -- aside from that, I

23           was not concerned that I might be



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1            violating the ethics of the society

2            because in all my previous life, I have

3            never violated the ethics of the society.

4            And I don't -- at present, I don't

5            consider my testimony to be a violation

6            of this policy that we've read together.

7                  Q.      I understand.             All right.           Let's

8            switch gears.             You know what the WPATH

9            is?        The World Professional Association

10           for Transgender Health?

11                 A.      Yes.

12                         MR. TISHYEVICH:              And for the

13           court reporter, it's W-P-A-T-H, all

14           capital.

15                 Q.      All right.           You know that the

16           WPATH publishes standards of care for the

17           health of transgender people; right?

18                 A.      They have a publication that

19           they call the standards of care, yes.

20                 Q.      And are you aware that they've

21           been publishing those standards since

22           1979?

23                 A.      Yes.



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1                  Q.      The latest publicly available

2            standard of care is Version 7; correct?

3                  A.      Correct.

4                  Q.      And that was published in 2012;

5            right?

6                  A.      That's right.

7                  Q.      All right.            Before you wrote

8            your report, did you sit down and review

9            the Standards of Care, Version 7 that

10           you're criticizing?

11                 A.      Yes, I did.

12                 Q.      All right.            You yourself are not

13           part of the WPATH; correct?

14                 A.      No, I am not.

15                 Q.      You've never been part of the

16           WPATH; right?

17                 A.      I would never be part of the

18           WPATH.

19                 Q.      You've never advised the WPATH

20           in any capacity; right?

21                 A.      They've never asked my opinion.

22           No.

23                 Q.      You've never advised the WPATH



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1            in any capacity; correct?

2                 A.      I have not.

3                 Q.      You personally have not been

4            involved with the development of WPATH's

5            Standards of Care, Version 7; correct?

6                 A.      Correct.

7                 Q.      You don't know what year the

8            WPATH started working on Version 7;

9            right?

10                A.      My understanding was it was in

11           2007, but I could be wrong.                       I think it

12           was 2007.         I think it was a five-year

13           process, but I could be wrong on that.

14                Q.      You don't know for sure?

15                A.      I don't know for sure.

16                Q.      You don't know how many

17           different work groups at the WPATH were

18           involved with working on Version 7;

19           correct?

20                        MR. KNEPPER:            Objection, form.

21                A.      In reading the -- the

22           introduction to the document, the number

23           nine pops into my mind, but I can't swear



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1            to that.

2                 Q.      Okay.       You don't know what kind

3            of scientific literature the WPATH

4            conducted as part of drafting Version 7;

5            right?

6                 A.      As far as naming the particular

7            papers that they may have reviewed, I

8            can't do that for you because those

9            are -- that happens in closed committee.

10           I -- all I can say to you is my -- based

11           upon my reading of the product and the

12           verbiage that it's used, my suspicion is

13           that it's pretty heavily weighted towards

14           the American literature and -- and does

15           not bring in particular document -- well,

16           being that it was published in 2012, the

17           big inflection point in 2011 probably

18           wasn't available to the committee when

19           they were writing that document.

20                        So given that the document is

21           already out of date and it's -- and the

22           subsequent WPATH 8, no one knows when

23           it's going to come out, yeah, it's --



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1            it's almost -- it's almost irrelevant

2            because of the change in the literature

3            that happened since it was published, so.

4            In particular, the 2011 article by

5            Dhejne, Cecilia Dhejne, and -- and others

6            that kind of changed the view of the

7            scientific evidence.

8                         So yeah, it's an out-of-date

9            document by the standards of what are

10           called standards of care.                     It's not a

11           standards of care document.                       It's a --

12           it's a treatment guideline document is

13           really what it is, and it's a poorly

14           supported treatment guideline at that,

15           so -- gosh, I wandered off.

16                        Did I -- did I answer your

17           question?

18                Q.      Yeah, you anticipated my

19           objection.

20                        MR. TISHYEVICH:              Which, again,

21           I'll move to strike most of that as

22           nonresponsive.

23                Q.      Because here's my question.                         You



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1            don't personally know what kind of

2            scientific literature the WPATH conducted

3            as part of drafting Version 7; correct?

4                         MR. KNEPPER:            Objection, form.

5                 A.      No.     Again, a closed session, so

6            I don't know what documents they used.

7                 Q.      You don't know what kind of

8            outside experts the WPATH may have

9            consulted in drafting Version 7; right?

10                A.      No.

11                Q.      You don't know what kind of peer

12           review the WPATH may have conducted as

13           part of developing Version 7; right?

14                        MR. KNEPPER:            Objection, form.

15                A.      No.

16                Q.      You don't know what kind of

17           public comments the WPATH may have

18           solicited as part of developing Version

19           7.

20                        MR. KNEPPER:            Objection, form.

21                Q.      Right?

22                A.      No.

23                Q.      You don't know how many



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1            different drafts the Version 7 went

2            through before it was finalized; right?

3                 A.      No.

4                 Q.      You don't know how many

5            different meetings or conferences the

6            WPATH had to discuss the development of

7            Version 7; right?

8                 A.      Correct.

9                 Q.      You have no idea what may have

10           gone on during those meetings or

11           conferences; correct?

12                        MR. KNEPPER:            Objection, form.

13                A.      No.     I was not a part of the

14           conferences that produced the product.

15                Q.      Yeah, you are not an expert in

16           how Version 7 of the WPATH was developed;

17           right?

18                A.      Correct.

19                Q.      And we can go through all these

20           questions again individually for Version

21           8, but maybe we can shortcut this.

22                A.      Well, no one knows what's in

23           Version 8 except the people who are in



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1            the committee.             It's a -- it's a

2            privileged document.                 There's no one in

3            plastic surgery who knows it apart from

4            the people who serve as members of the

5            WPATH, so that would be the case.

6                 Q.      Okay.

7                 A.      It's a -- it -- yeah.

8                 Q.      So just so we have it on the

9            record, you don't hold yourself out as an

10           expert on how Version 8 of the WPATH

11           Standards of Care are currently being

12           developed; fair?

13                A.      Fair.

14                Q.      Okay.       We talked earlier about

15           the DSM; right?

16                A.      Yes.

17                Q.      In your day-to-day practice, you

18           don't use the DSM-5; correct?

19                A.      No.

20                Q.      But you do know the DSM-5 is

21           widely used by psychiatrists; correct?

22                A.      Yes.

23                Q.      The DSM-5 was published in 2013;



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1            correct?

2                 A.      I don't know the publication

3            date, but it sounds about right.

4                 Q.      Do you know that it was

5            developed by the American Psychiatric

6            Association?

7                 A.      Yes.

8                 Q.      You're not a member of the APA;

9            right?

10                A.      Correct.

11                Q.      You personally have not been

12           involved with the development of DSM-5;

13           right?

14                A.      No.

15                Q.      You don't know how many

16           different working groups were involved

17           with developing the DSM-5; right?

18                        MR. KNEPPER:             Objection, form.

19                A.      Correct.

20                Q.      You don't know how many

21           different members those working groups

22           had; right?

23                        MR. KNEPPER:             Objection, form.



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1                 A.      No.

2                 Q.      Or how they were selected;

3            right?

4                         MR. KNEPPER:             Objection, form.

5                 A.      Correct.

6                 Q.      You don't know how many

7            different authors contributed to the

8            development of DSM-5; correct?

9                 A.      Correct.

10                        MR. KNEPPER:             Objection, form.

11                Q.      You don't know what kind of

12           scientific literature review was done by

13           different work groups as part of

14           developing the DSM-5; correct?

15                        MR. KNEPPER:             Objection, form.

16                A.      Correct.

17                Q.      You don't know what kind of

18           public comments the APA may have

19           solicited in developing the DSM-5;

20           correct?

21                        MR. KNEPPER:             Objection, form.

22                A.      Correct.

23                Q.      You don't know how many



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1            different drafts the DSM-5 went through

2            before it was finalized; correct?

3                         MR. KNEPPER:            Objection, form.

4                 A.      Correct.

5                 Q.      You don't know how many

6            different meetings or conferences or

7            telephonic conferences the working groups

8            had to discuss the development of the

9            DSM-5; right?

10                        MR. KNEPPER:            Objection, form.

11                A.      Right.

12                Q.      You have no idea what was

13           discussed during any of those meetings;

14           right?

15                A.      Right.

16                Q.      Let me ask you specifically

17           about the Sexual and Gender Identity

18           Disorders Work Group.                  First of all,

19           before today, did you know that the APA

20           had a Sexual and Gender Identity

21           Disorders Work Group as part of the

22           development of the DSM-5?

23                        MR. KNEPPER:            Objection, form.



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1                 A.      Yes.

2                 Q.      Do you know how many members

3            were in that work group?

4                 A.      No.

5                 Q.      You don't know --

6                         MR. KNEPPER:            Objection.

7                 Q.      -- how those members were

8            selected; right?

9                         MR. KNEPPER:            Objection to form.

10                A.      Correct.

11                Q.      You don't know their expertise;

12           right?

13                A.      Correct.

14                Q.      You do not have expert firsthand

15           knowledge of how the DSM-5 was developed;

16           fair?

17                        MR. KNEPPER:            Objection, form.

18                A.      Fair.

19                Q.      Are you aware that the DSM-4

20           used the term "gender identity disorder"

21           instead of "gender dysphoria"?

22                A.      Yes.

23                Q.      Do you know the reason for that



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1            change?

2                  A.      From DSM-4 to DSM-5?

3                  Q.      Yes.

4                  A.      Yes.

5                  Q.      What's the reason?

6                  A.      In reading the literature and

7            reading the reports of perhaps people who

8            served on the committee, because I don't

9            know how else you would be privy to this

10           information, there was a desire on the

11           part of the APA to de-pathologize the

12           condition, and they wanted to use

13           terminology that didn't sound like

14           medical diagnoses.                 It was the opinion of

15           the members of that committee that --

16           that transgenderism is only a diagnostic

17           issue from the standpoint of the

18           discomfort or the sorrow that the patient

19           feels rather than any underlying

20           pathology.           So the -- the desire was to

21           move those -- the diagnosis to change the

22           language of diagnosis to de-pathologize

23           it.        But the problem that the committee



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1            faces is that having done that, there's

2            no mechanism for providing the services

3            that they felt that the patients needed,

4            so there had to be a diagnose -- a

5            diagnostic code in order to get

6            thirty-part -- third-party payers to pay.

7            So it's a de-pathologize but maintain a

8            diagnostic -- diagnostic code.                         That's my

9            understanding of it.

10                        Again, I wasn't there.                    But

11           again, reading the writings of people who

12           could only have gleaned it from having

13           been present because it's closed session,

14           that's my understanding.

15                Q.      Understood.           All right.            Do you

16           know what the Endo- -- Endocrine Society

17           guidelines for treatment of

18           gender-dysphoric or gender-incongruent

19           persons are?

20                A.      Do I know what they are?

21                Q.      Yeah.

22                A.      Yes.

23                Q.      Do you know when they were



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1            initially published?

2                 A.      No.

3                 Q.      Do you know when they were last

4            revised?

5                 A.      I think it was just a couple of

6            years ago, but I don't know the exact

7            date.

8                 Q.      If I tell you it's 2017, does

9            that sound right?

10                A.      That wouldn't -- it wouldn't

11           surprise me if that were true.                         I -- just

12           within the last couple of years.                          I think

13           theirs are current, and the expectation

14           is that these standards of care or

15           treatment guidelines will have a

16           five-year revision.                So given that

17           they're current, they couldn't be any

18           older than, say, 2017.                   So I suspect that

19           -- yeah.

20                Q.      All right.           Did you review the

21           latest available version of those

22           Endocrine Society guidelines before

23           forming your opinions in this case?



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1                 A.      Yes.       I have read them, yes.

2                 Q.      Okay.        You yourself are not part

3            of the Endocrine Society; right?

4                 A.      Correct.

5                 Q.      Have never been part of that

6            society; right?

7                 A.      Correct.

8                 Q.      You've never advised the

9            Endocrine Society in any capacity;

10           correct?

11                A.      Correct.

12                Q.      You personally were not involved

13           with the development of these original

14           guidelines; correct?

15                A.      That's correct.

16                Q.      Not personally involved with the

17           development of the updated guidelines in

18           2017; right?

19                A.      Correct.

20                Q.      Do you know how many people at

21           the Endocrine Society were involved with

22           those 2017 updates?

23                A.      I do not know that number.



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1                 Q.      And you don't know how they were

2            selected to work on the 2017 updates;

3            correct?

4                 A.      Correct.

5                 Q.      You personally don't know what

6            kind of scientific literature review the

7            Endocrine Society conducted in developing

8            those updates; correct?

9                         MR. KNEPPER:            Objection to form.

10                A.      Correct.

11                Q.      You don't know what kind of

12           outside experts they may have used;

13           right?

14                A.      What kind of outside experts?                       I

15           would imagine they were all

16           endocrinologists.               Or are you asking did

17           they have plastic surgeon input or --

18                Q.      Do you know specifically whether

19           the Endocrine Society used any outside

20           experts in updating the -- in

21           implementing the 2017 updates?

22                A.      Well --

23                        MR. KNEPPER:            Objection, form.



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1                 A.      I can only infer that they

2            would, because such -- such statements,

3            in order to be valid, demand review by

4            outside parties to -- to obviate

5            conflicts of interest, whether financial

6            or professional.              Those are all issues

7            when generating standards of care, so of

8            necessity, they would have had to have

9            had outside experts to come in, yes.

10                Q.      Okay.       Do you know what kind of

11           public comments the Endocrine Society may

12           have solicited as part of developing the

13           2017 updates?

14                A.      I don't.

15                        MR. KNEPPER:            Objection to form.

16                Q.      You don't know how many

17           different drafts there were of those 2017

18           updates before they were finalized;

19           right?

20                A.      No.

21                        MR. KNEPPER:            Objection to form.

22                A.      No, I don't.

23                Q.      Again, you haven't been to any



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1            meetings or conferences or telephonic

2            conferences where those 2017 updates were

3            discussed, where the development of those

4            2017 updates was discussed; correct?

5                         MR. KNEPPER:            Objection to form.

6                 A.      Correct.

7                 Q.      You don't know what went on

8            during those meetings or conferences;

9            right?

10                        MR. KNEPPER:            Objection, form.

11                A.      I do not.

12                Q.      You -- you're not an expert in

13           how the Endocrine Society developed the

14           original 2009 guidelines for treating

15           gender dysphoria; correct?

16                        MR. KNEPPER:            Objection to form.

17                A.      That's not -- that's not my area

18           of expertise.            That's correct.

19                Q.      Right.        And you're also not an

20           expert in how the Endocrine Society then

21           developed the 2017 updates back to those

22           guidelines; correct?

23                A.      Correct.



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1                 Q.      Okay.       All right.           Now let's

2            talk about puberty-blocking agents.                              What

3            puberty blocker drugs are you aware of by

4            name?

5                 A.      Well, Lupron is probably the

6            most widely used one.                  They're -- they're

7            all gonadotropin-releasing hormone

8            agonists.          They come by a variety of

9            trade names.           But gonadotropin-releasing

10           hormone is the genetic -- I'm sorry, the

11           generic name for the drug that may appear

12           under a variety of, you know, proprietary

13           names, Lupron being the most commonly

14           used.

15                Q.      You've never prescribed Lupron;

16           right?

17                A.      No, I have never.                No.

18                Q.      You have never prescribed any

19           puberty-blocking drugs of any kind;

20           right?

21                A.      No.     That's not my area of

22           expertise.

23                Q.      Right.        Have you ever looked at



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1            the package -- strike that.

2                         You know what a package insert

3            is; right?

4                 A.      Yes.

5                 Q.      Have you ever looked at a

6            package insert for Lupron?

7                 A.      Some time ago, but yes, I have.

8                 Q.      Okay.       How recently do you

9            think?

10                A.      Gosh, it's probably more than

11           four or five years ago.                   I think probably

12           when I first started go -- you know,

13           looking into this more carefully back in

14           2014.      It was probably that long ago.

15                Q.      Do you know what Vantas is?

16           V-A-N-T-A-S.

17                A.      Oh, I've read that somewhere

18           before.       Let's see.           Is it -- it's the

19           adverse events reporting -- is that what

20           I -- I don't --

21                Q.      It's a type of drug.

22                A.      Oh.

23                Q.      So no, that doesn't sound



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1            familiar?

2                 A.      It does not sound familiar, no.

3                 Q.      How about Triptodur?

4            T-R-I-P-T-O-D-U-R.

5                 A.      That sounds like a trade name

6            I'm not familiar with.

7                 Q.      Okay.       Fensolvil?

8            F-E-N-S-O-L-V-I-L.

9                 A.      That sounds like a trade name

10           I'm not familiar with.

11                Q.      Trelstar?          T-R-E-L-S-T-A-R.

12                A.      Same.

13                Q.      All right.           You're not an expert

14           in the different types of prescription

15           drugs that are used as puberty-blocking

16           agents; fair?

17                A.      I do not consider myself an

18           expert in that area, no.                    I rely on

19           experts.

20                Q.      All right.           You know that

21           puberty blockers are typically prescribed

22           by endocrinologists; right?

23                A.      Yes.      Pediatricians and



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1            endocrinologists, yes.

2                 Q.      Right.         You have no specialized

3            training or expertise in endocrinology;

4            correct?

5                 A.      Correct.

6                 Q.      You don't hold yourself out as

7            an expert in endocrinology; correct?

8                 A.      No, I do not.

9                 Q.      You're not planning on offering

10           any expert opinions in endocrinology in

11           this case because that's outside your

12           scope of expertise; right?

13                A.      Yes.

14                        MR. KNEPPER:             Objection to form.

15                Q.      All right.            Earlier, you said

16           you have never prescribed

17           puberty-blocking agents to anyone, so I

18           take it you have no experience, no

19           firsthand experience with advising your

20           patients about potential risks and

21           benefits of puberty blockers; right?

22                        MR. KNEPPER:             Objection, form.

23                A.      Well, I have talked to patients



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1            -- well, families, really, about the

2            risks of puberty blockers in -- in early

3            puberty and into adolescence.                        I have

4            because I've reviewed the literature and

5            I've spoken with experts in the area.

6            And so, is that the question --

7                 Q.      Yeah.

8                 A.      -- you're asking, have I spoken

9            to anybody?          Yeah, I have.              I -- I have,

10           again, knowing that -- for example, that

11           the drug Lupron, as an example, is -- is

12           -- is not cleared by the FDA for

13           application.           It's an off-label use when

14           using it in the diagnosed condition of

15           gender dysphoria.               So I know that it's an

16           off-label application of the drug, and I

17           know what the effects of the drug are.

18           But nobody knows what the effects of the

19           drug are on otherwise normal children,

20           and that's pretty much all I'd relate to

21           the families on the -- on that subject.

22                        I don't offer myself as an

23           endocrinologist, but I offer myself as a



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1            concerned physician who has spoken with

2            the specialists and read the package

3            insert.       Yes.

4                 Q.      You think off-label use is

5            improper; right?              That's the sense I got

6            from reading your report.

7                         MR. KNEPPER:            Objection, form.

8                 A.      Off-label use in certain

9            situations.          So I use -- I use -- I have

10           applied drugs' off-label use many times.

11           But what the -- what the practitioner has

12           to do is weigh the risk/benefit equation

13           there and what is the expected goal and

14           what are the likely risks.

15                        For example, I used Botox long

16           ago in the treatment of -- of

17           hyperhidrosis before the company that

18           produces it got FDA clearance to use it

19           that way.         The risk, very, very low risk;

20           the potential benefit, very, very high.

21           But in this case, we're talking about

22           very significant risks for an unproven

23           benefit.        So that's an example of how you



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1            have to weigh off-label use.

2                         And the FDA understands that,

3            and they don't go after off-label use

4            unless there's significant risk.                          And

5            even then, they might not yet spring into

6            action.       It's a pretty slow-moving

7            organization.

8                 Q.      All right.           We'll come back to

9            that.

10                A.      Okay.

11                Q.      You never sat in on any

12           appointment where an endocrinologist

13           prescribed a puberty-blocking drug to a

14           patient; correct?

15                A.      I have never.

16                        MR. KNEPPER:            Objection, form.

17                Q.      You personally don't know what

18           endocrinologists typically tell their

19           patients about risks and benefits of

20           puberty blockers; right?

21                        MR. KNEPPER:            Objection, form.

22                A.      Only what I have read in the

23           record.       For example, the plaintiffs'



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1            records, I -- I -- I believe I have read

2            that -- that kind of consultation, yeah.

3            But I -- but I wasn't present in the

4            room, if that's what your question is.

5                 Q.      Yeah.       You don't know what was

6            actually communicated to the patient;

7            correct?

8                 A.      Only what was entered in the

9            record, yeah, the medical record.

10                Q.      And just as a more -- outside of

11           these plaintiffs, as a more general

12           matter, you don't personally know what

13           endocrinologists tell their patients

14           about potential risks and benefits of

15           puberty blockers because you're not

16           present on those prescribing decisions;

17           right?

18                        MR. KNEPPER:            Objection, form.

19                A.      Well, if -- I assume that they

20           follow the same sort of process that

21           every other medical professional does

22           when getting consent for -- for therapies

23           of various kinds.               And so to offer



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1            informed consent to a -- in this case,

2            perhaps a family, parents, that informed

3            consent would have to include -- in order

4            to be valid, it would have to include the

5            potential risks that are enumerated in

6            the package insert.                And then they would

7            also, in certain cases, have to enumerate

8            risks that may not be in the package

9            insert but may be expected given the --

10           the particular case of their child or the

11           particular patient.

12                        So we all have to follow that

13           same general standard, and so to that

14           extent, I have some knowledge of what

15           they would be saying.                  But the particular

16           words or the particular things they may

17           have emphasized, I have no -- no personal

18           knowledge of.

19                Q.      Your general expectation is that

20           before a doctor prescribes the drugs,

21           they will at least inform the patients of

22           the risks as specifically enumerated in

23           the drug labeling; right?



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1                 A.      Among other things, yes.

2                 Q.      And the doctor may also go

3            beyond the labeling and advise them of

4            potential risks even though they're not

5            specifically disclosed in the drug

6            labeling; right?

7                 A.      Yes.       Because there -- there are

8            circumstances wherein the underlying

9            conditions of the patient may -- may

10           cause particular risks in particular

11           areas, so that's right.

12                        So there's the general

13           precautions that are included in the

14           package insert, but they usually tend to

15           be exhaustive.              They -- they list in the

16           package inserts even remote

17           possibilities, so.                 But most physicians

18           can't drill down into those details with

19           a patient.          You don't want to overwhelm

20           the patient and their family with those

21           minute details.              You want to talk about

22           the major risks and then the risks that

23           are peculiar to the patient because of



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1            their underlying condition.                        And that's

2            generally what everybody does.

3                 Q.      Yeah.

4                 A.      Although, again, I'm not present

5            in every office on every occasion, but

6            that's generally how we're trained to

7            conduct a consent.

8                 Q.      Do you know -- are you aware

9            that patients who are prescribed

10           puberty-blocking agents are typically

11           monitored through blood tests and lab

12           work?

13                        MR. KNEPPER:             Objection, form.

14                A.      It -- I don't -- I'm not

15           familiar in all cases to what extent

16           they're monitored.                 My hope is that

17           they're being monitored.                      I would expect

18           that they're being monitored.

19                Q.      Yeah.        And you don't have

20           experience with monitoring patients who

21           undergoing treatment with puberty

22           blockers; right?

23                A.      No.



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1                 Q.      And you don't have experience

2            with reviewing blood work, labs, what's

3            normal, what's not, anything in that

4            field; right?

5                         MR. KNEPPER:            Objection to form.

6                 A.      Oh, no, I am familiar with

7            reviewing labs and interpreting

8            laboratory data --

9                 Q.      Sorry.

10                A.      -- as it pertains -- yeah.

11                Q.      Sorry.        Let me make -- make my

12           question more specific.                   I'm still

13           talking about patients who are treated

14           with puberty-blocking agents.

15                A.      Okay.

16                Q.      For those patients in

17           particular, you don't have experience

18           with reviewing their blood work, labs to

19           see -- to check their hormone levels and

20           see if any adjustments are needed; right?

21                        MR. KNEPPER:            Objection, form.

22                A.      No.     I have some familiarity

23           with the interpretation of hormone levels



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1            in endocrinology.               As a -- as a general

2            surgeon and a critical care doctor, these

3            issues were very important to me for a

4            number of years.              So I'm familiar with

5            that, although I haven't monitored

6            patients receiving puberty blockers or

7            cross-sex hormones per se.                      So generally,

8            I am familiar with -- with that and the

9            ramifications of endocrinopathies, again,

10           because I had considerable experience

11           with management of critical care patients

12           and -- yeah.

13                Q.      Yeah.       My question is more

14           specific.

15                A.      Okay.

16                Q.      You personally have not

17           monitored blood work from patients who

18           are undergoing puberty-blocking agents;

19           right?

20                A.      Correct.

21                Q.      Okay.       And you mentioned

22           cross-sex hormones.                You know what those

23           are; right?



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1                 A.      Yes.

2                 Q.      For transgender women, estrogen

3            is a hormone that's typically prescribed;

4            right?

5                 A.      Yes.

6                 Q.      For transgender men,

7            testosterone is the hormone that's

8            typically prescribed; right?

9                 A.      Right.

10                Q.      You've never prescribed

11           cross-sex hormones for treatment of

12           gender dysphoria to anyone; correct?

13                A.      Correct.

14                Q.      You have no firsthand experience

15           with advising your patients about

16           potential risks and benefits of cross-sex

17           hormones when used for treatment of

18           gender dysphoria; correct?

19                A.      Correct.

20                Q.      You personally don't know what

21           doctors who do prescribe estrogen or

22           testosterone to their patients for gender

23           dysphoria tell those patients about the



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1            risks and benefits of that treatment;

2            correct?

3                         MR. KNEPPER:            Objection, form.

4                 A.      I would answer that question as

5            we did earlier, that my expectation would

6            be that they would cover the -- the risks

7            and benefits of that -- of that

8            particular therapy and that the

9            exploration of potential risks would

10           include the major points that are

11           contained in the package insert and

12           whatever particular risks that the

13           patient may have because of their

14           underlying conditions, medical conditions

15           that may impinge upon them.                       That would

16           be my expectation.

17                Q.      Okay.       So for testosterone and

18           estrogen when used to treat gender

19           dysphoria, you would generally expect

20           doctors to at least give the warning

21           about -- that's in the labeling and

22           potentially give additional warnings

23           outside of that as well; fair?



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1                         MR. KNEPPER:            Objection to form.

2                 A.      That would be my -- that would

3            be my expectation.

4                 Q.      All right.           We started talking

5            about off-label use, so let's circle back

6            to that.        So in your report, you

7            criticize Dr. Brown and Dr. Schechter for

8            not disclosing that the FDA has not

9            approved these hormones for treatment of

10           gender dysphoria.               Do you recall that?

11                A.      Yes.      My testimony, yes, I do

12           recall that.

13                Q.      All right.           Off-label use is

14           when a doctor prescribes a drug outside

15           of its FDA-approved indication; correct?

16                A.      Correct.

17                Q.      And we touched earlier on

18           whether it's proper or improper to

19           prescribe drugs on an off-label basis.

20           There are circumstances where it is

21           appropriate to prescribe a drug on an

22           off-label basis; correct?

23                A.      Yes.



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1                 Q.      It's a case-by-case decision;

2            right?

3                         MR. KNEPPER:            Objection, form.

4                 A.      Yes.

5                 Q.      It's a case-by-case decision

6            that's made between the doctor and their

7            patient; right?

8                         MR. KNEPPER:            Objection, form.

9                 A.      Right.

10                Q.      You're not expressing the

11           opinion that doctors should not be

12           prescribing drugs on an off-label basis

13           ever; right?

14                A.      I'm expressing the opinion that

15           -- that drugs that have massive potential

16           side effects should not be off-label

17           prescribed unless those risks warrant --

18           I mean, those risks are warranted given

19           the underlying condition of the patient

20           and that the patient is being treated as

21           a -- as a -- as a trial or an

22           experimental patient with ethics

23           monitoring and all the rest of it that



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1            attends.

2                         The reason why off-label use is

3            problematic is because it doesn't have a

4            body of proven scientific evidence that

5            the FDA has made use of in order to -- to

6            warrant the use of the drug.                       So if

7            you're going to go off label, again, the

8            risks have to be low.                  If the condition

9            you're treating makes -- makes the risks

10           high, then that's where you have to get

11           into ethics panels and experimental

12           trials and things like that.                       I think

13           that's at the heart of this issue.

14                        We're dealing with a condition

15           where the application of these drugs is

16           not proven and the risks are very high,

17           and that's where my concern lay.

18                Q.      Do you think that off-label use

19           of prescription drugs is, by definition,

20           investigational?

21                A.      To the extent that very often

22           the -- the use of -- the off-label use of

23           drugs begins on the basis of anecdotal



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1            reports.        So anecdotal reports, again,

2            are categorized as level 5 evidence.                             And

3            -- and so when those reports are

4            published and -- and the risks are seen

5            as low, then other physicians may begin

6            the off-label use of those drugs.

7                         But generally, one wants to

8            progress to a more definitive scientific

9            evidence, like level 4 evidence where

10           there's a pre-application test, the use

11           of the drug, and a post-application test,

12           or level 3 where you're looking at

13           longitudinal data to confirm not only the

14           safety but the efficacy of the

15           application of the drug.

16                        In the case of the use of

17           puberty blockade and cross-sex hormones,

18           it doesn't exist beyond level 5 evidence

19           even though the treatment has now been

20           going on off-label for more than a

21           decade, if not approaching twenty years.

22                Q.      All right.           You mentioned

23           doctors are prescribing on an off-label



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1            basis after there's case reports.                           It

2            does happen that doctors prescribe drugs

3            on an off-label basis based on nothing

4            more than case reports; right?

5                 A.      That's how it always begins,

6            yeah.

7                 Q.      Yeah.       The FDA doesn't say

8            that's not permissible, do they?

9                 A.      No, they don't.

10                Q.      Okay.

11                A.      I don't know.             I don't know what

12           the FDA -- if there's a published policy

13           about that.          I would suspect not, given

14           the history in my lifetime of people

15           off-label using, for example, asthma

16           medications for the treatment of breast

17           implant encapsulation, that kind of

18           stuff.       That's an example of a very

19           benign drug being used off-label to treat

20           a surgical condition of breast implant

21           encapsulation.             So that's my personal

22           experience.          I suspect there isn't an FDA

23           policy that utterly prohibits it.                           I



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1            would agree, yeah.

2                 Q.      Okay.       The FDA is the federal

3            agency that regulates prescription drugs;

4            correct?

5                 A.      Food and drugs, yes.

6                 Q.      And they decide whether a

7            particular drug can be marketed for a

8            particular indication; correct?

9                 A.      Right.

10                        MR. KNEPPER:            Form.

11                Q.      And one of the areas of

12           oversight the FDA has is the safety of

13           prescription drugs; right?

14                A.      Right.

15                Q.      Before forming your opinions in

16           this case, did you investigate what

17           position the FDA takes on off-label use

18           of drugs?

19                A.      No, I did not.

20                Q.      Sitting here today, do you know

21           what that position is?

22                A.      I do not, no.

23                Q.      Do you know whether the expert



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1            opinions you're expressing about

2            off-label use of drugs are consistent or

3            inconsistent with what the -- what the

4            FDA has said about off-label use?

5                         MR. KNEPPER:            Objection, form.

6                 A.      I remember when the controversy

7            about the use of Singulair in breast

8            implant capsules came up.                     That was

9            discussed at an ASPS meeting and then

10           some articles that came out.                       And I think

11           I recall from those -- either the

12           conference or the article that the FDA

13           takes a permissive attitude where risk is

14           low.

15                Q.      You think the FDA only allows

16           off-label use of prescription drugs when

17           the risk is low?

18                A.      I don't know that for a fact.

19                Q.      All right.

20                A.      I would -- I would hope.                     I

21           would hope low risk/high benefit.                             So --

22           so again, it's an equation, it's not just

23           a one-sided thing.                So it isn't just the



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1            risk but also the potential benefits.

2            And the potential benefits have to be

3            very high.           The higher the risk is, the

4            higher the benefit has to be.                         And that's

5            kind of a general principle of the

6            medical care.             You know, before all else,

7            do no harm.           That's what informs all

8            medical care, and I would hope that's

9            what informs the FDA policy, whatever

10           that may be.

11                 Q.      Okay.       Well, let's look at the

12           policy.

13                 A.      Okay.

14                 Q.      I'm going to introduce another

15           exhibit.         Okay.       This is going to be

16           Exhibit 11.           Let me know when you have

17           it.

18           (Exhibit 11 was marked for identification

19           and is attached.)

20                 A.      Okay.

21                 Q.      Have you ever seen this document

22           before?

23                 A.      I have not.



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1                 Q.      Do you know what the Federal

2            Register is?

3                 A.      It's a -- it's a federal list of

4            regulations pertaining to things like

5            this.

6                 Q.      Yeah.        It's the

7            official publication --

8                 A.      Federal code.

9                 Q.      -- of federal rules, proposed

10           rules, and notices for federal agencies;

11           right?

12                A.      Yeah.        Right.

13                Q.      I see this is dated at the top

14           November 18, 1994.                 See that?

15                A.      Yes.

16                Q.      Page 1, middle column, see it

17           says, "Agency: Food and Drug

18           Administration, HHS"?

19                A.      Let's see.            "Agency: Food and

20           Drug Administration, HHS."                       Yes.

21                Q.      It says, "Action."                  It says,

22           "Notice; request for comments."                           Do you

23           see that?



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1                 A.      Yes.

2                 Q.      All right.            Go to page 2.

3                 A.      Okay.

4                 Q.      In the column all the way to the

5            right, you see there's a section II, and

6            it's titled, "FDA Policy on Promotion of

7            Unapproved Uses."                Do you see that?

8                 A.      I do.

9                 Q.      All right.            The first paragraph

10           says, "Over a decade ago, the FDA Drug

11           Bulletin informed the medical community

12           that 'once a [drug] product had been

13           approved for marketing, a physician may

14           prescribe it for uses or in treatment

15           regimens of patient populations that are

16           not included in approved labeling.'"                             Do

17           you see that?

18                A.      I do.

19                Q.      What do you understand that to

20           mean?

21                A.      That --

22                        MR. KNEPPER:             Objection.

23                A.      I apply that to mean that --



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1            that the -- that the FDA does not -- does

2            not intend to weigh in on off-label use,

3            you know, without restriction, I guess.

4            The sense I get of it is that they're --

5            they're declining to prohibit the

6            off-label use in -- in other patients at

7            this time, I would -- I would guess.                              I

8            suppose that if they started to see

9            complications, they might weigh in.                              This

10           has been the history, for example, with

11           nausea medicines and things like that

12           that created problems after use.

13                Q.      At that time at least, the FDA

14           was telling the medical community that

15           doctors may prescribe drugs for uses

16           outside of FDA-approved indications;

17           correct?

18                A.      Yes.      I would say that --

19                        MR. KNEPPER:            Objection, form.

20                A.      -- in 1994, the FDA declined to

21           -- to -- I don't know what they've done

22           subsequently.            I -- but -- but in 1994,

23           they -- they -- off-label use was not



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1            prohibited.

2                 Q.      Well, actually --

3                 A.      They finally --

4                 Q.      Sorry, finish.

5                 A.      No, go ahead.

6                 Q.      Well, you see this actually

7            says, "The publication further stated,"

8            and then there's a quote.                     And after the

9            quote, there's a Footnote 4.

10                        Before we get to that, do you

11           see it says -- it cites to the FDA Drug

12           Bulletin from 1982.

13                A.      Right.

14                Q.      Right?

15                A.      Right.

16                Q.      So that original guidance came

17           from a 1982 FDA position; right?

18                A.      Right.

19                        MR. KNEPPER:            Objection, form.

20                Q.      And you say that you read this

21           and you don't think that the FDA has

22           taken a position, but let's see what else

23           that quote says.              You see the quoted



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1            language starting with "The publication

2            further stated"?              Do you see that?

3                 A.      That starts with the word

4            "unapproved"?

5                 Q.      Yeah.       It says, "'unapproved'

6            or, more precisely, 'unlabeled' uses may

7            be appropriate and rational in certain

8            circumstances, and may, in fact reflect

9            approaches to drug therapy that have been

10           extensively reported in medical

11           literature."           Do you see that?

12                A.      I do.

13                Q.      You understand what that means;

14           right?

15                        MR. KNEPPER:            Objection to form.

16                A.      Yes.      Yes.

17                Q.      Off-label use -- strike that.

18                        The FDA has recognized as early

19           as 1982 that off-label use may be based

20           on medical literature, not published

21           indications; right?

22                A.      Right.

23                Q.      And then it says, "Valid new



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1            uses for drugs already on the market are

2            often first discovered through

3            serendipitous observations and

4            therapeutic innovations, subsequently

5            confirmed by well-planned and executed

6            clinical investigations."                     Right?

7                 A.      Yeah.       That's -- that's kind of

8            a -- just a restating of what I related

9            to you about, for example, the use of

10           Botox and hyperhidrosis, as I have done.

11           Yeah, I would totally agree with that.

12                Q.      And then it says, "The agency

13           and its representatives have restated

14           this policy on numerous occasions."                              Do

15           you see that?

16                A.      I do.

17                Q.      Do you understand that for

18           decades, for three decades at least, the

19           FDA has taken the position that

20           physicians are allowed to prescribe drugs

21           on an off-label basis?

22                        MR. KNEPPER:            Objection, form.

23                A.      Yes.



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1                 Q.      Your report doesn't acknowledge

2            this longstanding position from the FDA,

3            does it?

4                 A.      My report does not -- no, it

5            does not.

6                 Q.      And I mean, I know I just heard

7            you say, well, maybe this is from the

8            '80s.      Let me show you what the FDA says

9            today.

10                A.      Okay.

11                Q.      I'm going to introduce another

12           exhibit.        This is Exhibit 12.                  Let me

13           know when you get it.

14           (Exhibit 12 was marked for identification

15           and is attached.)

16                A.      Okay.       All right.           I've got it.

17                Q.      All right.           You see that this is

18           a printout from fda.gov, the official

19           website of the FDA; right?

20                A.      Right.

21                Q.      The title is "Understanding

22           Unapproved Use of Approved Drugs 'Off

23           Label.'"        Right?



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1                 A.      Right.

2                 Q.      Go to page 2.

3                 A.      Okay.

4                 Q.      Toward the bottom, it says in

5            bold, "Why might an approved drug be used

6            for an unapproved use?"                   Do you see that?

7                 A.      I do.

8                 Q.      Then it says, "From the FDA

9            perspective, once the FDA approves a

10           drug, healthcare providers generally may

11           prescribe the drug for an unapproved use

12           when they judge that it is medically

13           appropriate for their patient."                          Do you

14           see that?

15                A.      I do.

16                Q.      And then skipping one sentence,

17           it says, "One reason is that there"

18           may -- "might not be an approved drug to

19           treat your disease or medical condition."

20           Right?

21                A.      Right.

22                Q.      So the FDA -- the position that

23           the FDA takes is off-label use may be



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1            medically appropriate for patients;

2            right?

3                  A.      Right.

4                  Q.      That's a position they've taken

5            for thirty years plus; right?

6                  A.      Right.

7                          MR. KNEPPER:            Objection, form.

8                  Q.      All right.           And we talked

9            earlier about, you know, is off-label use

10           experimental or investigational.                           Before

11           forming those opinions, did you look to

12           see what the FDA says on that point?

13                 A.      How the FDA classifies

14           experimental or investigational?

15                 Q.      Do you know what position the

16           FDA takes on whether off-label use is

17           considered investigational?

18                 A.      I don't know what their official

19           position is, no.

20                 Q.      All right.           Let's look at that.

21           All right.           This is going to be Exhibit

22           13.        Let me know when you have it.

23           (Exhibit 13 was marked for identification



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1            and is attached.)

2                 A.      I have it.

3                 Q.      This is a guidance document from

4            the FDA from 1998.                Generally, are you

5            aware that the FDA issues guidance

6            documents?

7                 A.      Generally, yes, I am aware.

8                 Q.      Have you ever seen an FDA

9            guidance document before today?

10                A.      I've heard them referred to, but

11           I've never read one, no.

12                Q.      Okay.       All right.           Well, this

13           one's titled "'Off-Label' and

14           Investigational Use of Marketed Drugs,

15           Biologics, and Medical Devices."                          You see

16           that?

17                A.      I do.

18                Q.      Okay.       All right.           The first

19           paragraph, second sentence says, "If

20           physicians use a product for an

21           indication not in the approved labeling,

22           they have the responsibility to be well

23           informed about the product, to base its



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1            use on firm scientific rationale and on

2            sound medical evidence, and to maintain

3            records of the product's use and

4            effects."         You see that?

5                 A.      I do.

6                 Q.      All right.           The next sentence

7            says, "Use of a marketed product in this

8            manner when the intent is the 'practice

9            of medicine' does not require the

10           submission of an Investigational New Drug

11           Application, Investigational Device

12           Exemption or review by an Institutional

13           Review Board."             Do you see that?

14                A.      I do.

15                Q.      I understand that what this is

16           saying, according to the FDA, when a

17           doctor prescribes a drug on an off-label

18           basis, that is not necessarily an

19           investigational use of that drug; right?

20                        MR. KNEPPER:            Objection, form.

21                A.      I would disagree, because as it

22           says there, when they're -- when they're

23           prescribing in that manner, they have a



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1            responsibility not only to be informed

2            about the product but to do the

3            recordkeeping of its effects, which is

4            really the initial phase of

5            investigation.              So in a sense, they are

6            -- they are part of the investigative

7            process now because a new application of

8            the medication has been proposed, and

9            safety and efficacy have -- have to be

10           documented in some measure.

11                        So the FDA is giving you room to

12           broaden the application of the drug, but

13           they're also placing upon you the burden

14           of documenting so that its effects and

15           benefits can be characterized because

16           that's being -- obviously, it's being

17           investigated.             That's the point of their

18           wanting the recordkeeping, so --

19                Q.      Do you know what the

20           Institutional Review Board is?

21                A.      Yes.

22                Q.      Clinical trials have to be

23           cleared by IR- -- IRBs; right?



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1                 A.      Right.

2                 Q.      And this says you don't actually

3            have to apply for approval by an IRB when

4            you're prescribing a drug on an off-label

5            basis; right?

6                         MR. KNEPPER:            Objection, form.

7                 A.      It says that it's not of

8            necessity, so they're not making a

9            blanket requirement.                 I would imagine

10           that that might be modified in particular

11           cases.

12                Q.      Yeah.       Because this is saying

13           that when you're prescribing a drug on an

14           off-label basis, that doesn't mean you're

15           starting up a clinical trial; right?

16                A.      It doesn't necessarily mean

17           you're starting a clinical trial, that's

18           right.       It doesn't exclude the necessity

19           for a clinical trial.                  It just says

20           you're not necessarily starting a

21           clinical trial.

22                Q.      Yeah.       And when this says --

23           when it says doctors should maintain



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1            records of the product's use and effects,

2            it's not telling them that they're

3            enrolling their patients in a clinical

4            trial by starting -- by prescribing a

5            drug on an off-label basis; right?

6                         MR. KNEPPER:            Objection, form.

7                 A.      Right.        But what it -- what it

8            probably is inferring is that if they

9            start seeing complications, then the

10           further application of the drug in that

11           circumstance might be required -- might

12           require an IRB.             So yeah.          So it's --

13           what they're saying is it doesn't require

14           an IRB of necessity.                 It does require

15           recordkeeping.             And I would expect that

16           if they were to see complications,

17           problems, lack of efficacy, that -- and

18           the desire for its continued use might

19           require an IRB.             In fact, I would -- I

20           would hope it would require an IRB.

21           Yeah.

22                Q.      Yeah.       A clinical trial down the

23           line is a "this might be nice to have,"



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1            but it's not a requirement for a doctor

2            to prescribe a drug on an off-label use

3            basis.       That's what this says; right?

4                         MR. KNEPPER:            Objection, form.

5                 A.      That's what that says, yeah.

6                 Q.      Yeah.       You don't cite this

7            guidance in your report obviously; right?

8                 A.      I don't think it's --

9                         MR. KNEPPER:            Objection, form.

10                A.      I don't think it's germane to my

11           report.       No.

12                Q.      All right.           You've also offered

13           opinions on whether it's proper to

14           prescribe drugs on an off-label basis to

15           children and adolescents; right?

16                A.      I've only offered it in the case

17           of this particular therapy.                       I haven't

18           offered it generally, only in the case of

19           puberty blockade and cross-sex hormones

20           for the purposes of transitioning a child

21           to the appearance of the other sex.

22           That's all I've offered it as an opinion.

23                Q.      All right.           Do you know what the



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1            American Pediatrics Association is?

2                 A.      Yes.

3                 Q.      Before forming your opinions,

4            did you look to see what the APA says

5            about off-label use of drugs in children

6            and adolescents?

7                 A.      No.

8                 Q.      Sitting here today, you don't

9            know the APA's position on this -- on

10           this topic; correct?

11                        MR. KNEPPER:            Objection, form.

12                A.      Correct.

13                Q.      Let's look at that next.                     Okay.

14           This is going to be Exhibit 14, and let

15           me know when you have it.

16           (Exhibit 14 was marked for identification

17           and is attached.)

18                A.      Okay.       I have it.

19                Q.      You understand this is a policy

20           statement from the APA?

21                A.      I'm reading it now.                  I see that

22           it is a policy statement from the

23           American Academy of Pediatrics.



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1                 Q.      It's a policy statement

2            entitled, "Off-Label Use of Drugs in

3            Children."          Right?

4                 A.      Yes.       Yes.

5                 Q.      Look at the introduction section

6            toward the bottom of the page.

7                 A.      Okay.

8                 Q.      It says that, "The purpose of

9            this statement is to further define and

10           discuss the status of off-label use of

11           medic- -- medications in children."                              And

12           then it talks about a publication of a

13           2002 statement.              You see that?

14                A.      Yes.

15                Q.      All right.            So the FDA -- APA

16           has taken a position on off-label use of

17           drugs in children since at least 2002;

18           right?

19                        MR. KNEPPER:             Objection, form.

20                A.      I'm reading it now.                   It appears

21           to be that, yeah.

22                Q.      All right.            Look at the abstract

23           towards the top.



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1                 A.      Okay.

2                 Q.      Second sentence says, "However,

3            off-label drug use remains an important

4            public health issue for infants,"

5            childrens, and" -- "children, and

6            adolescents, because an overwhelming

7            number of drugs still have no information

8            in the labeling for use in pediatrics."

9            Do you see that?

10                A.      I do.

11                Q.      Okay.       And then it says, "The

12           purpose of off-label use is to benefit

13           the individual patient."                    Right?

14                A.      Yes.

15                Q.      And then it says, "Practitioners

16           use their professional judgment to

17           determine these uses."                   Correct?

18                A.      Yes.

19                Q.      And then it says, "As such, the

20           term 'off-label' does not imply an

21           improper, illegal, contraindicated, or

22           investigational use."                  Right?

23                A.      That's what it says there, yes.



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1                 Q.      Yeah.        The APA also takes the

2            position that off-label use does not

3            imply investigational use; correct?

4                         MR. KNEPPER:             Objection to form.

5                 A.      It does not de facto imply

6            off-label use, that's right, yeah.                               It

7            does not imply, right.

8                 Q.      And it does not imply that

9            off-label use is de facto improper or

10           illegal or contraindicated; right?

11                A.      Right.

12                        MR. KNEPPER:             Objection, form.

13                Q.      All right.            Go to page 2.

14                A.      Okay.

15                Q.      Look at the left column, the

16           very bottom paragraph.

17                A.      Okay.

18                Q.      It says:          "The absence of

19           labeling for a specific age group or for

20           a specific disorder does not necessarily

21           mean that the drug's use is improper for

22           that age or disorder.                   Rather, it only

23           means that the evidence required by law



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1            to allow inclusion in the label has not

2            been approved by the FDA.                     Additionally,

3            in no way does a lack of labeling signify

4            that therapy is unsupported by clinical

5            experience or data in children."

6                         Do you see that?

7                 A.      I do.

8                 Q.      This is the APA recognizing that

9            even in the absence of FDA approval for a

10           particular indication, that use may still

11           be supported by clinical experience and

12           data; right?

13                        MR. KNEPPER:            Objection, form.

14                A.      Yeah.       I would -- I would say

15           also that the APA recognizes that -- that

16           there's a poverty of evidence.                         The

17           poverty of evidence is one of the

18           characteristics of off-label use.                            And

19           that's -- that's what the nature of my

20           expert opinion was about, that the

21           poverty of evidence is what makes the

22           off-label use an issue, and in this case,

23           poverty of evidence for off-label use in



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1            a situation where the harms -- potential

2            harms are great.              That's what the concern

3            was, not -- obviously, I use -- I've

4            off-label used drugs in my own practice,

5            as I said before.

6                         I don't have an objection

7            without qualification that -- that the

8            off-label use of drugs is somehow a

9            crime.       I'm saying that in this

10           particular instance of this particular

11           application, that the off-label use tells

12           us that there's a poverty of scientific

13           evidence to support its application that

14           way.     Clearly, there's anecdotal reports;

15           otherwise, doctors wouldn't be using it.

16           But there's a poverty of evidence, and

17           what we're dealing with here is not a

18           potential trivial complication but

19           potentially permanently life-altering

20           complications.

21                        That was the issue that I was

22           addressing in my concern about the

23           off-label use, that there's a standard



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1            of -- of caution that's required when you

2            go off-label.            And that caution isn't

3            being demonstrated by the -- for the

4            persons who are prescribing or applying

5            these drugs in this way.                    That was my

6            concern.

7                 Q.      All right.           You think that

8            before these drugs are to be prescribed,

9            they should first be supported by results

10           from clinical trials; right?

11                        MR. KNEPPER:            Objection, form.

12                A.      That's the beginning.

13                Q.      That's the beginning.

14                A.      Yeah.

15                Q.      The absolute minimum to

16           prescribe these drugs; right?

17                        MR. KNEPPER:            Objection, form.

18                A.      Well, no.          No, I -- I didn't say

19           that.      As I said, it begins with

20           anecdotal evidence, not clinical trials.

21           So somebody somewhere sees an effect.                            As

22           it said in that FDA document, it's

23           oftentimes serendipitous.                     A clinician



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1            will see an effect, and then -- and then

2            they'll, based on that, they'll hopefully

3            check out the potential risks to the

4            patient and then begin that off-label

5            use.

6                         So it begins actually with

7            anecdotal reports, maybe case

8            collections, maybe a number of providers'

9            case collections, maybe it's a -- it's

10           a -- it's an institutional experience.

11           But that leads to clinical trials and the

12           IRB and all the rest of it.                       So that's

13           just the beginning of it.

14                Q.      It may be appropriate for a

15           doctor to prescribe a drug on an

16           off-label basis without having the

17           results from a clinical trial; correct?

18                A.      Yeah, I would -- I would hope

19           that after thirty years of doing this,

20           that we would beyond -- be beyond

21           institutional or personal experience,

22           that those trials would have already been

23           done.      This isn't -- we're not just at



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1            the beginning of puberty blockade and

2            cross-sex hormones.                We're well into this

3            now, to the point where the European

4            literature is now vehemently rejecting

5            that.

6                         That's -- these things have

7            changed.        In the last three years, it's

8            all changed.           With respect to this

9            off-label application of puberty blockade

10           and cross-sex hormones, it's changed

11           utterly.        So these general statements

12           about off-label use are important to

13           understand, certainly, when you see a

14           serendipitous result and you consider

15           applying the drug.                But we are so far

16           beyond that at this point in the history

17           of transgender therapy, this is where

18           we're concerned.              We're concerned with

19           the continued off-label use, the

20           continued absence of clinical trials.                            We

21           should have been beyond that years ago.

22           And this is what the European literature

23           is now showing us, that the application



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1            of those drugs by -- which is approved by

2            the APA, is now being rejected by the

3            medical services in Great Britain, in

4            Sweden, in Finland, in Holland.                          And this

5            is where we as American providers have to

6            get.

7                 Q.      All right.           We'll -- we'll

8            definitely come back to those --

9                 A.      Okay.

10                Q.      -- studies.           I promise.

11                A.      Okay.

12                Q.      Let's finish this document

13           first, though.             All right.           Go to page 3.

14           All right.

15                A.      Okay.

16                Q.      Look at the left column.

17                A.      Okay.

18                Q.      It says:         "Therapeutic

19           decision-making should always be guided

20           by the best available evidence and the

21           importance of the benefit for the

22           individual patient.                Practitioners are in

23           agreement regarding the importance of



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1            practicing evidence-based medicine.

2            However, for the pediatric population,

3            gold standard clinical trials are often

4            not available, so practitioners must rely

5            on either less definitive information,

6            such as expert opinion for the age group

7            that they are treating, or use evidence

8            from a different population to guide

9            practice."

10                        You see that?

11                A.      I do.       And I would agree with

12           that, that particularly in pediatric

13           patients, the clinical trial approach

14           oftentimes is -- is not available because

15           of the nature of the condition and so on.

16           But in the -- in this case, there's a --

17           it's not an all or none, it's got to be

18           clinical trials or -- or nothing.

19                        There's longitudinal

20           population-based studies, long-term

21           results seen in a population that has

22           matured through this therapy, and looking

23           at, you know, cohort studies



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1            longitudinally, cohort study, which is --

2            which is an alternative when -- when the

3            clinical trial is not available to you

4            for ethical reasons.                  Like you wouldn't

5            do sham surgery on somebody.                        That would

6            be ethically untenable.                    But you can look

7            at population-based studies where you

8            have a cohort to compare.                      And that's --

9            that's where we should be.                       That's where

10           the European literature is now.

11                         So I would agree with that

12           statement that -- that the APA is making

13           there, but I would qualify it by saying

14           that there's an alternative available

15           that brings you to a higher level of

16           evidence that may in fact bring it to

17           on-label use if they were to bother to do

18           it.

19                 Q.      The APA recognizes that for the

20           pediatric population in particular,

21           results from clinical trials are often

22           not available; right?

23                 A.      Right.



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1                 Q.      And the answer in those

2            situations is not to stop prescribing

3            these drugs altogether; right?

4                         MR. KNEPPER:            Objection, form.

5                 A.      Yeah.       The "altogether" would be

6            the qualifier there because there are

7            some circumstances where it would be -- I

8            mean, it wouldn't be good to stop its

9            prescription, but there would be others

10           that you would have to examine more

11           carefully because of the risk issue.

12                Q.      Yeah.       Instead, what the APA

13           says is that when clinical trial results

14           are not available, doctors have to rely

15           on less definitive -- definitive

16           information; right?

17                A.      That's what -- that's all you

18           have.      That's right.

19                Q.      Yeah.       The APA says it may be

20           appropriate for doctors to prescribe

21           drugs to pediatric patients on an

22           off-label basis even when that use is not

23           supported by randomized clinical trials;



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1            correct?

2                 A.      Right.

3                 Q.      Because the reality is that for

4            a lot of conditions, in the pediatric

5            population, there are no randomized

6            clinical trial results available; right?

7                         MR. KNEPPER:            Objection, form.

8                 A.      Again, so you're holding out

9            randomized clinical trial, or they're

10           holding out randomized clinical trial as

11           the only alternative to the lowest form

12           of evidence.           And I -- I agree that

13           randomized clinical trial are not always

14           available, and we have to have recourse

15           to perhaps lesser but nonetheless more

16           convincing forms of evidence to fall back

17           on rather than falling back to the lowest

18           form of evidence as is the case today

19           with the application of these drugs.

20                Q.      All right.           Look at the last

21           paragraph in the left column of this

22           page.

23                A.      Okay.



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1                 Q.      It says:         "In most situations,

2            off-label use of medications is neither

3            experimentation nor research.                        The

4            administration of an approved drug for a

5            use that is not approved by the FDA is

6            not considered research and does not

7            warrant special consent or review if it

8            is deemed to be in the individual

9            patient's best interest."                     Do you see

10           that?

11                A.      I do.

12                Q.      If the physician deems an

13           off-label use to be in the individual

14           patient's best interest, that's not

15           experimental use, according to the APA;

16           right?

17                        MR. KNEPPER:            Object to the

18           form.

19                A.      Well, according to the --

20           according to the APA, in most situations.

21                Q.      Yeah.

22                A.      So in that statement, it

23           acknowledges that there are some



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1            situations where that would be

2            considered.          That's the implication in

3            that statement.             So "most" is the

4            qualifier, implying that there are

5            situations where it would be considered

6            experimental.

7                 Q.      Okay.

8                 A.      And that's what we propose in

9            our expert testimony, is that this is one

10           of those situations.                 This is

11           experimental use.

12                        MR. TISHYEVICH:              Now let's go

13           off the record.

14                        THE VIDEOGRAPHER:                This is the

15           end of Media Unit No. 3.                    We are off the

16           record at 12:30 p.m.

17                                (Break taken.)

18                        THE VIDEOGRAPHER:                This is the

19           start of Media Unit No. 4.                      We are on the

20           record at 1:21 p.m.

21                Q.      (By Mr. Tishyevich) All right,

22           Doctor.       You know you're still under

23           oath; right?



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1                 A.      Yes.

2                 Q.      Before lunch, we were talking

3            about off-label use of prescription

4            drugs.       Do you know how common or

5            uncommon off-label use of prescription

6            drugs is in the overall population?

7                 A.      I'm not familiar with that

8            number, no.

9                 Q.      All right.            You don't know if

10           it's 5 percent or 10 percent or 50

11           percent of all drugs are prescribed off

12           label; right?

13                A.      I have no idea.

14                Q.      How about pediatrics

15           specifically?             Do you know how common or

16           uncommon off-label use is in the

17           pediatric population?

18                A.      I do not.

19                Q.      Let me introduce an exhibit.

20                        MR. KNEPPER:             One second.

21                        Dr. Lappert?

22                        THE WITNESS:             Yes.

23                        MR. KNEPPER:             Your camera has



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1            moved accidentally, yeah.

2                         THE WITNESS:            It just allows me

3            to look at the bottom of the other screen

4            here so I can look at the exhibits.

5                         MR. KNEPPER:            Okay.        I think

6            just for the video recording, we want to

7            make sure that the camera stays on your

8            face.

9                         THE WITNESS:            I'll go like this,

10           then.

11                        MR. KNEPPER:            Perfect.

12                Q.      (By Mr. Tishyevich) So this is

13           going to be Exhibit 15.                   Let me know when

14           you have it.

15           (Exhibit 15 was marked for identification

16           and is attached.)

17                A.      All right.           I have it.

18                Q.      All right.           This is a study from

19           2019 by Dr. Yackey, Y-A-C-K-E-Y, titled

20           "Off-label Medication Prescribing

21           Patterns in Pediatrics: An Update."                              Do

22           you see that?

23                A.      I do.



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1                 Q.      All right.           And the objective is

2            "To describe the frequency of off-label

3            drug use in 2014 as defined by the

4            FDA-approved age ranges in patients 18 or

5            under 18 years of age."                   Do you see that?

6                 A.      I do.

7                 Q.      All right.           Look at "Methods."

8            Do you see that section?

9                 A.      I do.

10                Q.      It says, "This is a

11           retrospective cohort study of an

12           administrative database containing

13           inpatient resource use data from January

14           1, 2014, to December 31, 2014."                          And do

15           you see that?

16                A.      I do.

17                Q.      Look at the "Results" section.

18                A.      Okay.

19                Q.      The first sentence says, "At

20           least 1 drug was prescribed off-label in

21           779,270 of 2,773,770 (28.1%) patient

22           visits during the study period."                          Do you

23           see that?



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1                 A.      I do.

2                 Q.      And skipping a sentence, then it

3            says:      "Off-label usage of certain

4            medications differed between care

5            settings.         Rates of off-label medication

6            use were higher in observational (45.5%),

7            inpatient (53.9%), and ambulatory (54.2%)

8            settings."          Do you see that?

9                 A.      I do.

10                Q.      All right.           The study concluded

11           after reviewing 2.7 patient visits that

12           overall, 28.1 percent of patients were

13           prescribed an off-label -- prescribed a

14           drug on an off-label basis; right?

15                A.      Right.

16                Q.      And depending on the setting,

17           off-label prescriptions in the pediatrics

18           context can be as high as 45 to 54

19           percent; right?

20                A.      That's what the study shows.

21                Q.      All right.           The reality is that

22           prescribing drugs to children and

23           adolescents on an off-label basis is a



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1            fairly common practice; right?

2                         MR. KNEPPER:            Objection to form.

3                 A.      It appears to be, yes.

4                 Q.      You did not know this before you

5            formed your expert opinions?

6                 A.      I knew that it was more common

7            in children than in adults, and I knew

8            that it was, you know, fairly common,

9            having -- having prescribed off-label

10           myself to children, that it's -- it's

11           probably fairly common.                   I didn't know

12           the exact numbers, though, until now.

13                Q.      Okay.

14                A.      Again, my -- my expert opinion

15           about this is not about does it happen.

16           It's about the particular case of the

17           transgendered person receiving an

18           off-label use of a -- of a fairly

19           problematic drug in light of the recently

20           changing evidence about its efficacy.                            So

21           the issue of off-label use that I

22           presented was not about are drugs

23           prescribed off-label.                  The issue was



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1            these particular drugs in these

2            particular patients off-label in light of

3            the recent change in the world literature

4            about the risk/benefits of doing those

5            things.        And the evidence now is that

6            that whole position about puberty

7            blockade and cross-sex hormones, it's

8            falling apart in the last three years,

9            and there's a -- there's a growing wave

10           of evidence that says do not do this.

11           And in fact, that's where the Court

12           stepped in in Great Britain, and it's

13           where the Karolinska Institute stepped

14           in.

15                         It's not that it's off-label

16           use.      It's that it's particularly

17           problematic in the case of these drugs in

18           these suffering patients.                      That's what my

19           expert opinion was about.                      It was not

20           about drug policy.                 It was about these

21           patients, these problems, these drugs.

22           And the fact is that when you off-label

23           use, the responsibility falls much more



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1            heavily on the provider.                    When the FDA

2            approves it, the responsibility falls to

3            the shoulders of the approving authority.

4            But if you're going off-label, it's on

5            you as the provider to be certain that

6            you're doing good to the patient.                            And up

7            until the last three years, the evidence

8            wasn't there.            Now it's there.               The

9            continued use of the drugs in this way

10           has become very problematic, and that's

11           -- that's what my expert opinion was

12           about, not about drug policy, but about

13           these drugs, these patients.

14                Q.      Doctor, there's actually no

15           question pending, so I'm going to ask

16           that you stick with listening to my

17           questions and then answering them instead

18           of making speeches.                Okay?

19                        All right.           You -- we talked

20           earlier about the Botox injections that

21           you've done; right?

22                A.      Yes.

23                Q.      You told me you've been doing



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1            Botox injections in the forehead for over

2            ten years; right?

3                 A.      Correct.

4                 Q.      You've told me that you've been

5            doing Botox injections for crow's feet

6            for over ten years; right?

7                 A.      Yes.

8                 Q.      Do you know when the FDA first

9            approved Botox for the use of treating

10           forehead wrinkles?

11                A.      Let's see.           I recall that it was

12           when I was the chief of plastics at

13           Portsmouth, Virginia, because we had been

14           using it for dystonias and things like

15           that in children.               And it got approved

16           for cosmetic use I'm going to say before

17           we moved to the new hospital, so it had

18           to have been around ninety- -- I want to

19           say '97, somewhere in there.                       I'm just

20           ballparking it here.

21                Q.      So when you were using Botox to

22           do forehead injections, you think that

23           was an on-label FDA approved use for the



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1            last ten years; right?

2                  A.      Yeah.       When used in the

3            corrugator and procerus muscles, that's

4            the on-label use for cosmetic botulinum

5            toxin.

6                  Q.      Let me introduce another

7            exhibit.         All right.           This is going to be

8            Exhibit 16, and let me know when you have

9            it.

10           (Exhibit 16 was marked for identification

11           and is attached.)

12                 A.      All right.           I have it.

13                 Q.      Top right corner, you see it

14           says, "Food and Drug Administration"?

15                 A.      Yes.

16                 Q.      Below that, do you see it says,

17           "Supplement Approval"?

18                 A.      Yes.

19                 Q.      You know what this is?

20                 A.      It looks to be a -- a letter

21           from the FDA to the Allergan corporation,

22           to a particular Ph.D. there who is the

23           director of regulatory affairs.                           And it's



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1            a supplemental -- I guess it's an

2            amendment.          I haven't read it.                  Can I

3            have a moment to read it?

4                 Q.      I'll -- I'll point you to it.

5            Don't worry.

6                 A.      All right.

7                 Q.      Allergan is a manufacturer of

8            Botox; right?

9                 A.      Allergan, yes, uh-huh.

10                Q.      Go to page 3.

11                A.      Okay.

12                Q.      And you see there's a signature

13           line, and under that, it says,

14           "10/02/2017"?

15                A.      Correct.

16                Q.      You understand this was issued

17           on October 2, 2017; right?

18                A.      That's -- that's what the

19           document appears to show, yeah.

20                Q.      Go back to the first page.

21                A.      Okay.

22                Q.      First paragraph says, "Dear Dr.

23           Richmond:         Please refer to your



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1            Supplemental Biologics License

2            Application, dated and received December

3            2, 2016."         Do you see that?

4                 A.      I do.

5                 Q.      The next paragraph says, "This

6            Prior Approval supplemental biologics

7            application proposes an additional

8            indication for the temporary improvement

9            in the appearance of moderate to severe

10           forehead lines associated with frontalis

11           muscle activity."

12                A.      Right.

13                Q.      Do you see that?

14                A.      I do.

15                Q.      All right.           Then the next

16           section says, "Approval & Labeling."

17           Right?

18                A.      Yes.

19                Q.      It says, "We have completed our

20           review of this supplemental application,

21           as amended.          It is approved, effective on

22           the date of this letter, for use as

23           recommended in the enclosed, agreed-upon



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1            labeling text."             Do you see that?

2                 A.      I do.

3                 Q.      All right.           You understand that

4            Botox was not an FDA-approved treatment

5            for improvement in moderate to severe

6            forehead lines until October 3, 2017 --

7                         MR. KNEPPER:            Objection --

8                 Q.      -- right?

9                         MR. KNEPPER:            -- to form.

10                A.      The sense I get of your question

11           is that you -- you're conflating the

12           injection of corrugator and procerus

13           muscles with the injection of the

14           frontalis muscles.                I consider all those

15           muscle groups to be forehead muscles

16           because they all animate the brow.                               The

17           approval of Botox for the corrugator and

18           frontalis -- I mean, corrugator and

19           procerus muscle that goes way back is, I

20           thought, what you were -- you were asking

21           me about with ten years application to

22           the forehead.            So yeah.         So I consider

23           the -- the corrugator and procerus



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1            muscles (indicating) forehead muscles.

2            Maybe others would call them glabellar,

3            but glabellar is the lesser-included

4            category.         So yeah.

5                         So I was aware of the broadened

6            application, and I was aware that for

7            most of the time it's been on the market,

8            it has been limited, the approval been

9            limited to the corrugator and procerus.

10           And the frontalis marginal radicularis

11           was considered off-label use, as was its

12           use in hyperhidrosis, like we talked

13           about earlier.             Yeah.

14                Q.      You have prescribed Botox

15           cosmetic -- or strike that.

16                        You have used Botox for

17           treatment of moderate to severe forehead

18           lines associated with frontalis muscle

19           activity before October 3, 2017; correct?

20                A.      Yes.

21                        MR. KNEPPER:            Objection to form.

22                A.      Absolutely.

23                Q.      It's an off-label use; right?



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1                 A.      As we've talked about before,

2            yes, I've -- I've used it off-label.

3                 Q.      And do you know when Botox

4            received this indication for treatment of

5            crow lines?

6                 A.      I'm sorry.           Of?

7                 Q.      Treatment of crow lines.

8                 A.      Crow lines?

9                 Q.      Yes.

10                A.      Oh, crow's feet (indicating).

11                Q.      Sorry, crow's feet.

12                A.      Yeah.       Yeah.       I don't know -- I

13           don't know the exact date of that.                               I

14           just know that it's been broadened.

15                Q.      All right.           Before -- strike

16           that.

17                        Before you first started using

18           Botox on an off-label basis, did you do a

19           literature search to see if there was a

20           randomized, double-blinded controlled

21           trial to demonstrate that this forehead

22           use was safe and effective?

23                A.      No.



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1                         MR. KNEPPER:            Objection, form.

2                 Q.      So you were using it without

3            having any idea if there was randomized

4            controlled clinical trials to demonstrate

5            the safety and effectiveness of that use;

6            correct?

7                         MR. KNEPPER:            Objection, form.

8                 A.      So the question is, was I using

9            it in other than the on-label purposes

10           before the approval was handed down by --

11           to the -- by the FDA?

12                Q.      No.     I already heard the answer

13           to that question.

14                A.      Oh, okay.

15                Q.      I'm asking you a different

16           question.

17                A.      Okay.

18                Q.      At the time you were using

19           Botox on --

20                A.      Oh.

21                Q.      -- an off-label basis --

22                A.      Right.

23                Q.      -- you were doing that without



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1            having results from a randomized

2            controlled trial to demonstrate that this

3            off-label use was safe and effective;

4            correct?

5                 A.      Correct.         Correct.

6                         MR. KNEPPER:            Objection, form.

7                 Q.      The same is true for respective

8            cohort studies; right?

9                 A.      Correct.

10                Q.      The same is true for case

11           control studies; right?

12                        MR. KNEPPER:            Objection, form.

13                A.      Right.        And that's an example of

14           what we were talking about earlier where

15           a low-risk application begins with

16           anecdotal experience, shared anecdotal

17           experience, and -- and the literature

18           that comes later leading to the

19           controlled trial that the Allergan

20           company may have done and it's then

21           subsequently approved by the FDA.                           That's

22           right.       So this would fit into that

23           category.



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1                 Q.      All right.           Let's talk more

2            about randomized controlled trials

3            outside of Botox.               If I call them RCTs

4            for short, you'll know what I'm referring

5            to; right?

6                 A.      Yes.

7                 Q.      An RCT typically involves two

8            groups, an experiment group and a control

9            group; right?

10                A.      Yes.

11                Q.      RCTs are typically

12           double-blinded; right?

13                A.      Well, in most cases.                  But when

14           you're talking about things where there's

15           going to be an outward change in the

16           patient, it's -- it's difficult to blind

17           such studies.            You're essentially just --

18           for example, you couldn't have a

19           double-blinded study of a surgical

20           procedure, or you couldn't have a

21           double-blinded study of a -- of a medical

22           intervention where there's outward change

23           to the patient that would be evident to



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1            both the experimenter and the subject.

2            So yeah.

3                 Q.      Yeah.       So -- yeah, we'll get to

4            that in a minute.               Let me ask just some

5            more general questions first.

6                 A.      Okay.

7                 Q.      Because I want to figure out

8            your experience with RCTs.                      You

9            personally have never been the lead

10           investigator for an RCT; correct?

11                A.      That's correct.

12                Q.      You personally -- strike that.

13                        Have you ever been involved with

14           an RCT?

15                A.      Yes.      When I was a resident at

16           the University of California-San

17           Francisco working on the neurosurgical

18           trauma unit, we were doing a randomized

19           controlled trial of the medical

20           management of elevated intracranial

21           pressure, and I was -- because I was part

22           of the team, I was responsible for

23           gathering data in the critical care unit



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1            and -- and working with the investigators

2            ensuring the integrity of the data.                              So I

3            was not the lead investigator, obviously.

4            I was just one of the participants as one

5            of the treating physicians.

6                 Q.      The only time you worked on a

7            randomized controlled trial was during

8            your surgery res- -- general surgery

9            residency; correct?

10                        MR. KNEPPER:            Objection, form.

11                A.      I'm trying to think if there

12           were other instances here.                      At UC-Davis

13           -- I'm trying to think.                   Give me just a

14           moment.       I just want to --

15                Q.      Sure.

16                A.      -- make sure I'm not missing any

17           more.      I think that's the only one where

18           it was a randomized blinded study.

19           That's right, yeah.

20                Q.      And that residency was '87

21           through '91?

22                A.      That's right.

23                Q.      Okay.       You've never published



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1            any articles in peer-reviewed journals

2            about RCTs; correct?

3                 A.      That's correct.

4                 Q.      You've personally never designed

5            an RCT; correct?

6                 A.      That's correct.

7                 Q.      You don't hold yourself out as

8            an expert in RCT design; right?

9                         MR. KNEPPER:            Objection, form.

10                A.      Well, I would qualify that

11           answer by saying that part of my training

12           involves me being able to understand and

13           review published literature on the

14           subject even though I'm not the

15           investigator because of my training as a

16           plastic and reconstructive surgeon, as a

17           general surgeon.              As just a physician in

18           general, we're trained on how to

19           interpret the validity or the veracity of

20           the medical literature, including how to

21           interpret the randomized controlled trial

22           and -- and understand its validity, which

23           is -- what I'm testifying about is not my



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1            personal experience.                 It's my opinion of

2            the validity of the scientific data.                             So

3            I -- so it's not that I -- that I can't

4            express an opinion on it.                     It's just that

5            I haven't personally conducted one, but I

6            have been trained on how to interpret

7            them.

8                 Q.      I understand that distinction

9            you're making.

10                A.      Thank you.

11                Q.      But when it comes to designing

12           RCT, you're not an expert in that aspect

13           of RCT?

14                        MR. KNEPPER:            Objection, form.

15                A.      Well, again, part of the

16           evaluation of a randomized controlled

17           trial is to evaluate how the study was

18           designed.         That's one of the criteria

19           used for understanding the validity of a

20           published document like a RCT.                         So you

21           always look at -- that's why it's such an

22           essential part of a -- of a RCT

23           publication is you look at the materials



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1            and methods and you look at the study

2            design, and that's where, really, your

3            analysis begins if you're trying to

4            interpret the data.                 Did they design the

5            study properly?              Does it have the power

6            of discrimination of what they claim that

7            it has?        And then you look at the actual

8            results, and it's on -- it's on your

9            shoulders as the -- as the professional,

10           whether you're a -- you know, a

11           researcher or somebody who's seeking to

12           apply it in his practice, you're

13           responsible for interpreting the data

14           quite apart from their interpretation of

15           it.

16                         So an example of that would be

17           the Branström study, where they --

18           they -- they generated a good -- a

19           reasonable study design, but they

20           misinterpreted the data, and that's what

21           caused the retraction of the Branström

22           study, is that all the other people who

23           were not RCT investigators, but they were



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1            all physicians, endocrinologists,

2            pediatricians, they looked at the data

3            and said, "You've misinterpreted the

4            study."

5                         And that's really what we're

6            talking about here.                There are those who

7            perform the study, and then there's us

8            who have to live with it, and we have to

9            be able to understand what they're --

10           what they're purporting to.                       So we have

11           to interpret the data even before reading

12           their conclusions.

13                Q.      Do you know what the CONSORT

14           criteria are?            C-O-N-S-O-R-T.

15                A.      I've read it sometime before.                       I

16           can't -- I can't -- I can't quote it for

17           you, but it's -- it's germane to the

18           study design process?                  I'm not sure.

19                Q.      Okay.       Can you describe for me

20           what the CONSORT criteria are in general

21           terms?

22                A.      I cannot.

23                Q.      All right.           How about cohort



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1            studies?        You've personally never

2            designed a cohort study; correct?

3                 A.      No, I have not.

4                 Q.      You've personally never been an

5            investigator in a cohort study; correct?

6                 A.      Well, so -- so, that experience

7            at -- at UC-San Francisco was a -- well,

8            so are you asking -- by cohort study, are

9            you talking about like a retrospective

10           study of a -- of a population cohort?                            Is

11           that what you're asking me about?

12                Q.      Prospective or retrospective,

13           either -- either/or.

14                A.      I haven't designed any of those

15           studies, no.

16                Q.      Okay.       And outside the one

17           experience in your residency, have you

18           ever been involved with any prospective

19           or retrospective cohort study?

20                A.      No.

21                Q.      And how about case-control

22           studies?        Have you ever personally

23           designed a case-control study?



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1                  A.      No, I have not.

2                  Q.      Have you ever been an

3            investigator in a case-control study?

4                  A.      I'm just trying to think if the

5            -- if the head trauma investigation would

6            fit the category of a case control.                               It

7            was a randomized study.                    It had its own

8            internal controls.                 So I guess I've

9            assisted in that investigation, but only

10           as a -- as a provider and a -- and a data

11           gatherer.

12                 Q.      Outside of that one experience,

13           you have not been involved with any

14           prospective or retrospective cohort

15           study; right?

16                 A.      No.

17                 Q.      Or a case-control study?                     Excuse

18           me.

19                         Okay.       Let's go back to your

20           report, Exhibit 1, and go to page 13.

21                 A.      Okay.       Okay.

22                 Q.      You see there's a header that

23           says in capital letters, "Anecdotal



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1            Patient Stories Are Not Data."                          Do you

2            see that?

3                 A.      I do.

4                 Q.      And you write, "Drs Schechter

5            and Brown also failed to disclose and

6            properly discuss that Anecdotal Data

7            unverified patient reports without

8            control groups, randomized trials, or

9            other scientific protections for the

10           integrity of the medical system -- are

11           not reliable science."                    Do you see that?

12                A.      I do.

13                Q.      And then you reference personal

14           patient stories, and you say, "This is

15           unreliable Anecdotal Data and it is not

16           credible, scientific information."                               Do

17           you see that.

18                A.      I do.

19                Q.      All right.            You think that case

20           reports are anecdotal evidence; right?

21                A.      Yeah, they're --

22                        MR. KNEPPER:             Objection.

23                        THE WITNESS:             I'm sorry?



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1                         MR. KNEPPER:            Objection, form.

2                         Go ahead.

3                         THE WITNESS:            I'm sorry.

4                 A.      Yeah.       And so anecdotal data is

5            personal experience of a -- of a

6            practitioner, for example.                      So -- so a

7            surgeon reporting on five cases that he

8            did would be considered anecdotal

9            reporting, or case reports and things

10           like that, yeah.              That's anecdotal,

11           personal experience, a personal exper- --

12                Q.      And you think --

13                A.      I'm sorry?

14                Q.      Go ahead.          Sorry.

15                A.      Personal experience as distinct

16           from more stringent scientific evidence

17           like a longitudinal study or a cohort

18           study or something like that.                        Or even --

19           even personal experience with pre- and

20           posttreatment testing rises to a higher

21           level than anecdotal.                  So you can base --

22           you can base scientific evidence on that

23           next level, which would be anecdotal



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1            experience elevated to the next level by

2            pretreatment and posttreatment testing.

3            This is -- this is from the guidance that

4            the American Society of Plastic Surgery

5            puts out.

6                         So depending on the -- depending

7            on the type of study, if it's a -- if

8            it's a therapeutic study or a diagnostic

9            study or a prognostic study, depending on

10           what you're looking at, if -- if you --

11           if you take it to that next level with

12           pre- and posttreatment testing with a

13           validated scientific instrument, you

14           know, a validated study even of

15           subjective reporting from the

16           psychiatric/psychological side of things,

17           that has more validity than the anecdotal

18           reports of a practitioner or even an

19           institution.

20                Q.      Do you think that a case report

21           that doesn't have this before and after

22           comparator that you describe is

23           essentially worthless from the --



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1                 A.      No.

2                 Q.      -- scientific perspective?

3                 A.      No, no.        Not worthless.               Not

4            worthless, but it's what's considered in

5            the -- in the -- in plastic surgery

6            circles, certainly, it's considered the

7            lowest form of evidence.                    So for a number

8            of years now, the American Society of

9            Plastic Surgery has insisted that

10           publications -- if you're going to

11           publish a case series, for example, that

12           they have to be a sequential -- you can't

13           pick the cases you're reporting on.                              It

14           has to be a sequential series of

15           patients, and you have to declare in the

16           publication, in your -- in your article,

17           the level of evidence that you're

18           presenting.

19                        So if -- if it's merely a --

20           case reports, that would be level 5

21           evidence.          If you added to that a review

22           of the literature with a -- you know, a

23           definitive review of the literature



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1            looking at the -- at where the weight of

2            evidence lies, then you raise it to the

3            next level.          But we're -- we're now

4            required when we're publishing in -- in

5            the ASPS journal, for example, to state

6            in the -- in the document level of

7            evidence.         So a case report is not zero

8            scientific evidence.                 It's level 5

9            evidence.         It's the lowest form of -- of

10           evidence is what it is.

11                Q.      You personally would not rely on

12           a level 5 case report to decide if a

13           surgical technique is effective?

14                A.      It would be the beginning of my

15           interest in a particular technique.                              As a

16           surgeon, we tend to be very conservative,

17           and we call upon our personal experience

18           very much and certainly upon our

19           training.         So if somebody proposes

20           something radically new and all they have

21           to support it is level 5 evidence,

22           generally -- there's a saying that I

23           learned in training is never be the first



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1            or -- first one to do a procedure or the

2            last one to do a procedure.

3                         And so, yeah, you know, surgeons

4            tend to not jump in early on -- on

5            low-quality evidence.                  We tend to be

6            conservative about it.                   And I would

7            number myself among them.

8                 Q.      All right.           Let me ask the flip

9            side.

10                A.      Okay.

11                Q.      Do you think it's necessary for

12           a surgical procedure to be supported by

13           results from a level 5 RCT before it can

14           be considered effective?

15                A.      No.

16                        MR. KNEPPER:            Objection to form.

17                A.      That would -- that would be one

18           of those circumstances where what is the

19           risk to the patient and -- and what's the

20           potential benefit to the patient.

21           That's -- that's what kind of would drive

22           my decision to act on a level 5 case

23           report, offering something like that to



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1            one of my patients.

2                 Q.      Do you think that a surgical

3            procedure has to be supported by a level

4            2 controlled study before that surgical

5            procedure can be considered

6            nonexperimental?

7                 A.      Not necessarily.               It would

8            depend on what is -- what is -- what is

9            at risk here.            Certainly, we're much more

10           willing to -- to proceed with -- with

11           techniques and procedures that aren't

12           hugely supported if there's great risk to

13           the patient of not doing anything.                               So

14           level of risk and what is at stake kind

15           of drives that and -- and yeah.

16                        Did I answer that question?                          Is

17           that what you were asking?

18                Q.      Yeah.       It's basically a

19           case-by-case decision; right?

20                        MR. KNEPPER:            Objection, form.

21                A.      Well, I wouldn't say case by

22           case.      I would say, you know, you're

23           relying on -- on -- on a lifetime of



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1            experience possibly, and you're relying

2            also on -- on conversations with your

3            peers, your colleagues, what is their

4            experience in the area and how much of a

5            risk are you going to subject to the

6            patient -- subject the patient to in

7            order to achieve a result.                      The greater

8            the risk, the greater the expectation of

9            a defined scientifically supported

10           outcome.

11                        So in the case -- in the issue

12           at hand here, great risk of doing, for

13           example, a transition surgery, because

14           you're talking about permanent

15           sterilization, irreversible

16           sterilization, or the removal of the

17           breasts, permanent and irreversible loss

18           of the breasts, that's a huge stake, a

19           huge risk to the patient that the -- the

20           expected outcomes have to be consummately

21           much larger in order to justify something

22           like that if you don't have scientific

23           support.        If you're at low levels of



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1            scientific evidence, then clearly, you

2            have an obligation to the patient not to

3            -- not to try something risky if you

4            don't have extensive and very valid

5            scientific -- and that's where we are

6            now.      We're at very low-level evidence

7            for these things.               That's kind of why

8            we're here today.

9                 Q.      I guess I'm asking a more

10           specific question.                You're not taking the

11           position that in order to be considered

12           nonexperimental, a particular surgical

13           procedure has to be supported by at least

14           level 1 or level 2 evidence; right?

15                        MR. KNEPPER:            Objection, form.

16                A.      Oh, okay.          So you're asking me

17           the definition of experimental.                          Is

18           that -- do I understand you correctly?

19                Q.      Sure.

20                A.      Yes.      Am I saying that something

21           is nonexperimental once it reaches level

22           2 evidence or higher and not before?

23                Q.      Correct.



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1                 A.      I'm not saying that, no.

2                 Q.      Okay.       How about level 3?                 Are

3            you taking the position -- strike that.

4                         Are you expressing the opinion

5            that a surgical procedure can only be

6            considered not experimental if it reaches

7            evidence level 3?

8                 A.      Well, it's getting closer.                          So

9            when you're -- when you're at level 3,

10           you're talking about a retrospective

11           study with a cohort.                 And if we were

12           talking about some simple technique of

13           reconstructing, say, a wound on the face

14           for cancer therapy, then I certainly

15           wouldn't wait to try a new technique.                                 If

16           it promised to get a better result, I

17           wouldn't wait until I got to level 3

18           evidence.

19                        But if you're talking about a

20           very drastic operation where I'm

21           amputating healthy parts, then yeah, I'm

22           going to want to go at least to level 3

23           before I consider that, because again,



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1            you're talk about tremendous risk to the

2            patient, permanently life-altering

3            changes.        You better have very strong

4            evidence that you're doing the patient

5            good because you're doing the patient a

6            great harm by, you know, removing their,

7            genitals, permanently sterilizing them,

8            removing their breasts.                   So again, it's

9            -- it's not a case by case, but let's --

10           let's say broad categories of -- of

11           techniques or surgery.

12                        If you're talking about

13           something small like reconstructing a

14           facial defect, then yeah, you don't need

15           to get to level 3.                But if you're talking

16           about something large and permanently

17           life-altering, then at least level 3.

18                Q.      All right.           We talked earlier a

19           while ago about some of the surgical

20           procedure you performed, and I think one

21           of the things you mentioned was breast

22           reductions.

23                A.      Yes.



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1                 Q.      Right?

2                 A.      Yes.

3                 Q.      You've done those; right?

4                 A.      I have done so many of those.

5                 Q.      All right.           You've done breast

6            reduction surgery without having the

7            results from a randomized controlled

8            clinical trial; right?

9                 A.      I believe the -- the bulk of the

10           evidence in the therapeutic benefit of

11           breast reduction is primarily given to us

12           by a long-term longitudinal cohort study

13           that we actually get from the insurance

14           industry.         Because when you do breast

15           reduction surgery, one of the key issues

16           in a breast reduction is, is it going to

17           be efficacious in curing an orthopedic

18           problem.        So if you're talking about

19           breast reduction surgery as a quote,

20           unquote reconstructive procedure, then

21           really, it's being applied to an

22           orthopedic condition.

23                        And the insurance companies have



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1            a wealth of evidence about, for example,

2            the weight of the specimen that has to be

3            submitted in order to have a hope of

4            relieving the orthopedic complaint of

5            neck, back, and shoulder pain.

6                         So -- and vir- -- and I can tell

7            you categorically, because I'm very

8            fastidious about this, that all of the

9            breast reduction operations that I've

10           ever done for the orthopedic condition of

11           neck, back, and shoulder pain have met

12           the criteria based upon this long-term

13           longitudinal cohort study that the

14           insurance companies have been running

15           since back in the '80s at least.

16                Q.      All right.           Doctor, again, I

17           need you to listen to my questions.                              I

18           didn't ask about cohort studies.                          I asked

19           about randomized clinical trial.

20                A.      Oh.

21                Q.      You have done -- you have done

22           breast reductions without having results

23           from a randomized controlled clinical



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1            trial?

2                 A.      Oh, forgive me.              I -- I

3            misunderstood the question, then.                           No.

4            The -- I have not, no.                   The industry --

5            the plastic surgery community does not

6            rely on a randomized trial for the -- the

7            operation to be merited.                    That's correct.

8                 Q.      Right.        Nobody in this industry

9            waits for results from a randomized

10           controlled trial before determining that

11           a particular surgical procedure is

12           nonexperimental; right?

13                        MR. KNEPPER:            Objection, form.

14                A.      Well, this gets back to what we

15           were talking about before, what the --

16           what the level of evidence is, what's at

17           risk, and what are the potential

18           benefits.         So in the case of breast

19           reduction surgery, yes, we have not

20           relied on randomized controlled trials

21           because there was such an abundance of

22           level 3 evidence to justify the

23           procedure.          And so -- and level 3



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1            evidence is sufficient to answer the

2            question, is this experimental or not?

3            This procedure doesn't rise to the level

4            of level 2 or level 1 in order to be

5            justified.          I believe there have been --

6            well, no, I can't say categorically, so I

7            won't.

8                         So yeah, to answer your

9            question, breast reduction does not rely

10           on randomized trials.                  It relies on level

11           3 evidence.

12                Q.      All right.           Let's take it out of

13           the realm of breast reduction in

14           particular.

15                A.      Okay.

16                Q.      It is not uncommon for plastic

17           surgeons to perform procedures that are

18           not supported by results from an RCT;

19           correct?

20                        MR. KNEPPER:            Objection, form.

21                A.      As a general principle, plastic

22           surgeons are perhaps more innovative than

23           other surgeons, so we're inclined to try



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1            new techniques.             And then, of course, you

2            have to exercise some significant

3            prudential judgment about what risk are

4            you placing the patient in before you get

5            experimental with them.                   Yeah.        So yes,

6            we -- we do that all -- we're innovators,

7            as -- as a general principle.

8                 Q.      And as a general principle,

9            plastic surgeons will often commonly

10           perform procedures that are not supported

11           by level 2 evidence; correct?

12                        MR. KNEPPER:            Objection, form.

13                A.      Yes.

14                Q.      And as innovators, plastic

15           surgeons will often perform surgical

16           procedures that are not level 3 evidence;

17           right?

18                        MR. KNEPPER:            Objection, form.

19                A.      Yeah.       They -- if you're talking

20           about small like technical improvements

21           in -- in low-risk procedures, then yeah,

22           we -- we do that very commonly.

23                Q.      Okay.       You know what the



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1            Plastics and Reconstructive Surgery

2            journal is; right?

3                 A.      Yes.

4                 Q.      It's the official publication of

5            the ASPS; correct?

6                 A.      Correct.

7                 Q.      It's a peer-reviewed medical

8            journal; right?

9                 A.      Correct.

10                Q.      It's published monthly; right?

11                A.      And plus supplements as well and

12           online.       Yes, sir.

13                Q.      One purpose of that journal is

14           to educate members about new surgical

15           techniques; right?

16                A.      Yes.

17                Q.      Would you agree that the journal

18           is the premier peer-reviewed source for

19           current information on reconstructive and

20           cosmetic surgery?

21                A.      I would.

22                Q.      All right.           Are you -- I know

23           that you're no longer a member.                          Are you



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1            still subscribing to the journal?

2                  A.      No, I'm not.            It's a -- it's for

3            members that you get the journal, so

4            yeah.       That's what my subscription relied

5            on, so -- all those years.

6                  Q.      I understand.             So not -- you

7            haven't had access to it since 2018?

8                  A.      Well, I -- no, I go online, and

9            I'll pay for access to particular

10           articles.          So yeah.         So it's not that

11           I've lost contact with it, it's just that

12           I do literature searches, and if an ASPS

13           citation comes up, I'll pay to look at

14           it.

15                 Q.      I understand.             Sitting here

16           today, what percent of publications in

17           that journal do you think consist of

18           results from RCTs?

19                         MR. KNEPPER:            Objection, scope,

20           form.

21                 A.      Yeah, I'm -- I'm not sure I

22           could hazard a guess even.

23                 Q.      Ballpark, do you think it's 10



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1            percent?        50 percent?

2                 A.      Of their published articles that

3            are randomized controlled trials?

4                 Q.      Yes.

5                         MR. KNEPPER:            Objection to form,

6            scope.

7                 A.      Gosh, I'm going to guess it's

8            probably somewhere -- probably less than

9            10 percent.

10                Q.      How about cohort studies?                      If

11           you had to estimate, what percentage of

12           publications in that journal do you think

13           consist of results from cohort studies?

14                        MR. KNEPPER:            Objection, form.

15                A.      Again, just ballparking here

16           after, you know, 35 years of reading that

17           article -- that journal for 35 years, I

18           would say that -- I don't -- I may be

19           guessing, but 15 percent maybe are -- are

20           cohorts that are usually single-center

21           studies.        There's a lot of those in

22           the -- in the White Journal.                       There'll be

23           a single-center cohort study of -- of



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1            some operation or technique, and they'll

2            usually report it as three or four

3            surgeons at a single center reporting a

4            -- a longitudinal cohort of, say, breast

5            cancer reconstructions with implants

6            versus breast reconstruction with

7            autologous flaps and comparing

8            satisfaction surveys and things like

9            that.      So I'm going to ballpark it at 15

10           percent, but I don't know.                      I don't know

11           for a fact.

12                Q.      Let me introduce an exhibit.                         So

13           this will be Exhibit 17, and let me know

14           when you get it.

15           (Exhibit 17 was marked for identification

16           and is attached.)

17                A.      Okay.       All right.           I have it.

18                Q.      All right.           This is a study from

19           2019 by Sugrue, S-U-G-R-U-E, titled

20           "Levels of Evidence in Plastic and

21           Reconstructive Surgery Research."                           See

22           that?

23                A.      I do.



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1                 Q.      All right.            See there's a

2            "Summary" box on the first page?

3                 A.      Yes.

4                 Q.      The third sentence says, "The

5            aim of this study is to determine if the

6            quality of evidence in plastic surgery

7            research has improved over the past 10

8            years.       Systematic review of research

9            published in Plastics and Reconstructive

10           Surgery journal over the years, 10-year

11           period (2008, 2013, 2018), was

12           performed."           Do you see that?

13                A.      I do.

14                Q.      Now, you understand what this

15           study was trying to accomplish; right?

16                A.      Yeah.        They were measuring the

17           level of success that the American

18           Society of Plastic Surgery was having

19           after having applied those criteria we

20           talked about earlier, the -- this

21           requirement of reporting levels of

22           evidence, seeking the clarity on levels

23           of evidence.            And so I expect -- I



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1            haven't read this -- this article before,

2            but I guess that's what they're looking

3            at, is how successful have we been as a

4            professional society in publishing --

5                 Q.      Yeah.

6                 A.      -- these things.

7                 Q.      And this references the levels

8            of evidence, LOE, metric; right?

9                 A.      Yes.

10                Q.      And that's the same metric that

11           you referenced earlier, levels 1 through

12           5; right?

13                A.      Right.        Well, the levels 1

14           through 5 that I referenced includes

15           the -- sort of the subcategorizing,

16           depending on if it's a therapeutic trial

17           or a -- or a trial of risk or things like

18           that.      So the -- the document that the

19           ASPS published some years ago includes

20           risk studies and diagnostic studies, but

21           they're all ranked 1 through 5.                          That's

22           right.

23                Q.      And you see a couple of



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1            sentences down, it says 884 studies were

2            included in the final analysis.                           You see

3            that?

4                 A.      Yes, I do.

5                 Q.      Okay.        Go to page 2.

6                 A.      Okay.

7                 Q.      You see there's a Table 1?

8                 A.      Yes, I do.

9                 Q.      Table 1 is "Percentage of Each

10           Level of Evidence Published per Year."

11           Do you see that?

12                A.      I do.

13                Q.      And there's columns for 2008,

14           2013, and 2018; right?

15                A.      Yes.

16                Q.      All right.            Let's start with

17           level 1, and that's randomized control

18           trials or metaanalyses of those trials;

19           right?

20                A.      Right.

21                Q.      In 2018, only 2.1 percent of all

22           publications in the journal were level 1

23           evidence; right?



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1                 A.      That's right.

2                 Q.      And in 2008 and 2013, those

3            percentages were 0.3 and 1.7 percent

4            respectively; correct?

5                 A.      Correct.

6                 Q.      Not very common for the journal

7            to report on results of RCTs, according

8            to this summary; right?

9                         MR. KNEPPER:            Objection, form.

10                A.      Yeah.       And it even goes along

11           with what -- my ballpark earlier, so I'm

12           surprised -- yes, it was less than 10

13           percent were -- were level 1 evidence and

14           somewhere around -- yeah, so those

15           numbers are consistent.                   But yeah.

16                        And the other thing to note

17           about it is that they appear to have been

18           successful in choosing what they publish

19           to support higher levels of evidence.                            So

20           I guess they're to be commended for

21           having done this, yeah.

22                Q.      Okay.       All right.           Then level 2

23           are -- level 2 evidence includes



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1            prospective cohort or comparative

2            studies; right?

3                 A.      Yes.

4                 Q.      With controls; right?

5                 A.      Yeah.       There's a level of

6            randomization that -- that's there as

7            well --

8                 Q.      Okay.

9                 A.      -- in those prospective studies.

10           That's right.

11                Q.      And for that level 2 evidence,

12           only 13.6 percent of all publications in

13           the journal in 2018 consisted of that

14           evidence; right?

15                A.      Yes.      That's what it says there,

16           yes.

17                Q.      All right.           Level of evidence 4

18           is case series with a pre- or posttest or

19           only posttest; right?

20                A.      Right.

21                Q.      And in 2018, those amounted to

22           41.7 percent of all publications; right?

23                A.      Right.        It looks as though more



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1            of those level 4 have been shifted up

2            into level 3, given that the level 5 has

3            declined.         So it looks like they're

4            pushing more of the level 4 up into level

5            5.    Yeah.

6                 Q.      Yeah.       Much of the research on

7            which your field relies doesn't consist

8            of results from RCTs or controlled cohort

9            studies; right?

10                A.      Well, I wouldn't --

11                        MR. KNEPPER:            Objection, form.

12                A.      I wouldn't say that based on

13           this.      I would say that much of the

14           published research in this journal is of

15           that -- of what you described, relying on

16           RCTs and so on.

17                        This is a -- this is not a

18           document about what the profession is

19           doing.       This is a document about what

20           this journal is publishing.                       And what

21           they're publishing is more papers of

22           higher value, for which they're to be

23           commended.          So this says nothing about



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1            what people are investigating.                         This says

2            about -- this says something about what

3            this journal is publishing.

4                 Q.      Well, this is the journal for

5            the ASPS; right?

6                 A.      Right.        With limited space for

7            publication.           So they're being,

8            apparently, more selective about what

9            they'll publish, that it's not just that

10           well, this is the chief of plastic

11           surgery at NYU, so we're going to publish

12           his paper.          It's the chief of plastic

13           surgery has a level 2 case.                       Let's --

14           let's present -- let's publish that one.

15           I think that's what this is telling us,

16           that they're being more fastidious about

17           what they publish, whereas before, they

18           might have been more -- well, less

19           selective, let's say.

20                Q.      Have you ever been involved with

21           selecting articles to be published in

22           this journal?

23                A.      I've never been involved in --



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1            in journal publication staff or -- no, I

2            have not.

3                 Q.      You don't know the process by

4            which they select what article to

5            publish; right?

6                         MR. KNEPPER:            Objection, form.

7                 A.      I have some idea, but I'm --

8            it's not my -- my area of professional

9            expertise.

10                Q.      Yeah.

11                A.      I merely read the journal, and

12           have for approaching forty years now.

13                Q.      Look at Table 2.

14                A.      Okay.

15                Q.      And look at the column under

16           2018.

17                A.      Yes.

18                Q.      The first two rows, "Systematic

19           review/meta analysis" and "Randomized

20           control trials," account for 3.2 plus 3.8

21           percent of all publications of the

22           journal in 2018.              Correct?

23                A.      Right.



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1                         MR. KNEPPER:            Objection.

2                 Q.      Case series account for 26.3

3            percent; right?

4                 A.      Right.

5                 Q.      Okay.       Go to page 3 of this

6            exhibit.

7                 A.      Okay.       I'm there.

8                 Q.      All right.           First full

9            paragraph, first sentence says, "Case

10           series are the backbone of surgical

11           research."          Do you see that?

12                A.      I do.

13                Q.      You don't disagree that case

14           series can be helpful scientific

15           evidence; right?

16                A.      No.     As I -- as I testified

17           before, this is the beginning of

18           research.          It always begins with perhaps

19           a serendipitous discovery, then to case

20           reports, then to case series, single --

21           single-provider case series or multiple

22           providers in a -- in a -- an institution.

23           But that's the beginning of surgical



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1            research, yeah.             That's how it always

2            begins.

3                 Q.      Well, it's a beginning, but

4            sometimes it's also the end; right?

5            Because look at the third sentence.                              It

6            says:      "The absence of a control group

7            justifiably ranks this design at the

8            lower end of the evidence pyramid.

9            Despite this, case series are vital.

10           They may be the only feasible and ethical

11           study methodology obtainable, as seen

12           with craniofacial surgery."                       You see

13           that?

14                A.      Yeah.       And to that -- to that

15           particular point, so I've got extensive

16           experience with craniofacial surgery, and

17           -- and it's -- this is one of those

18           procedures where the outward change to

19           the child can't be blinded.                       You cannot

20           blind the investigator because,

21           obviously, he's doing the surgery, and

22           you can't blind the patient or the family

23           to it because the results are quite



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1            obvious.        And that's what they're saying

2            here.      And obviously, they're not saying

3            that it's never useful or is never

4            necessary.          They're saying that in many

5            cases, you don't need to rise to that

6            level because you have evident benefit to

7            the patient and the risk is not only

8            manageable but -- but sufficiently low to

9            warrant the application of a particular

10           technique.

11                        So that was certainly the case,

12           for example, when we introduced external

13           fixation devices for advancement of the

14           mid face in certain congenital

15           deformities.           Nobody had done a

16           randomized trial because you can't.

17           You've got this hardware sitting on the

18           patient's face.             So -- but yet, the --

19           the luminaries in craniofacial surgery

20           were able to demonstrate through a case

21           series that this was a valid technique,

22           and then the rest of us adopted it.                              So

23           that's an example of how plastic surgery



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1            works.

2                         Now, if the patient was at risk

3            of death because this technique was being

4            applied or if the patient was at risk of

5            permanent life-altering changes that

6            couldn't be reversed, then yeah, you

7            would have to proceed with much greater

8            caution, and you may be looking at

9            finding some way, longitudinal

10           study-wise, to -- to quantify the benefit

11           of using your technique over using

12           established techniques.

13                Q.      There are some areas in plastic

14           surgery and reconstructive surgery where

15           case series are basically as good as it

16           gets in terms of scientific evidence;

17           right?

18                        MR. KNEPPER:            Objection, form.

19                A.      Yeah.       I suppose in the newer --

20           at the newer end of techniques, that's

21           all you got for now until the technique

22           has been applied over a sufficiently long

23           time that you can look at a retrospective



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1            cohort.

2                         So for example, in the case of

3            gender transitioning surgery, the -- the

4            -- the surgeons have been at it now for

5            several decades.              And we should be

6            already at the level of level 3 evidence,

7            but -- but we're not.

8                 Q.      Well, you --

9                 A.      So I wouldn't put that in the

10           category of -- you're talking there about

11           a high-risk procedure that has a long

12           track record that can be examined.                               And

13           -- and clearly, the examination of that

14           technique in the last three years, give

15           or take, has -- has shown us that that

16           this is in the category of those

17           operations that demand higher levels of

18           evidence than a case series, whether it's

19           single provider, single institution, or

20           even single nation.                You've got to --

21           you've got to look at the data now and --

22           and prove that you are doing something

23           good for the patient.



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1                         And quite frankly, it hasn't

2            been proven in the -- in the American

3            literature.          Certainly, WPATH hasn't

4            proven that.           But in the European

5            literature, they're looking at it and

6            saying, gosh, you know, the -- the

7            Swedish study shows us that if you only

8            follow patients for five years at the

9            most, you're not even going to see the

10           long-term effect of what you did to them.

11           And if you look at them eight years and

12           beyond, you'll see that you haven't

13           solved the suicidality, the self-harm,

14           the incarceration, psychiatric diagnosis

15           admissions, and things like that.

16                        So -- so yeah, as far as what

17           we're talking about today, yeah, there's

18           a whole spectrum of what's acceptable

19           levels of evidence for a particular

20           procedure.          The higher the risk, the

21           higher the level of evidence is demanded.

22           And sometimes you have to wait to get to

23           that level of evidence if you're dealing



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1            with something potentially

2            life-threatening.

3                         Like certainly, the providers

4            were fully justified in considering this

5            because of the high suicide rate of

6            transgender patients.                  Case series,

7            totally valid reason given that the life

8            of the patient is at risk here, totally

9            valid to go with a case series as the

10           evidence by which you're consenting the

11           patient to surgery.                But we're now beyond

12           that.      We're now beyond that.                    We're at

13           -- we're now -- the ethics demands that

14           we look at higher levels of evidence

15           because of the long-term risk to the

16           patient and the fact that the long-term

17           evidence doesn't support the indication

18           for surgery, which is lower suicide rate,

19           lower self-harm, lower drug abuse.

20           That's really what we're talking about

21           here.

22                Q.      I have some other questions.

23           You agree that -- strike that.



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1                         Do you agree that it is not

2            possible to perform RCTs for some

3            surgical procedure because you can't

4            blind the patient or the investigator to

5            what the procedure is?

6                 A.      Absolutely agree, yeah.

7                 Q.      So, let's take phalloplasty;

8            right?

9                 A.      Okay.       Yeah.

10                Q.      When a surgeon performs a

11           phalloplasty on a patient, both the

12           surgeon and the patient are going to know

13           that the procedure was done; right?

14                A.      Yes.

15                Q.      It's not possible to have a RCT

16           for phalloplasty because you can't blind

17           the participant or the investigator;

18           right?

19                A.      Yeah.       That's typical of most

20           surgical interventions.                   The only

21           exception to that would be intraabdominal

22           or intrathoracic surgeries or even

23           intracranial surgeries.                   And -- and



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1            that's considered sham surgery, which is

2            considered malpractice and ethical

3            violation of professional standards.                             So

4            you can pretty much rule out most all

5            surgical procedures from the randomized

6            control trial category.                     Correct.

7                 Q.      And we agree that the same would

8            apply to metoidioplasty, for example;

9            right?

10                A.      Yes.

11                Q.      To all types of, again,

12           colloquially known as bottom surgery;

13           right?

14                A.      Correct.

15                Q.      All right.            Let's take

16           puberty-blocking hormones.

17                A.      Okay.

18                Q.      When patients with gender

19           dysphoria treatment start

20           puberty-blocking hormones, they're not

21           going to undergo puberty, basically;

22           right?

23                A.      Well, that's the intended use,



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1            that's correct.

2                 Q.      So there's going to be

3            observable physical effects of the

4            hormones that will be apparent to the

5            patient; right?

6                 A.      Yes.      Within a year, that child

7            is going to look much smaller than his

8            peers.       He's going to be developmentally

9            delayed psychologically,

10           neurophysiologically.                  His -- his

11           movements are not going to be as -- his

12           coordination is going to be less matured.

13           His higher executive functions will be

14           impaired.         So it will be very obvious

15           that this child is now different from his

16           peers.       So I would agree with you; you

17           couldn't find a way to blind such a study

18           because the evidence of effect is so

19           obvious within the first year that

20           everyone would know that they're taking

21           the -- the puberty-blocking

22           gonadotropin-releasing hormone agonist.

23                Q.      We agree that -- we agree that



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1            it's not possible to do an RCT for

2            puberty-blocking hormones because of

3            these apparent physical effects; right?

4                         MR. KNEPPER:            Objection, form.

5                 A.      I -- I would agree, yes.

6                 Q.      Okay.       Let's take cross-sex

7            hormones.

8                 A.      And the -- the last question you

9            asked me, did you qualify that as you

10           couldn't do a double-blinded study using

11           puberty-blocking drugs in self-identified

12           transgender children?

13                Q.      Yes.

14                A.      Yeah.       Because if you're

15           applying the drug to other conditions

16           like precocious puberty, it -- it may be

17           possible.         It may be possible to -- I

18           don't know.          I'd have to think about that

19           but -- okay.           Sorry.

20                Q.      Let's take cross-sex hormones.

21                A.      Okay.

22                Q.      When somebody -- someone is

23           treated with estrogen or testosterone for



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1            gender dysphoria, there are also going to

2            be physical effects from those

3            treatments; correct?

4                 A.      Yes.      Given that sex hormones

5            have such a profound effect on every body

6            system, then it's going to be impossible

7            to conceal the fact that the person is on

8            sex hormones because every -- every

9            function of the body is affected by sex

10           hormone levels, particularly at the age

11           of early adolescence.

12                Q.      And given these visible physical

13           effects, it's not possible to design a

14           double-blind RCT for cross-sex hormones

15           for gender dysphoria; correct?

16                A.      It would probably be an invalid

17           study, yes.

18                Q.      All right.           Let's go back to

19           your -- actually, you know what?                          I'm

20           going to move to a different area.                               It's

21           been about an hour.                Let's take a quick

22           break.

23                        MR. TISHYEVICH:              Off the record.



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1                         THE VIDEOGRAPHER:                This is the

2            end of Media Unit No. 4.                    We are off the

3            record at 2:16 p.m.

4                                 (Break taken.)

5                         THE VIDEOGRAPHER:                This is the

6            beginning of Media Unit No. 5.                         We are on

7            the record at 2:24 p.m.

8                 Q.      (By Mr. Tishyevich) Let's go

9            back to your report, Exhibit 1.

10                A.      Okay.

11                Q.      Go to page 21.

12                A.      Twenty-one.           Okay.

13                Q.      And you see there's a paragraph

14           starting with, "Failure to discuss the

15           failure to conduct"?

16                A.      Yes.

17                Q.      Okay.       So in the second line,

18           you reference the "unknown number and

19           percentage of patients who drop out of

20           transitioning or reverse the process

21           parentheses (Detransitioners)."

22                A.      Right.

23                Q.      You see that?



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1                 A.      I do.

2                 Q.      All right.           You agree that the

3            number and percentage of patients with

4            gender dysphoria who drop out of

5            transitioning or who reverse the process

6            is currently unknown; right?

7                 A.      Well, it depends on if you're

8            asking that question about the general

9            population or in a particular study.                             So

10           in particular studies, that number is

11           known, but in the general population,

12           it's an unknown.

13                Q.      Yeah.

14                A.      And the reason -- the reason

15           it's unknown in the general population is

16           because the people doing the research

17           aren't following those patients.                          That's

18           why we don't know.

19                Q.      In the overall population, the

20           number and percentage of patients who

21           drop out of transitioning or reverse the

22           process is unknown; agree?

23                A.      Yeah.       I would agree that's



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1            unknown, yeah.

2                 Q.      All right.           Given that,

3            obviously, you're not offering any expert

4            opinions on what that number or

5            percentage is in the general population;

6            right?

7                 A.      Yeah, I don't -- I don't think

8            it's possible for anyone to break out the

9            difference, for example, between somebody

10           who isn't followed up because they've

11           detransitioned or somebody who isn't

12           followed up because they've taken their

13           own life.         We have no way of knowing

14           because nobody's following up.

15                Q.      All right.           Look toward the

16           bottom of this page 21.                   You cite a case

17           series from I believe it's Djordjevic,

18           D-J-O-R-D-J-E-V-I-C.                 Do you see that?

19                A.      I do.

20                Q.      And you say, "More dramatically,

21           a surgical group prominently active in

22           the SRS field has published a report on a

23           series of seven male-to-female patients



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1            requesting surgery to transform their

2            surgically constructed female genitalia

3            back to their original male form."

4            Right?

5                 A.      I see that, yes.

6                 Q.      Okay.       Now, this article was not

7            an RCT, obviously; right?

8                 A.      Right, right.

9                 Q.      It was not a cohort study;

10           right?

11                A.      No.     This would be a case -- a

12           case series.

13                Q.      Yeah.       The lowest level of

14           evidence; right?

15                A.      No.     Actually, the lowest level

16           of evidence would be sort of single

17           patient -- well, it's sort of somewhere

18           between 4 and 5, I suppose.                       I'd have to

19           look at the article again to see what the

20           -- what the denominator is, but --

21                Q.      Yeah.       Well, generally, you

22           think that anecdotal patient stories like

23           these are not reliable scientific



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1            information; right?

2                         MR. KNEPPER:            Objection, form.

3                 A.      No.     They're the first clue to a

4            problem or the first clue to a solution.

5            That's exactly right.                  So that -- that

6            sort of points to the controversial

7            nature of these therapies, is that -- is

8            that we don't have the answer.                         We can't

9            explain why these detransitioners weren't

10           predicted preoperatively because we don't

11           have a test instrument to figure that

12           out.

13                        So when you see a series like

14           this -- this is what we talked about

15           earlier, about the -- the history of

16           progression of levels of evidence.                               You

17           start out with reports like this.                           This

18           leads to further research.                      And I'm just

19           trying to remember, when I read the

20           article, where that study was done.                               I

21           don't have it in front -- I'm just trying

22           to remember what -- what country that was

23           done in.



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1                 Q.      Yeah.       I'll -- I'll show it to

2            you.

3                 A.      Okay.

4                 Q.      Hold on.         Let me introduce it.

5                 A.      Thank you.

6                 Q.      You did read these -- this

7            article in full before you cited it;

8            right?

9                 A.      Yeah.       That -- it was -- it was

10           probably about seven months ago, but yes,

11           I did.

12                Q.      Sure.

13                        THE COURT REPORTER:                  I didn't

14           hear anything.             So it's just --

15                        THE WITNESS:            Okay.

16                        THE COURT REPORTER:                  We're

17           losing it in Zoom.                Thank you.

18                        THE WITNESS:            Forgive me.            I'm

19           sorry.

20                        THE COURT REPORTER:                  No, that's

21           okay.      It's awkward.

22                Q.      (By Mr. Tishyevich) Okay.                      This

23           is going to be Exhibit 18, and let me



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1            know when you have it.

2            (Exhibit 18 was marked for identification

3            and is attached.)

4                 A.      Okay.       Okay.       Yeah, there it is.

5            Yes.      Yeah, right.            Okay.       It's coming

6            back to me now.             And this was published

7            out of the -- Amsterdam.                    That's right.

8            Okay.      All right.           Yeah.

9                 Q.      All right.           Let me ask you --

10           strike that.

11                        Bottom of the page, there's a

12           section titled "Introduction."                         You see

13           that?

14                A.      The bottom of the first page?

15                Q.      Yes.

16                A.      Yes, I see that.

17                Q.      Look at -- look to the column on

18           the right.

19                A.      Okay.

20                Q.      The last sentence says, "In

21           general, most researchers have reported

22           their patients are extremely satisfied

23           overall with their surgical outcomes,



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1            with a low rate of complications."                               You

2            see that?

3                      (Witness reviews document.)

4                 A.      Right.        I see -- I do see that,

5            yes.

6                 Q.      Then it cites three footnotes, 5

7            through 7; right?

8                 A.      Right.

9                 Q.      You don't acknowledge this

10           portion of the article in your report;

11           right?

12                A.      Well, it is in the discussion, I

13           think.       Well, actually, probably maybe in

14           the summary of the -- of the medical

15           evidence.         The -- I would put this in the

16           category of subjective reporting and

17           short -- subjective reporting and short

18           follow-up.          Right.        That's what --

19                Q.      Well, you --

20                A.      I'm sorry.           Go ahead.

21                Q.      No, no, go ahead.

22                A.      So I think the reason I included

23           this was to show that there are -- you



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1            know, that there's a growing pool of

2            patients who are returning for reversal

3            surgery.        I don't think I discussed in

4            this part of my report -- yeah.                          I'm just

5            talking about increasingly visible

6            community and patient -- increasing

7            number of patients requesting reversal

8            surgery.        And as an example of that,

9            again, going to a single-center case

10           collection as an example, early evidence,

11           we're starting to see this now as numbers

12           of patients who have surgically

13           transitioned increases, the numbers of

14           patients who regret is going to increase,

15           particularly in light of what these

16           authors speak about here.

17                        Let me see if I -- yeah.                     So in

18           the second sentence of the abstract in

19           the introduction, it says, "However,

20           misdiagnosed patients sometimes regret

21           their decisions."               And one of the reasons

22           for including this article is the fact

23           that misdiagnosis is not measured.                               The



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1            world literature doesn't present error

2            rates.       This would be what I would

3            consider an error rate, that an erroneous

4            diagnosis was acted upon surgically,

5            leading to this complication of regret

6            and a -- and a desire for reversal.

7            Yeah.

8                 Q.      Your expert testimony is that

9            there's no data available on the

10           percentage of people who have received

11           treatment for gender dysphoria who

12           experience regret?

13                A.      Yeah.       It's very, very low --

14           low-level evidence right now.                        It's

15           basically we're in the -- we're in the

16           case collection study, whereas actually

17           in the -- well, that's not regret.                               But

18           -- but perhaps in the category of

19           misdiagnosis would be the -- the reports

20           out of Sweden, certainly the -- yeah, so

21           beginning with the Swede -- Swedish

22           studies by Cecilia Dhejne and others that

23           shows us a lack of efficacy.                       Whether or



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1            not the patient presented for reversal is

2            definitely an unknown number, definitely.

3                 Q.      All right.           That study doesn't

4            quantify anything about patient regret;

5            right?

6                 A.      The Swedish study does not.                         It

7            quantifies lack of -- of effect from the

8            surgical interventions.                   Lack of benefit,

9            I should say.

10                Q.      Go to page -- PDF page 7 of this

11           document and look at the Conclusions --

12                A.      Okay.

13                Q.      -- section.

14                A.      All right.           Let's see that page.

15           Conclusions.           Okay.       I'm there.

16                Q.      The first sentence says, "The

17           vast majority of properly diagnosed

18           transsexual patients are satisfied with

19           their decision to undergo SRS, with only

20           a few coming to regret it."                       Right?

21                A.      Right.        So this -- the other

22           reason why this study is useful to our

23           conversation is that this is the same



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1            language and the same metrics that's used

2            to describe the success of cosmetic

3            surgery.        They don't include in here,

4            apart from the regret number that they're

5            actually publishing here -- not number

6            but the examples, I should say.                          They

7            don't include in their -- in their

8            conclusions any statement about objective

9            quantifiable benefit from the surgery.

10           They talk about subjective reporting.

11                        So this is an example of a -- of

12           a peer-reviewed journal article that

13           measures the efficacy of this surgery

14           based solely upon a satisfaction survey

15           of patients who have returned for

16           follow-up, so this would be an example of

17           that.      Yes, sir.

18                Q.      Do you know what metric was used

19           to measure satisfaction or

20           nonsatisfaction in these studies?

21                A.      I'd have to reread the -- the

22           methods and materials here, but I

23           would -- I would guess it was one of the



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1            approved instruments for measuring

2            satisfaction.            There are a variety of

3            test instruments used for -- in

4            satisfaction surveys, particularly in the

5            world of plastic surgery.

6                         Let's see.           They used the --

7            these are the kind of things I don't keep

8            in my long-term memory here for a

9            particular article.                Okay.

10                     (Witness reviews document.)

11                A.      Okay.       There's the outcomes

12           measures.         Forgive me for eating up your

13           time.

14                Q.      Let me -- let help you, Doctor.

15           Go to page --

16                A.      Okay.       There it is.

17                Q.      -- PDF page 5.

18                A.      Yeah.       Fif- -- yeah.

19                Q.      Yeah.

20                A.      Fifteen, right.

21                Q.      Question on the page --

22                A.      So there's a -- there's a test

23           instrument there.               Right.



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1                 Q.      Yeah.       There's a test instrument

2            that measures things like erectile

3            function, sexual desire, orgasmic

4            function, intercourse satisfaction, and

5            overall satisfaction; right?

6                 A.      Right.

7                 Q.      They don't just ask the patient,

8            "Hey, are you happy with the surgery?"

9            There's five criteria that are applied;

10           right?

11                A.      Right.

12                Q.      This is an approved instrument

13           for measuring this type of satisfaction

14           for surgery; right?

15                        MR. KNEPPER:            Objection, form.

16                A.      This is -- this is -- yeah, it's

17           definitely a valuable instrument for

18           measuring things, but none of them are

19           the -- are the indication for surgery,

20           which is things like reduced suicidality,

21           reduced self-harm, reduced alcohol use,

22           all of those other things which are --

23           which are the reason, the indication for



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1            the operation.              So you generally try to

2            match the surgical procedure with the

3            indication for the surgery.

4                         They're measuring things that

5            weren't involved in the indications for

6            surgery.         They didn't get, you know,

7            reconstructive surgical approval so that

8            they could achieve erections, for

9            example.         This was approved because of

10           the risk of self-harm, suicide, those

11           sorts of things.               Yeah.        But none of

12           those are measured.                  They -- it is -- it

13           is they do have objective measures, and

14           this is one of the -- one of the values

15           of this study.              But I don't think they

16           report the complication rate in this

17           study, as I recall.

18                Q.      This -- this study specifically

19           did not purport to seek out anything

20           about suicidality or mortality or other

21           adverse outcomes of that nature; right?

22                A.      Let's see.            I'm trying to

23           remember in their introduction.



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1                      (Witness reviews document.)

2                 A.      Yeah.       I think their indications

3            used language that was more consistent

4            with -- with aesthetic, aesthetic surgery

5            rather than the reconstructive language.

6            So yeah.

7                      (Witness reviews document.)

8                 A.      Yeah.       So --

9                 Q.      Yeah.       Here's --

10                A.      Yeah, I would --

11                Q.      Here's what I find interesting,

12           Doctor.

13                A.      Okay.

14                Q.      Your report cites this one case

15           series of seven patients to make the

16           point that there's this regret occurring

17           without even mentioning that there's

18           multiple case series that say the vast

19           majority of these patients end up being

20           satisfied with this type of surgery?

21                A.      No.     I don't think --

22                Q.      You don't think that's

23           appropriate to mention?



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1                 A.      No.     I -- actually, what I

2            present these examples to show, that --

3            that the literature in support of these

4            surgeries is characterized by very short

5            follow-up and subjective reporting.                              So

6            this is an example of some objective

7            reporting, mostly subjective reporting.

8            And most of the articles, for example,

9            that you just asked me about involve

10           subjective reporting and short follow-up.

11           That's right, yeah.

12                Q.      All right.

13                A.      And in this case, you also --

14           I'm -- I'm pleased that they reported

15           that one, two, three, four, five, six,

16           seven -- so nearly half of their patients

17           had a surgical complication of a urethral

18           fistula, and if you have a urethral

19           fistula and you have a malleable

20           prosthesis, probably they went on to

21           remove the prosthesis as well.                         But

22           that's -- I mean, I -- props for this --

23           this team that they reported their



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1            complications.

2                 Q.      Where -- what page is the

3            complications portion you're looking at?

4                 A.      That's on -- just before you get

5            -- the last page before the -- the same

6            page as the conclusions.                    There's a table

7            at the top, and they have the seven

8            patients, and you can see -- what's also

9            interesting here, too, is -- is that if

10           you look at the period after sex

11           reassignment surgery, that the -- that

12           the dissatisfaction level really kicks in

13           when you're beyond eight years.

14           Actually, if you look at even six years

15           beyond.

16                        Initially, there's no patients

17           reporting dissatisfaction at anything

18           less than five years, and so this is

19           actually further evidence of the -- of

20           the inadequacy of the -- the papers that

21           are in the literature right now which

22           have follow-ups that are typically two to

23           three years.           So none of these patients



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1            would have been seen, with most of the

2            literature that supports these

3            techniques, as a way to, you know, avoid

4            -- avoid dissatisfaction or -- or

5            suicidality or drug use or anything else

6            like that.          So that's an interesting -- I

7            hadn't noticed that before, but yeah.

8                 Q.      Yeah.       Are you reading Table 1

9            to say that these complications like

10           urethral fistula and stricture were from

11           the original surgery?

12                A.      Well, I'm -- I'm merely --

13                Q.      Or is it from the reversal

14           surgery that was being done later?

15                A.      So they're talking here about

16           flaps.       They're talking about

17           complications from the -- the -- the

18           surgeries.          Yeah.       So this --

19                Q.      Yeah.       This is --

20                A.      They're speaking about urethral

21           fistulas and strictures are the main

22           problem after total phalloplasty.                           So

23           that's the construct of the counterfeit



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1            phallus because of insufficient vascular

2            supply.       I also discuss that in my

3            complications section.                   These are

4            characteristic complications of these

5            free flaps, radial forearm free flaps,

6            and you see those complications here.

7            And you even see them later in -- in the

8            case, so.         Some of them are step

9            procedures.          In fact, all of them are.

10                Q.      All right.           Let me -- let me

11           show you another study.

12                A.      Okay.

13                Q.      Let me reintroduce this with an

14           exhibit -- exhibit stamp.                     Give me a

15           second.       All right.           I'm reintroducing

16           this as Exhibit 20.                Let me know when you

17           have it.

18           (Exhibit 20 was marked for identification

19           and is attached.)

20                A.      I just got Exhibit 19.                    Is there

21           another?        There's a 20 to follow?

22                Q.      It -- it should load

23           momentarily.           Yeah.



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1                 A.      Oh, I'm sorry.

2                         MR. KNEPPER:            Are 19 and 20 the

3            same, just one's missing the little

4            stamp?

5                         MR. TISHYEVICH:              Correct.

6                         THE WITNESS:            Okay.        I'll just

7            go to 20, then, when it comes in.

8                 Q.      Okay.       This is a study titled

9            "The Amsterdam Cohort of Gender Dysphoria

10           Study (1972-2015): Trends in Prevalence,

11           Treatment, and Regrets."                    Do you see

12           that?

13                A.      I do.

14                Q.      And then it's by an author,

15           let's say Wiepjes, W-I-E-P-J-E-S.

16                A.      Yeah.

17                Q.      Right?

18                A.      I agree.

19                Q.      Have you seen this study before?

20                A.      I'm trying to gloss it to see if

21           I've read this before.                   I -- I may have.

22           Give me just a moment, if that's okay.

23                Q.      Sure.



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1                      (Witness reviews document.)

2                 A.      Yeah, this looks familiar.

3                 Q.      I don't think I saw this in your

4            report, but tell me if you remember

5            otherwise.

6                      (Witness reviews document.)

7                 A.      Yeah, no.          I remember this being

8            evidence of the growing population of

9            self-reported transgender patients,

10           and it's a retro- --

11                Q.      Okay.       Let me --

12                A.      -- retrospective trial.                     Yeah.

13                Q.      Yeah.       Let's go through this.

14                A.      Retrospective study, I should

15           say.

16                Q.      All right.           You see the

17           "Abstract" section on the first page?

18                A.      I do.

19                Q.      See the "Results" section?

20                A.      I do.

21                Q.      It says, "6,793 people (4,432

22           birth-assigned male, 2,361 birth-assigned

23           female) visited our gender identity



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1            clinic from 1972 through 2015."                           See

2            that?

3                 A.      I do.

4                 Q.      All right.            So you understand

5            that as part of this study, the authors

6            reviewed medical records of 6,793 people

7            who visited this gender identity clinic

8            from 1972 to 2015; right?

9                 A.      I do.

10                Q.      All right.            And you see the

11           "Strengths and Limitations" section?

12                A.      Yes, I do.

13                Q.      And you understand that this

14           Dutch gender identity clinic treats more

15           than 95 percent of the transgender

16           population in the Netherlands; right?

17                A.      Right.

18                Q.      Pretty comprehensive study;

19           right?

20                        MR. KNEPPER:             Objection, form.

21                A.      As of 2015, yes.                 So it's a

22           7-year-old study, and it's -- it's

23           certainly large in numbers, that's for



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1            sure.      So it's a retrospective chart

2            review of patients visiting the -- the

3            center in the Netherlands, and it's -- it

4            concludes in 2015.

5                 Q.      This is certainly a better study

6            than that seven series case report that

7            you cited in your report; right?

8                 A.      It's a different type of study.

9            Yes, it is.          Right.

10                Q.      Yeah.       This study reports on

11           6,793 people, whereas the case series on

12           which you rely has seven what you call

13           anecdotes; right?

14                A.      I wouldn't say I relied on that

15           study.       I merely presented it as an

16           example of -- of reporting on transgender

17           regret.       I didn't present it as a study

18           that I relied all my opinions on.

19           Certainly, there's other study types and

20           other studies in the literature that --

21           that one might rely more heavily on.

22                Q.      Well, let the --

23                A.      A retro- -- a retrospective



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1            chart review, for example, might be more

2            useful.

3                 Q.      Yeah.

4                 A.      But not -- not definitive.                          And

5            again, we've got to examine the fact that

6            we're looking at old data here.

7                 Q.      Well, let's see what this

8            30-year retrospective review found.                               Look

9            at the "Results" section.

10                A.      Scroll down.            Okay.

11                Q.      Look at the last two sentences.

12           "The percentage of people who underwent

13           gonadectomy within 5 years after starting

14           HT remained stable over time" --

15                A.      Right.

16                Q.      -- "(74.7% of transwomen and

17           83.8% of transmen).                Only 0.6% of

18           transwomen and 0.3% percent of transmen

19           who underwent gonadectomy were identified

20           as experiencing regret."                    Do you see

21           that?

22                A.      I do.       And that has caused me to

23           want to look back and see -- okay.                               So



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1            they started with the 6,800, roughly, and

2            they report on 6,000 -- 7,000 almost.

3            Okay.      And clinic.            Okay.       And increase.

4                         So I'm just trying to see if

5            they reported the average follow-up.

6            They're reporting when they underwent

7            gonadectomy after starting hormone

8            therapy, but they don't report the length

9            of follow-up, which is one of the key

10           reporting points there, because regret,

11           as we talked about earlier, is a -- tends

12           to be a function of time postsurgically.

13           So, let's just scroll down because it's

14           been a long time since I looked at this

15           article.        Transwomen, transmen total

16           underwent gonadectomy.

17                        Yeah.       As I recall, they don't

18           report average follow-up time.                         Every

19           five-year cohort.               So they're looking --

20           they -- they did look at when they

21           entered the system.                Prevalence and

22           treatment.          Confidence interval.

23                        Yeah, as I -- yes.                 So I think



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1            that's -- this is coming back to me now.

2            I think they didn't report the average

3            follow-up or the -- let's see if I'm

4            missing something here.                   Age for each

5            year, so they did break them out in age

6            that they -- they entered the -- the

7            process, the years during which they

8            entered the process, age groups.                          And

9            yeah, I think that's -- that was one of

10           the -- one of the issues.

11                        And this is -- consonant with --

12           with a lot of the literature, is they

13           don't report the follow-up interval.                             And

14           that's what the Swedish study is showing

15           us, that if -- if you don't have a handle

16           on the length of follow-up after sex

17           reassignment surgery, then you don't have

18           a -- you don't have any way to fully

19           understand the issue of lack of efficacy

20           or regret.

21                        If you're asking the questions

22           is the surgery effective in correcting

23           the most calamitous problems that a



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1            transgender person has, which is

2            suicidality, self-harm, and all those

3            things that we talked about earlier, then

4            you have to look at the interval

5            postsurgery in order to have a full

6            understanding of the efficacy of the

7            procedure.          And as I recall now, looking

8            it over again, this study does not report

9            on the follow-up period.                    The median age

10           at first visit was younger, 25.                          Yeah.

11           So they talk about age.                   They talk about

12           the years in which they were cared for,

13           but they don't talk about the length of

14           the follow-up interval, so.

15                Q.      All right.           Let me move on --

16                A.      Okay.

17                Q.      -- to save time.

18                A.      All right.

19                Q.      Go to page 4 and where it says

20           "Regret."

21                A.      Okay.

22                Q.      You with me?

23                A.      I am.



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1                 Q.      Third sentence says -- fourth

2            sentence says, "Reasons for regret were

3            divided into social regret, true regret,

4            or feeling non-binary."                   You see that?

5                 A.      I do.

6                 Q.      And social regret -- strike

7            that.

8                         It says, "Transwomen who were

9            classified as having social regret still

10           identified as women, but reported reasons

11           such as 'ignored by surroundings' or 'the

12           loss of relatives is a large sacrifice'

13           for returning to the male role."                          Do you

14           see that?

15                A.      I do.

16                Q.      All right.           So some of the

17           persons who are being counted as

18           experiencing regret in the study did not

19           experience regret in the sense of they're

20           realizing they're not transgender; right?

21                A.      Realizing they're not

22           transgender?           I'm -- I'm trying to

23           understand your question here.                         So you're



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1            -- you're pointing me to the -- social

2            regret, true regret, feeling non-binary

3            is what's stated here.

4                         "Transwomen who were classified

5            as having social regret still identified

6            as women, but reported reasons such as

7            'ignored by surroundings' or 'the loss of

8            relatives is a large sacrifice' for

9            returning to the male role."

10                        Okay.       Yeah.       So -- so it's --

11           it's reporting without quantifying the

12           reasons for regret and the -- basically

13           all of them, subjective reporting again,

14           so -- okay.

15                Q.      Well -- well, let's go to page

16           6.

17                A.      That's the next page, isn't it?

18           Am I on the right page?

19                Q.      On page 6, it has a large

20           vertical table on the left side.

21                A.      Okay.       There we are.

22                Q.      And you may want to rotate it so

23           that you can see that table 6.



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1                  A.      When I got -- let's see.

2            There's a way to do that, isn't there?

3                          THE COURT REPORTER:                  Yeah.          If

4            you put your cursor over the document, a

5            black rectangle will come up at the

6            bottom.

7                          THE WITNESS:            I see it now.

8            Yes.

9                          THE COURT REPORTER:                  There you

10           go.

11                         THE WITNESS:            All right.           There

12           we are.

13                 Q.      Table 4 is titled

14           "Characteristics of people with regret."

15                 A.      Okay.

16                 Q.      According to this table, out of

17           6,793 patients who received treatment, 14

18           of them reported regret of any type;

19           right?

20                 A.      Okay.

21                 Q.      And all the way on the right,

22           you see there's a "Reason for regret"

23           column; right?



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1                 A.      Right.

2                 Q.      And you're welcome to count it,

3            but by my count, only 7 of those 14

4            reported, quote, unquote, true regret;

5            right?

6                 A.      Yeah.       And what's interesting

7            about that is that those are the same

8            criteria that were used to seek

9            transgender surgery to solve their

10           interior problems.                So many patients will

11           present for care because they feel

12           socially isolated and because they have,

13           you know, issues of -- well, for example,

14           being non-binary and so on, those --

15           those -- like social acceptance and

16           feeling non-binary is among the

17           indications for the procedure.                         So it's

18           interesting to note also that time after

19           surgery, the regretters seem to favor --

20           postsurgical, you start to see them,

21           what, maybe 50 to 90 months out and a lot

22           of them, years -- ten years out.                          Yeah.

23           So that -- that speaks to what we talked



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1            about earlier, that you see these regrets

2            and these problems beyond five years.

3                 Q.      All right.           Whatever criticism

4            you have of the methodology, what the

5            study reports is -- are rates of regret

6            that are below 1 percent; right?

7                         MR. KNEPPER:            Objection, form.

8                 A.      Yeah.       Again, so as we talked

9            about earlier, that's the problem with

10           this study, is that -- is that the -- the

11           denominator is a much larger number than

12           these 14 patients, and they don't address

13           the length of follow-up out of which they

14           extracted these 14 patients.                       So it makes

15           it difficult to interpret the study, and

16           the claim that it's a small number is

17           hard to support by their own evidence

18           because they didn't follow them long

19           enough.       As their own data shows, you got

20           to follow them longer to see the regret

21           in most patients.               And they don't tell us

22           what that number is.

23                Q.      Are you aware that there are



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1            studies on patient regret outside of the

2            treatment for gender dysphoria?

3                 A.      Am I aware of -- of transgender

4            transition regret outside of --

5                 Q.      No.     I'm going to ask -- I'm

6            going to ask this again.

7                 A.      I'm sorry.

8                 Q.      Are you aware there are studies

9            on rates of patient regret outside of

10           surgical treatment for gender dysphoria?

11                A.      Yes.      Absolutely, yeah.                 So --

12                Q.      Okay.

13                A.      One of the -- one of the most

14           important --

15                Q.      Okay.       Let me ask -- yeah,

16           Doctor, let's -- this is going to be a

17           long day.          Just listen to my questions.

18                        Did you do a literature search

19           to find out what the average rates of

20           patient regret are for other surgical

21           procedures compared to surgical treatment

22           for gender dysphoria?

23                A.      I did not.



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1                 Q.      Do you know if those rates are

2            higher, lower, or about the same as the

3            rates of regret for surgical treatment

4            for gender dysphoria?

5                 A.      I would say there's no way of

6            knowing because we don't have the -- the

7            rate of regret in transgender regretters.

8            We don't have that number, so there's no

9            way to compare or to know which is the

10           higher number.

11                Q.      Okay.

12                A.      Like we talked about earlier, we

13           don't have this number.

14                Q.      Well, this one study I just

15           showed you showed a finding of 0.3

16           percent to 0.6 percent; right?

17                A.      Right.        And I -- and as I said,

18           this is -- this is -- it's difficult to

19           use this to compare to other regret cases

20           because of the poor quality of this

21           study.       So I can't use this to compare it

22           to the other studies on regret because

23           this is not -- not useful to that end.                           I



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1            mean, it's useful in seeing that 14 -- 14

2            regretters had these complications, 14

3            regretters had these -- these

4            explanations for their regret.

5                         And so it's kind of like a case

6            collection, and retrospective reviews of

7            -- of patient records are helpful in

8            getting a sense of the size of the

9            problem.        Certainly, this study shows us

10           that there's an increasing patient pool

11           of people who self-identify as

12           transgender.           So in that regard, this

13           publication is very useful.                       But in terms

14           of comparing the regret rate based on

15           this paper, I'd say this paper is

16           useless.

17                Q.      Okay.       Open Exhibit 21.

18           (Exhibit 21 was marked for identification

19           and is attached.)

20                A.      Okay.

21                Q.      Let me know when you have it.

22                A.      Okay.

23                Q.      All right.           This is a



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1            publication from 2017 by Wilson,

2            W-I-L-S-O-N, titled "Regret in Surgical

3            Decision Making: a Systematic Review of

4            Patient and Physician Perspectives."                             See

5            that?

6                 A.      I do.

7                 Q.      All right.           Look at the

8            abstract.         You with me?

9                 A.      I'm -- I'm looking -- I'm just

10           reading it now.

11                Q.      The third sentence says, "We

12           performed a systematic review of the

13           literature focused on patient and

14           physician regret in the surgical

15           setting."         See that?

16                A.      I do.

17                Q.      Now look at "Results."                    See

18           that?

19                A.      I'm there now, yes.

20                Q.      It says, "Of 889 studies

21           identified, 73 patient studies and 6

22           physician studies met inclusion

23           criteria."          Do you see that?



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1                 A.      I'm reading it now, yes.

2                 Q.      I understand this is a

3            systematic review of 73 patient studies

4            and 6 physician studies on regret and

5            surgical decision-making; right?

6                 A.      That's what it says here, yes.

7                 Q.      Then the third sentence of

8            "Results" says, "Interestingly

9            self-reported patient regret was

10           relatively uncommon with an average

11           prevalence across studies of 14.4%."

12           Right?

13                A.      Right.

14                Q.      And then "Conclusion" says,

15           "Self-reported decisional regret was

16           present in about 1 in 7 surgical

17           patients."          You see that?

18                A.      I do.

19                Q.      All right.            So according to this

20           systematic review, one out of seven

21           surgical patients, on average, report

22           having decisional regret; correct?

23                        MR. KNEPPER:             Objection, form.



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1                 A.      Right.        So actually, I would go

2            a little deeper than that.                      The first

3            thing to note about this study -- and

4            again, this is my first reading of it, so

5            I'm on the fly here.

6                         The first thing to note about it

7            is that they looked at nearly 900

8            studies, of which only 73 qualified as

9            having sufficient validity to include in

10           their study.           So this -- this speaks to a

11           problem in the literature.                      I'd have to

12           read lower to see what particular -- if

13           they even examined what kind of surgeries

14           were performed, because regret can happen

15           for a number of reasons, including

16           postsurgical complications and so on,

17           types of surgery.

18                Q.      We don't need --

19                A.      Yeah.

20                Q.      We don't need to dig into this

21           too deeply.          But, I mean, you don't

22           dispute that regret is not uncommon for

23           patients who have any kind of surgical



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1            procedure; right?

2                          MR. KNEPPER:            Objection to form.

3                  A.      No.     You know, there's --

4            there's -- it's such a life-changing

5            event that the potential for regret is

6            very high, so that's why you have to be

7            careful in consenting the patient.

8                  Q.      Okay.       Let me -- let's go back

9            to your report.

10                 A.      Okay.

11                 Q.      Because I hear you criticizing

12           all this evidence, and I want to see the

13           stuff that you're relying on.                         Go to page

14           22.

15                 A.      All right.

16                 Q.      All right.           About halfway down

17           this paragraph, you say, "As reported by

18           one author in 2021, 60,000 testimonies of

19           personal de-transition can be found on

20           the Internet."

21                 A.      Yeah, that's a typo.                  That's a

22           typo.       That should have been 16, not 60.

23                 Q.      Okay.       Well, I think it's more



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1            than that.

2                 A.      Okay.

3                 Q.      So we'll look at this in a

4            second.

5                 A.      Sure, sure.

6                 Q.      And you cited this article from

7            Pablo Exposito-Campos.

8                 A.      Yes.

9                 Q.      E-X-P-O-S-I-T-O, dash,

10           C-A-M-P-O-S.           Right?        That's what you

11           rely on; right?

12                A.      Not relying.            I'm basically just

13           putting that out there as an example of a

14           growing number of patients regretting

15           transitioning, yeah.

16                Q.      Well, no.          What you say in your

17           report is that according to this

18           publication, you can find 60,000 -- or

19           let's call it 16,000 testimonies of

20           personal de-transition on the Internet;

21           right?       That's the point you're making?

22                A.      Sixteen thousand, right.                     Yeah.

23                Q.      Let's look at what that article



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1            actually says.

2                  A.      Okay.

3                  Q.      Okay.       This is going to be

4            Exhibit 22.           And let me know when you get

5            it.

6                  A.      Doesn't seem to be coming

7            through.

8                  Q.      Yeah, it may be stuck on my end.

9            Okay.       Just went through, so you should

10           see it shortly.

11           (Exhibit 22 was marked for identification

12           and is attached.)

13                 A.      There it is.            Okay.        Right.

14                 Q.      All right.           This is the article

15           that you're citing in your report; right?

16                 A.      Uh-huh.

17                 Q.      All right.           So before we get

18           there, you know that what this author was

19           talking about was a Reddit website;

20           right?

21                 A.      Yeah.       That was -- that was

22           their data source, yeah.                     Right.

23                 Q.      Reddit is not a peer-reviewed



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1            publication, obviously; right?

2                 A.      Clearly.

3                         MR. KNEPPER:             Objection.

4                 A.      Yeah.

5                 Q.      Right?

6                 A.      Yes.       It's not a peer-reviewed.

7                 Q.      It's a social website that

8            anyone can access; right?

9                 A.      Right.         Correct.

10                Q.      Anyone can post -- can register

11           an account on Reddit and post whatever

12           they want; right?

13                A.      Right.

14                Q.      A post on Reddit is not

15           something that you would consider

16           reliable scientific evidence, I assume;

17           right?

18                A.      Yeah, no.

19                        MR. KNEPPER:             Objection, form.

20                A.      I would -- I would put that as

21           self-reporting anecdotal-level evidence,

22           that's right.             So it's -- it's not

23           definitive, but it's suggestive of an



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1            area in need of examination.                       And that's

2            the reason I include it here, is not as

3            definitive evidence of a particular level

4            of problem but the -- the presence of a

5            problem that needs to be addressed.                              So

6            the substance of my testimony there where

7            I call this study up is to show that

8            there's a growing body of patients, as we

9            talked about earlier, a growing body of

10           patients who regret their transition and

11           are seeking reversal.                  So that's what

12           this is about.

13                        It's not a quantification of the

14           phenomenon.          It's not a level 3 evidence

15           of the phenomenon.                It's a level 5,

16           self-reported, anecdotal stuff that --

17           that is basically just calling us to look

18           more carefully at what promises to be a

19           controversial area of medical care.                              So

20           this is just part -- part of the

21           controversy is what we're looking at

22           here.      We're not looking at a definitive

23           scientific document, so.



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1                 Q.      It's not even level 5 because at

2            least a case report that's published in a

3            peer-reviewed journal has someone looking

4            at that case report to figure out if it's

5            a real thing; right?

6                 A.      Right.

7                         MR. KNEPPER:            Objection, form.

8                 A.      What we have here is a clinical

9            psychologist who's looking at something

10           going on online, and the clinical

11           psychologist is -- is reporting this,

12           that's right.

13                Q.      Go to page 4 of this article.

14                A.      One, two, three, four.                    Okay.

15                Q.      See there's a second paragraph

16           under "Further clarifications"?

17                A.      Yes, I do.

18                Q.      All right.           And it references

19           this Reddit/detrans subreddit; right?

20                A.      Right.

21                Q.      And it says it's "a subreddit

22           for detransitioners to share their

23           experiences with more than 16,000



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1            members."

2                 A.      That's correct.

3                 Q.      Right?

4                 A.      Uh-huh.

5                 Q.      Then it says, "one can find

6            several stories of people who call their

7            transgender status into question."                               You

8            see that?

9                 A.      Right.

10                Q.      All right.           This author is not

11           saying that there's 16,000 separate

12           testimonies of people tran- --

13           detransitioning on that subreddit; right?

14                A.      I think the author is saying

15           that there's a pool of 16,000 people

16           among whom are evidence of regret or

17           cessation of transition.                    That's what --

18           I think that's what the author's saying.

19                Q.      Well, let's be more specific,

20           because what he actually says is "one can

21           find several stories."                   Right?

22                A.      Right.

23                Q.      There's a very big difference



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1            between, quote, several stories and

2            16,000 stories of detransitioning; right?

3                 A.      I think what the author is

4            saying is that -- that there are -- let's

5            see.      Subreddit -- detran- --

6            experiences -- more than 16- -- one can

7            find several stories of a particular kind

8            of transgender -- persons who call their

9            transgender status into question after

10           stopping transition.

11                        So the several stories have to

12           do with people who call their transgender

13           status into question.                  Not people who

14           regret the surgery, but these are people

15           who regret the diagnosis.                     So he's

16           talking about several stories of

17           regretters of the diagnosis.                       It doesn't

18           speak about regretters of the transition.

19           He doesn't address that in that.

20                Q.      All right.           A bunch of posts on

21           a social website is not scientifically

22           reliable evidence to show the number of

23           different people who actually



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1            detransition; right, Doctor?

2                         MR. KNEPPER:            Form.

3                 A.      Yeah.       As we said before, we

4            have no way of -- at present, of knowing

5            the number of people.

6                 Q.      Okay.       Go back to your report.

7                 A.      Okay.

8                 Q.      Go to page 40.

9                 A.      All right.           Okay.

10                Q.      All right.           Your first paragraph

11           at the top of this page says, "A

12           currently unknown percent-" --

13           "percentage and number of patients

14           reporting gender dysphoria are being

15           manipulated by a -- peer group, social

16           media, YouTube role modeling, and/or

17           parental -- social contagion and social

18           pressure processes."                 Right?

19                A.      That's right.

20                Q.      I take it you're not aware of

21           any peer-reviewed studies that quantifies

22           the number of people with gender

23           dysphoria that are being, quote, unquote,



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1            manipulated by social contagion or social

2            pressure; right?

3                 A.      Again, as I said before, we

4            don't know the numbers because that's not

5            -- it's not adequately reported in the

6            literature.          But what we do know is that

7            the social -- Lisa Littman's article, for

8            example, in 2017 shows us that there's a

9            significant factor in this new

10           demographic of self-reported transgender

11           patients, the new demographic being

12           adolescent to young adult females without

13           prior history of gender dysphoria or

14           gender discordance suddenly reporting

15           transgender self-identification.

16                        And -- and what it shows us,

17           what Lisa -- Lisa Littman's publication

18           from Brown University shows us is that

19           underlying these outbreaks is peer group

20           networks of people online, peer groups

21           online, social media, a modeled speech, a

22           rehearsed speech, and -- and these --

23           these sudden outbreaks of -- of



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1            self-identified transgender patients.

2                         So we know it's there, but we

3            can't quantify it yet.                   It's just it's --

4            but it's -- we have at present no other

5            explanation for why the demographic of

6            self-reported transgender patients has

7            suddenly shifted from virtually all young

8            boys to 50 to 60 percent of the new cases

9            being adolescent to young adult females.

10           And that's -- that's what we're -- what

11           we're talking about here.                     This just

12           speaks to the controversial nature of

13           this -- medical and surgical

14           interventions is that we don't even

15           understand the origin of that phenomenon.

16           And -- and what that Littman article

17           shows us is precisely these things:                              that

18           there's an element of social contagion,

19           that there's peer pressure, there's

20           rehearsed speech, online networks that

21           cause these outbreaks of these new kind

22           of patients, adolescent young adult

23           females who previously had no



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1            self-reporting of trans- -- cross-sex

2            self-identification.

3                         MR. TISHYEVICH:              This is not

4            responsive to my question, and I move to

5            strike it.

6                 Q.      Here's my question, Doctor.                         You

7            are not aware of any peer-reviewed study

8            that quantifies the number of people with

9            gender dysphoria who are being

10           manipulated by social contagion or social

11           pressure; correct?

12                A.      No.     We're at the -- we're at

13           the level of level 4/5 evidence now.

14           Lisa Littman's article is a level 5,

15           possibly 4.          A level 5.           So --

16                Q.      It's not a -- you're also not

17           aware of any peer-reviewed study that

18           quantifies the percentage of people with

19           gender dysphoria who are being

20           manipulated by social contagion or social

21           pressure; correct?

22                A.      No.     That's part of the -- part

23           of the problem with the literature.



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1            Exactly right.

2                 Q.      Yeah.

3                 A.      Exactly right.

4                 Q.      Given this lack of reliable

5            studies, do you agree that this

6            phenomenon of social contagion is

7            currently hypothetical?

8                         MR. KNEPPER:            Objection, form.

9                 A.      I would not agree with that.

10           It's not hypothetical.

11                Q.      Do you -- did you read the

12           response from Lisa -- from Littman to the

13           criticisms to that article?

14                A.      I did.        And -- and I also noted

15           that the -- the -- the organization under

16           which she published that article put

17           considerable pressure on her.                        But she

18           can't retract her data.                   She can retract

19           her conclusions, but she can't retract

20           her data, and she can't retract the

21           findings in the paper itself that show

22           the rehearsed speech, that show the

23           networks that are involved, that showed



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1            the -- the character of the -- the

2            rehearsed speech, like, you know, if

3            you're talking to the psychologist, tell

4            them you've been thinking about suicide;

5            if you're talking to the endocrinologist,

6            tell them you feel better now that you're

7            started on T, that sort of stuff.                           So --

8            so it's not hypothetical, it's actual.

9                         The -- the size of the

10           phenomenon can only be compared to the

11           change in the demographic.                      Why are 60

12           percent of patients fitting into that

13           category suddenly, whereas before, only

14           20 percent of patients were females?

15                Q.      Do you remember --

16                A.      That's what --

17                Q.      Okay.       Do you remember the part

18           of the correction from Ms. Littman where

19           she said that this is a

20           hypothesis-generating article?

21                A.      Hypothesis as to -- as to

22           mechanism of -- of action, and some of

23           the hypotheses are what's listed there:



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1            social network peer -- media -- I'm

2            sorry -- peer pressure, social media,

3            role modeling, social contagion.                          So she

4            admits that is a -- it is not understood.

5            She admits that those phenomena are

6            there, but it -- at present, we're

7            hypothesizing about the actual cause.

8            And this speaks again to the

9            controversial nature of even the

10           diagnosis, much less the treatment.

11                Q.      Go back to your report.

12                A.      Okay.

13                Q.      Page 40.

14                A.      I'm there.

15                Q.      Toward the bottom, you say, in

16           capital letters, "Not Generally

17           Accepted."          You see that?

18                A.      I do.

19                Q.      And you say, "Affirmation

20           medical treatments -- hormones and

21           surgery -- for gender dysphoria and

22           transitioning have not been accepted by

23           the relevant scientific communities."                            Do



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1            you see that?

2                 A.      I do.

3                 Q.      It's your expert opinion that

4            it's generally accepted that puberty

5            blockers are not medically necessary;

6            right?

7                 A.      No.

8                         MR. KNEPPER:            Objection, form.

9                 A.      I would say puberty blockers in

10           the setting of a self-identified

11           transgender is not medically necessary,

12           but puberty blockers are often medically

13           necessary, just not in that particular

14           patient population.

15                Q.      Is it also your expert opinion

16           that it's generally accepted that hormone

17           treatment for gender dysphoria is not

18           medically necessary?

19                A.      Well, the scientific evidence

20           now shows that it is -- is not useful.

21           That's what I said --

22                Q.      Answer my question.                  Is it your

23           expert opinion that it's generally



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1            accepted that hormone treatment for

2            gender dysphoria is not medically

3            necessary?

4                 A.      Yes.

5                 Q.      Is it also your expert opinion

6            that it's generally accepted that

7            gender-affirming surgery for gender

8            dysphoria is not medically necessary?

9                 A.      Yes.      I would say so, yeah.                     I

10           can't put a number on it, but yeah.

11                Q.      All right.           Let me -- let me

12           show you another document.                      Okay.       Let me

13           introduce this.             Okay.        This is going to

14           be Exhibit 23.             And let me know when you

15           get it.

16           (Exhibit 23 was marked for identification

17           and is attached.)

18                A.      Okay.       All right.           I'm there.

19                Q.      Okay.       Top of the page says,

20           "BlueCross BlueShield of North Carolina."

21           Right?

22                A.      Correct.

23                Q.      You know what Blue Cross and



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1            Blue Shield is; right?

2                  A.      Right.

3                  Q.      It's a healthcare insurer;

4            right?

5                  A.      Yes.

6                  Q.      Are you aware that Blue Cross

7            Blue Shield is the largest private

8            insurer in the state of North Carolina?

9                  A.      I am now.

10                         MR. KNEPPER:             Objection, form.

11                 Q.      All right.            This document is

12           titled "Corporate Medical Policy,"

13           "Gender Affirmation Surgery and Hormone

14           Therapy."          Right?

15                 A.      Right.

16                 Q.      Do you know what this is?

17                 A.      Do I know what what is?

18                 Q.      Do you know what this document

19           is?

20                 A.      It appears to be an insurance

21           company document concerning the coverage

22           of certain services.                   I would have to

23           read it to know what it is specifically,



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1            but I think it's probably a policy

2            statement about what is covered and what

3            is not covered and what the diagnostic

4            criteria are.

5                  Q.      Yeah.

6                  A.      What the policy of the company

7            is.        Yeah.     So, shall I read it or?

8                  Q.      I'll walk you through it.

9                  A.      Okay.

10                 Q.      You see it says "Last Review"

11           near the top?

12                 A.      Right.

13                 Q.      It's 3/2021.            That's March 2021;

14           right?

15                 A.      Yes.

16                 Q.      All right.           You understand this

17           policy was a -- strike that.

18                         In your report, you cite a

19           number of articles that you say Dr. Brown

20           and Dr. Schechter overlooked, like a

21           bunch of 2020 articles; right?

22                 A.      Right.

23                 Q.      You understand this was



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1            published -- updated after all those

2            studies that you cited were published;

3            right?

4                 A.      It appears to be.

5                 Q.      Okay.       Go to page 7.             You see it

6            says "Scientific Background and Reference

7            Sources"?

8                 A.      Right.

9                 Q.      You understand this section of

10           the policy provides some of the

11           scientific background on which the policy

12           is based; right?

13                A.      I see that, yes.

14                Q.      And if you go to page -- the

15           next page, page 8, you see there's a

16           bunch of references to Specialty Matched

17           Consultant Advisory Panel; right?

18                A.      I see that, yeah.

19                Q.      And there's some references to

20           sen- -- Senior Medical Director reviews;

21           right?

22                A.      I see that, yeah, from 2016.

23                Q.      Yeah.       Well, if you keep



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1            looking, there's a bunch from 2020;

2            right?

3                 A.      I see medical director review in

4            2020.      Yes, I do.           I see that.

5                 Q.      And then including a medical

6            director review in March 2021; right?

7                 A.      I see it.          That's probably what

8            generated this document.                    Am I right?

9                 Q.      Yeah.       Good guess.            Now,

10           obviously --

11                A.      That's why they pay me the big

12           bucks.       Sorry.

13                Q.      Obviously, you had no

14           involvement with the development of this

15           policy from BlueCross BlueShield of North

16           Carolina; right?

17                A.      Correct.

18                Q.      You have no idea how BlueCross

19           BlueShield of North Carolina came to

20           decide what gender affirmation surgeries

21           or hormone therapy they're going to cover

22           or not; right?

23                A.      Wrong.        I -- I have now some



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1            idea of what they used because you've

2            listed -- or they've listed the

3            scientific background and reference

4            sources for coming to their company

5            policy.       And what I would point you to is

6            the fact that every one of the documents,

7            the scientific documents that support

8            their decision-making, I think the most

9            recent one is 2014.                You've got some that

10           go back to the year 2000.                     So you've got

11           21-year-old DSM-4 characterizations.

12           You've got 2001 Harry Benjamin Gender

13           Dysphoria Association publications.                               The

14           most recent thing is a -- is a -- well,

15           that's actually an advisory panel.                               So

16           the most recent medical article is the

17           Cohen-Kettenis Hembree article from 2016.

18           So what's used to support a March 2021

19           document is essentially six-year-old

20           information.           And as we talked about

21           earlier, it hasn't -- it's changed a lot.

22           It's changed a lot since then.

23                        The fact that Blue Cross Blue



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1            Shield is slow off the mark would be

2            troublesome to the shareholders, I

3            suppose.         But as far as what I'm here to

4            talk about, the scientific basis for

5            this, the scientific basis is old data.

6                 Q.      Doctor, you don't know whether

7            this is an exhaustive list of every

8            scientific resource that Blue Cross Blue

9            Shield considered in making the March

10           2021 update; right?                  You have no idea?

11                        MR. KNEPPER:             Objection, form.

12                A.      I can only go by what they've

13           disclosed.

14                Q.      Right.

15                A.      And what they've disclosed --

16           which I would assume they would be

17           leading with their best information

18           rather than their worst -- I would call

19           that -- the scientific support of low

20           quality because of the -- the

21           better-quality data that's now available

22           in the last three years.

23                Q.      You don't know personally



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1            whether Blue Cross Blue Shield considered

2            any of the articles that you've cited

3            when they're making this policy change in

4            2021; right?           You don't know that?

5                 A.      I have no way of knowing how --

6                 Q.      Yeah.

7                 A.      -- that committee worked.                      I

8            only -- I only assume that they would

9            have put out their best scientific

10           support rather than their weakest.

11                Q.      Yeah.       Bottom of this page, by

12           the way, see there's a section that says,

13           "Policy Implementation/Update

14           Information"?

15                A.      Yes, I see that.

16                Q.      And it says, "7/19/11" --

17                A.      Yeah.

18                Q.      -- "New policy developed."

19           Right?

20                A.      Right.

21                Q.      You understand that Blue Cross

22           Blue Shield has had some form of this

23           policy for gender affirmation surgery



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1            since July 2011?

2                         MR. KNEPPER:            Objection, form.

3                 A.      I can see that they have had a

4            policy, according to their own reporting,

5            since July of 2011.

6                 Q.      All right.           So, let's look at

7            what Blue Cross Blue -- Blue Cross Blue

8            Shield thinks about whether these

9            procedures are medically necessary.                              Go

10           to page 5.

11                A.      Let's see.           So we're at page 8.

12           We're going up to page 5?                     Okay.       Okay.

13                Q.      Give me a second.                Actually, let

14           me start you on page 1.                   You see there's

15           a description of -- let me know when you

16           get there.

17                A.      I'm there.

18                Q.      Okay.       Now, the beginning says,

19           "Gender Dysphoria is the formal diagnosis

20           used by professionals to describe persons

21           who experience significant gender

22           dysphoria (discontent with their

23           biological sex and/or birth gender)."



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1            Right?

2                 A.      Yes, I see that.

3                 Q.      All right.           You understand what

4            this policy is addressing; right?

5                 A.      Yeah.       It's addressing a

6            psychiatric classification, not medically

7            classified as a medical illness.                          So

8            they're -- yeah.

9                 Q.      Okay.       Go to page 2.

10                A.      Can you give me just a moment to

11           reread that sentence for just a second.

12                     (Witness reviews document.)

13                A.      Okay.       Yeah.       So that's

14           boilerplate.           I'm sorry.           Sorry for

15           slowing you down here.

16                Q.      That's fine.            Go to page 2.

17                A.      Okay.

18                Q.      Top of the page says, "Policy."

19           Right?

20                A.      Correct.

21                Q.      And it says, "Services for

22           gender affirmation surgery and hormone

23           therapy may be considered medically



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1            necessary when the criteria below are

2            met."      You see that?

3                 A.      Right.        So that's -- that's

4            language that insurance companies use.

5            If you're not in the category of medical

6            necessity, there's no insurance coverage.

7            So whether or not one could classify it

8            as a medical diagnosis is not at issue.

9            What's at issue is, is the insurance

10           company going to cover this -- this

11           benefit.

12                Q.      Yeah.       Because insurers

13           typically are not in the business of

14           covering services that are not medically

15           necessary; right?

16                A.      No.     I wouldn't --

17                        MR. KNEPPER:            Objection, form.

18                A.      -- characterize it that way.

19                        THE WITNESS:            I'm sorry.

20                A.      I wouldn't characterize it that

21           way.      Insurance companies are in the

22           business of -- certainly, they're in the

23           business of -- of paying for covered



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1            benefits.          But that's the problem with

2            the insurance industry, is their primary

3            fiduciary duty is to their investors.

4            And so the question of coverage has more

5            to do with are we going to make an

6            insurance policy that earns us money or

7            are we going to be paying for something

8            and not seeing the money.                     Okay?       Does

9            that make sense?

10                Q.      Doctor, you --

11                A.      I think that's what -- that's

12           what this language here is talking about

13           is -- is medical necessity is the

14           language that's used when an insurance

15           company will cover.                They will not cover

16           cosmetic surgery, but they're -- they're

17           proposing to cover transgender surgery

18           beginning by attempting to define it as a

19           medical diagnosis.                That's what's at

20           stake here is.

21                Q.      No.     What -- what this policy

22           says is that when certain criteria are

23           met --



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1                 A.      Right.

2                 Q.      -- gender affirmation surgery

3            and hormone therapy may be considered

4            medically necessary; right?                       That's what

5            it says in black and white.

6                         MR. KNEPPER:            Objection, form.

7                 A.      Yeah, again, so medically

8            necessary from the standpoint of an

9            insurance company is if you meet these

10           criteria, we'll pay for it; if you don't

11           meet these criteria, we won't pay for it.

12           That's -- that's --

13                Q.      Right.        And the difference is

14           whether the surgery is considered to be

15           medically necessary or not; right?

16                        MR. KNEPPER:            Objection, form.

17                A.      Well, again, so medically

18           necessary in this case is has the

19           insurance company decided that they're

20           going to cover this benefit.                       It says

21           nothing about the scientific support for

22           the efficacy of the procedure.                         They

23           haven't said anything in that about it.



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1            They've just called it medically

2            necessary.

3                 Q.      All right.           Let's -- let's go

4            off the record.

5                 A.      Okay.

6                         THE VIDEOGRAPHER:                This is the

7            end of Media Unit No. 5.                    We are off the

8            record at 3:25 p.m.

9                                 (Break taken.)

10                        THE VIDEOGRAPHER:                This is the

11           beginning of Media Unit No. 6.                         We are on

12           the record at 3:36 p.m.

13                Q.      (By Mr. Tishyevich) All right.

14           I'm going to introduce another exhibit,

15           Doctor.

16                A.      Okay.

17                Q.      It's being slow on my end.                          Bear

18           with me.        Okay.       This will be Exhibit 24.

19           Let me know when you have it.

20           (Exhibit 24 was marked for identification

21           and is attached.)

22                A.      I will.        Okay.        I've got it.

23                Q.      Okay.       You've seen this study



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1            before; right?

2                 A.      Yes, I have.

3                 Q.      How do you pronounce the lead

4            author's name?

5                 A.      That's the subject of great

6            debate, but I think it's Dhejne or -- I

7            think it's Dhejne, Cecilia Dhejne, but

8            I -- I -- I'm not -- I'm not a

9            Swissophone.

10                Q.      I'll use Dhejne as well.

11                A.      Okay.

12                        MR. TISHYEVICH:                And for the

13           court reporter, it's D-H-E-J-N-E.

14                Q.      Okay.        This is a study from

15           2011; right?

16                A.      Yes.

17                Q.      And you cited this study in

18           several places in your report --

19                A.      I do.

20                Q.      -- right?

21                        And one of the points for which

22           you cite this study is to say that

23           Swedish patients who underwent



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1            gender-affirming surgery had a 19.1 times

2            greater suicide rate than the control

3            group; right?

4                 A.      Yeah.       The hazard ratio for --

5            well, for all reassigned persons is 19.1,

6            and they further break out the -- that

7            into subgroups of female-to-male and

8            male-to-female.

9                 Q.      Yeah.       And you understand how

10           the control group in this study was

11           defined; right?

12                A.      Yes.

13                Q.      The control group did not

14           consist of patients with gender dysphoria

15           who did not undergo gender-affirming

16           surgery; correct?

17                A.      Correct.

18                Q.      The control group consisted of

19           patients without gender dysphoria; right?

20                A.      Yeah.       That's kind of the point

21           of the -- of the research, yes.                          That's

22           right.

23                Q.      Yeah.       What this Dhejne study



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1            compared was the suicide rate for

2            patients who underwent gender-affirming

3            surgery against the general Swedish

4            population; right?

5                 A.      Right.

6                 Q.      And you know there's many

7            studies that find that patients with

8            gender dysphoria, as a population, have a

9            higher risk of suicide compared to the

10           general population; right?

11                A.      Very much accepted fact, yes.

12                Q.      Yeah.       All right.           We'll go to

13           page 7.

14                A.      Let's see here.

15                Q.      You see there's a "Strengths and

16           limitations of the study" section?

17                A.      Two, three, four, five, six,

18           seven.       Yes, I'm there.

19                Q.      All right.           Look at the third

20           full paragraph in that column.

21                A.      Okay.

22                Q.      All right.           Second sentence

23           says:      "The caveat with this design is



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1            that transsexual persons before sex

2            reassignment might differ from healthy

3            controls (although this bias can be

4            statistically corrected for by adjusting

5            for baseline differences).                      It is

6            therefore important to note that the

7            current study is only informative with

8            respect to transsexual persons health

9            after sex reassignment; no inferences can

10           be drawn as to the effectiveness of sex

11           reassignment as a treatment for

12           transsexualism."

13                        You see that?

14                A.      Right.        Yeah.

15                Q.      Then it says:             "In other words,

16           the results should not be interpreted

17           such as sex reassignment per se increases

18           morbidity and mortality.                    Things might

19           have been even worse without sex

20           reassignment."             Correct?

21                A.      Yeah.       It's -- the -- let's see.

22           The -- yeah, so -- and I don't think I

23           ever make the claim that the surgery



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1            increases the risk of morbidity and

2            mortality.          Yeah, I -- I would agree with

3            that.

4                 Q.      Yeah, no --

5                 A.      But I would -- I would also

6            wonder on what basis they -- there's

7            nothing to support that it might have

8            been worse either.                It's for the same

9            reason.

10                Q.      Yeah.       This study does not

11           support the conclusion that sex

12           reassignment surgery by itself increases

13           risk of suicide; correct?

14                A.      That's what they -- they say,

15           yes.

16                Q.      And they also say that this

17           study does not support the conclusion

18           that surgical procedure for gender

19           dysphoria by themselves increase risk of

20           morbidities other than suicide; right?

21                A.      Right.

22                Q.      Okay.       All right.           Let me -- you

23           mentioned that -- in your report the 2020



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1            Finland guidelines.                You recall that?

2                 A.      I do.

3                 Q.      Let me ask you a couple of

4            questions on those.

5                 A.      Okay.

6                 Q.      So I'll introduce another

7            exhibit.        This will be Exhibit 25, and

8            let me know when you get it.

9            (Exhibit 25 was marked for identification

10           and is attached.)

11                A.      Okay.

12                Q.      Let me ask you before we get

13           into this, look at page 46 of your

14           report.

15                A.      Okay.

16                Q.      Near the top, there's a "2020 -

17           Finland" reference.                You see that?

18                A.      I see that, yeah.

19                Q.      You say, "This new Finnish

20           guidance prioritizes psychological

21           therapy over treatment with hormones or

22           surgery and suggests different care plans

23           for early-onset vs late-onset childhood



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1            gender dysphoria."                You see that?

2                 A.      I do.

3                 Q.      And then you say in the last

4            sentence, "The Finland National

5            Guidelines appear quite contrary to the

6            opinions of Drs Brown and Schechter and

7            WPATH."       Do you see that?

8                 A.      I do.

9                 Q.      Is it your opinion that the

10           WPATH guidelines recommend that children

11           who experience gender dysphoria should

12           transition to a different gender role?

13                        MR. KNEPPER:            Objection, form.

14                A.      No.     I would say that the WPATH

15           guidelines essentially leaves us with

16           affirmation care only, that it does -- it

17           does, you know, recom- -- recommend all

18           of the psychological support but all of

19           it in support of transition.                       I would say

20           that.      Yeah.

21                Q.      Yeah.       The WPATH guidelines do

22           not recommend that children with gender

23           dysphoria automatically be put on puberty



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1            blockers; right?

2                  A.      They don't make that

3            recommendation, no.                 They don't state

4            that recommendation, no.

5                  Q.      Yeah.       Let's look at what they

6            actually say.

7                  A.      Okay.

8                  Q.      I'm going to introduce one more

9            exhibit.

10                 A.      So we're going to leave the

11           Finland article for now and go to --

12                 Q.      Yeah.       We'll come back to it.                  I

13           want to show you the WPATH --

14                 A.      Okay.

15                 Q.      -- Standards of Care Version 7

16           first.

17                 A.      Uh-huh.

18                 Q.      All right.           This will be Exhibit

19           26.        Let me know when you have it.

20           (Exhibit 26 was marked for identification

21           and is attached.)

22                 A.      Okay.

23                 Q.      This is a larger file, so this



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1            may take an extra minute or so.

2                 A.      Okay.        I've got it.

3                 Q.      Okay.        These are the WPATH

4            Standards of Care Version 7; right?

5                 A.      Yes.

6                 Q.      Turn to page 23.

7                 A.      Okay.

8                 Q.      All right.            There's a section

9            titled "Social Transition in Early

10           Childhood."           You see that?

11                A.      I must be on the wrong page.

12           Did you say page 23?

13                Q.      It's PDF page 23, which is going

14           to be page 17 in the standards.

15                A.      Oh, I'm sorry.               Okay.        Let's go

16           back, then.           Page 17.          Okay.        I'm there.

17           Right.       "Social Transition in Early

18           Childhood."

19                Q.      All right.            It says:          "Some

20           children state that they want to make a

21           social transition to a different gender

22           role long before puberty.                      For some

23           children, this may reflect an expression



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1            of their gender identity.                     For others,

2            this could be motivated by other forces."

3                         You see that?

4                 A.      I do.

5                 Q.      And then a couple of sentences

6            down, it says:             "This is a controversial

7            issue, and divergent views are held by

8            health professionals.                  The current

9            evidence base is insufficient to predict

10           the long-term outcomes of completing a

11           gender role transition during early

12           childhood."          You see that?

13                A.      I do.

14                Q.      All right.           The WPATH Standards

15           of Care Version 7 is not making any

16           clinical recommendations encouraging

17           children in early childhood to go through

18           gender transition roles; correct?

19                A.      Yeah, I would -- yes.                   I would

20           add to that that they're also not

21           offering any clinical guidance on how to

22           distinguish who might or who might not be

23           suitable for transition.                    Right.



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1                 Q.      Do you know whether that's

2            explored somewhere else in this Standards

3            of Care Version 7?

4                 A.      Yeah.       I think it's discussed.

5                 Q.      Okay.

6                 A.      But -- but it's -- but I --

7            yeah.      So what's -- what's important, I

8            think, in what you cite here is that the

9            current evidence base is insufficient to

10           predict the long-term outcome.                         Yes.

11                Q.      Okay.       Go to the next page.

12                A.      Okay.

13                Q.      Page 18, PDF page 24.

14                A.      Okay.

15                Q.      There's a section titled

16           "Physical Interventions for Adolescents."

17                A.      Right.

18                Q.      Right?

19                A.      Yes.

20                Q.      You understand that adolescents

21           are different than children; right?

22                        MR. KNEPPER:            Objection, form.

23                A.      Well, yeah.           So, adolescents are



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1            treated in pediatric clinics, but they're

2            different from prepubertal children, yes.

3                 Q.      Yeah.       This section does not

4            provide any clinical recommendations for

5            hormone therapy in prepubescent children;

6            right?

7                 A.      Let's see.           I've just got to

8            refresh my memory here on the verbiage.

9                      (Witness reviews document.)

10                A.      Yeah.       So it -- it addresses the

11           important issue of gender fluidity in

12           adolescents, potential for shift to

13           conformity and -- that may not persist.

14           Yeah.      Right.

15                Q.      Okay.       And this section also

16           does not provide any clin- -- clinical

17           recommendations for surgical intervention

18           in prepubescent children; right?

19                A.      This section doesn't address

20           prepubescent children.                   It addresses

21           adolescents.

22                Q.      Yeah, exactly.              And you don't

23           know of any other section in these



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1            Standards of Care Version 7 that provide

2            those guidelines for prepubescent

3            children; right?

4                 A.      No.

5                 Q.      Okay.        Go to the next page, PDF

6            page 25, page 19 in the document.

7                 A.      Okay.

8                 Q.      And you see there's a section

9            that says, "Criteria for

10           Puberty-Suppressing Hormones"?

11                A.      Yes.

12                Q.      It says, "In order for

13           adolescents to receive

14           puberty-suppressing hormones, the

15           following minimum criteria must be met."

16           You see that?

17                A.      Yes.

18                Q.      And then there's four items;

19           right?

20                A.      Yes.

21                Q.      Number 4 says, "The adolescent

22           has given informed consent and,

23           particularly when the adolescent has not



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1            reached the age of medical consent, the

2            parents or other caretakers or guardians

3            have consented to the treatment and are

4            involved in supporting the adolescents

5            throughout the treatment process."

6                         You see that?

7                 A.      Yeah.       That -- in fact, that was

8            one of the most troubling things I read

9            when I reviewed this whole document from

10           the WPATH guidelines, is that -- yeah,

11           that using those words in the same

12           sentence, an adolescent giving informed

13           consent, is a -- is a non sequitur

14           because I -- I don't think -- in all my

15           years of practice as a surgeon, which

16           amounts to greater than 35, the idea of

17           obtaining consent from an adolescent was

18           never accepted by the surgical community

19           or the medical community, to my

20           understanding.

21                Q.      Well, this also talks about

22           getting informed consent from the parents

23           or other caretakers or guardians; right?



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1                 A.      Yeah.       So in their role

2            supporting the adolescent's decision.                            It

3            doesn't say -- yeah.                 So the parents or

4            other caregivers have consented in

5            support.        Right.

6                 Q.      Yeah.       What the guidelines

7            contemplate is that it's not just the

8            adolescent that's going to give an

9            informed consent, it's also the parents

10           or other caretakers or guardians; right?

11                A.      Yeah.       But again, that's the

12           problem I have with it, because that's --

13           the introductory sentence has -- has no

14           meaning -- or the introductory part of

15           the one sentence has no meaning.                          If the

16           beginning point of the process is

17           adolescent consent, that's -- that's not

18           an ethical thing to do because --

19                Q.      Yeah.

20                A.      -- because an adolescent can't

21           grasp -- they don't have enough executive

22           function or development, particularly if

23           they have been through a period of



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1            puberty suppression before they begin the

2            period of cross-sex hormones, that it's

3            -- it's already quite evident that these

4            patients, these children do not have

5            enough -- and it's just known in society

6            at large that adolescent children don't

7            have the capacity for long-term reckoning

8            of things like risk and outcomes and

9            neither do they have the executive

10           capacity in their brains to make an

11           informed consent decision.                      So that part

12           of it is meaningless to me.                       Yeah.

13                Q.      Yeah.       But you understand

14           there's two components to this

15           requirement; one is informed consent by

16           the adolescent, and two is informed

17           consent by parents or other caretakers or

18           guardians.          Right?

19                A.      Yes.

20                Q.      Okay.

21                A.      That's what it says.

22                Q.      All right.           Let's now go back to

23           the Finland guidelines.                   It's Exhibit 25.



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1                 A.      Okay.

2                 Q.      And go to PDF page 9 which has

3            Section 8, "Summary" -- "Summary of the

4            Recommendations."                Let me know when you

5            get there.

6                 A.      Okay.

7                 Q.      All right.            This page provides

8            recommendations for treatment of minors

9            with gender dysphoria in Finland; right?

10                A.      Yes.

11                Q.      All right.            Look at number 2 at

12           the bottom.

13                A.      At the bottom.               Okay.        Okay.

14                Q.      All right.            So it starts with,

15           "If a child is diagnosed prior to the

16           onset of puberty with a persistent

17           experience of identifying as the other

18           sex and shows symptoms of gender-related

19           anxiety, which increases in severity in

20           puberty."         You see that?

21                A.      Yes, I do.

22                Q.      All right.            And then next

23           sentence says, "Based on these



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1            assessments, puberty suppression

2            treatment may be initiated on a

3            case-by-case basis after careful

4            consideration and appropriate diagnostic

5            examinations if the medical indications

6            for the treatment are present and there

7            are no contraindications."

8                         Do you see that?

9                 A.      I do.

10                Q.      All right.           You understand that

11           these Finland guidelines do not

12           categorically prohibit the use of

13           puberty-blocking agents in minors;

14           correct?

15                        MR. KNEPPER:            Objection, form.

16                A.      Right.        They don't

17           categorically, but what they do is they

18           express uncertainty about the data that

19           -- that's been used to support the use of

20           those drugs in children.

21                Q.      Yeah.       But -- but despite that

22           data, what the guidelines recognize is

23           that puberty-blocking treatment may still



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1            be initiated for some minor patients in

2            certain circumstances.

3                 A.      Right.

4                 Q.      Right?

5                 A.      Agree.

6                         MR. KNEPPER:            Objection, form.

7                 Q.      All right.           Let's go back to

8            your report.           Go to page 46.

9                 A.      I'm there.

10                Q.      So in your discussion of these

11           Finland guidelines, you cite something

12           called -- it's a website,

13           genderreport.ca.

14                A.      Correct.

15                Q.      Do you see that?

16                A.      I do.

17                Q.      And I saw at least two other

18           references to this source in your report.

19           All right.          This is -- genderreport is

20           not a peer-reviewed publication, Doctor;

21           right?

22                A.      No.     It's a data collection

23           site.      Yeah.



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1                 Q.      It's a data collection site?

2                 A.      I think that's what the -- so,

3            let me just review what I wrote here.

4                      (Witness reviews document.)

5                 A.      All right.            Okay.       Yeah.        Okay.

6            Yeah, no.         I agree they're not

7            peer-reviewed to my knowledge, no.

8                 Q.      It's a blog; right?

9                 A.      Right.         It's on -- it's online,

10           exactly.

11                Q.      Blogs are not generally

12           considered reliable scientific evidence,

13           I take it.          Right?

14                        MR. KNEPPER:             Objection, form.

15                A.      No, they're not.

16                Q.      Okay.        Do you know who started

17           this genderreport blog?

18                A.      I do not.

19                Q.      Do you know this person was a

20           doctor?

21                A.      I don't know the person, no.

22                Q.      You don't know they're a

23           scientist?



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1                  A.      I'm sorry?

2                  Q.      You don't know whether they're a

3            scientist; right?

4                  A.      I don't know.

5                  Q.      Did you know that this blog was

6            started by a parent who was upset that

7            her daughter was told in school that

8            girls are not real and who filed a

9            lawsuit about it?

10                         MR. KNEPPER:             Objection, form.

11                 A.      I did not know those details,

12           no.

13                 Q.      Assuming that's true, do you

14           think this is an unbiased, objective

15           resource?

16                         MR. KNEPPER:             Objection to form.

17                 A.      I -- I don't know.                  I don't know

18           the answer to that question.

19                 Q.      Do other experts in your field

20           rely on blogs like this one to support

21           their opinions?

22                         MR. KNEPPER:             Objection, form.

23                 A.      And I don't, and neither did I



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1            rely on this as sole support for my

2            opinion.        This -- again, this is just

3            evidence of -- of controversy that exists

4            out in the literature, or that exists out

5            in the -- in the greater world, I should

6            say, in this case because this is not

7            medical literature, but in the wider

8            world.

9                 Q.      Well, as I read this, your page

10           46, you're -- you're citing this gender

11           report for your analysis of the 2020

12           Finland guidelines.

13                        MR. KNEPPER:            Objection, form.

14                Q.      Right?

15                A.      I think I'm using the Finland

16           guidelines as a standalone and just

17           referencing this gender report as

18           evidence of events in Finland rather than

19           scientific support for the conclusions of

20           the Finland review.

21                Q.      Okay.       Another article you cite

22           is the Carmichael 2021 study.

23                A.      Right.



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1                 Q.      Let's look at that one.                     I'll

2            introduce it as Exhibit 27.                       Let me know

3            when you have that.

4            (Exhibit 27 was marked for identification

5            and is attached.)

6                 A.      Okay.       Okay.       I have it.

7                 Q.      Okay.       This is titled,

8            "Short-Term outcomes of pubertal

9            suppression in a selected cohort of 12 to

10           15 year old young people with persistent

11           gender dysphoria in the UK."

12                A.      Right.

13                Q.      Right?

14                A.      Yeah.

15                Q.      All right.           Look at the -- on

16           page 1, you see there's an abstract?

17                A.      Yes.

18                Q.      Under "Methods," it says, "We

19           undertook an uncontrolled prospective

20           observational study."                  Right?        Do you see

21           that?

22                A.      Right.

23                Q.      All right.           This is not a



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1            randomly controlled clinical trial;

2            right?

3                 A.      Right.

4                 Q.      Not a cohort study --

5                 A.      Right.

6                 Q.      -- right?

7                 A.      Right.

8                 Q.      There's no control group; right?

9                 A.      Correct.

10                Q.      You don't mention any of that in

11           your report even though you spend a lot

12           of time discussing the limitations of

13           other studies.              Why is that?

14                        MR. KNEPPER:             Objection, form.

15                A.      I -- we include this to one to

16           show the raging controversy in the world

17           of transgender medicine, and this is an

18           example of that, the -- the evidence of

19           uncertain result or no result, no change

20           from baseline effect.

21                        Let's see.            Let me just review

22           because I've reviewed so many of these

23           articles lately.



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1                      (Witness reviews document.)

2                 A.      Right.        Yeah.       So -- yeah.               So

3            that's right.            So they were unable to

4            quantify benefit or harm from puberty

5            suppression.

6                 Q.      Go to page 21.              See there's a

7            "Strength and Limitations" section?

8                 A.      I see it.          Yes, I do.

9                 Q.      The second sentence says:                      "The

10           study size and uncontrolled design were

11           key limitations.              The small sample size

12           limited our ability to identify small

13           changes in outcomes.                 This was an

14           uncontrolled observational study and thus

15           cannot infer causality."                    See that?

16                A.      I do.

17                Q.      Again, you don't acknowledge any

18           of these limitations in your report;

19           right?

20                        MR. KNEPPER:            Objection, form.

21                A.      Right.        I believe I made

22           reference to this in terms of it's

23           evidence of -- of controversy in the



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1            literature, that they could not see a

2            benefit from it.              So again, at lower

3            levels of evidence, evidence of benefit

4            would suggest further study.                       This shows

5            that further study is needed because, at

6            the observational level, you don't see

7            effect.

8                 Q.      All right.           Another study -- not

9            a study, a review that you cite is this

10           Cochrane 2020 --

11                A.      Yes.

12                Q.      -- review; right?

13                A.      Right.

14                        MR. TISHYEVICH:              And for the

15           court reporter, that's C-O-C-H-R-A-N-E.

16                Q.      I'm going to introduce that one

17           next.

18                A.      Okay.

19                Q.      All right.           I'm introducing this

20           as Exhibit 28, and let me know when you

21           get it.

22           (Exhibit 28 was marked for identification

23           and is attached.)



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1                 A.      I will.        Okay.

2                 Q.      Okay.       This is from the Cochrane

3            Library.        This is the review that you

4            cite in your report; right?

5                 A.      Right.

6                 Q.      Go to page 2.

7                 A.      Okay.

8                 Q.      All right.           You see there's the

9            section titled, "Authors' Conclusions"?

10                A.      Okay.       Yes, I do.

11                Q.      All right.           Toward the end, do

12           you see it says, "We will include

13           non-controlled cohort studies in the next

14           iteration of this review, as our review

15           has shown that such studies provide the

16           highest quality evidence currently

17           available in the field."                    You see that?

18                A.      Yes, I do.

19                Q.      All right.           So the Cochrane

20           review is not saying they're just going

21           to ignore all those studies going

22           forward; right?

23                A.      Right.



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1                         MR. KNEPPER:            Objection, form.

2                 Q.      They rec- -- they recognize that

3            those noncontrolled studies currently

4            represent the best available evidence;

5            right?

6                         MR. KNEPPER:            Objection, form.

7                 A.      Well, yeah.           Before they say

8            best available evidence, they speak about

9            the level of the evidence now.                         And

10           what's -- what's interesting about this

11           Cochrane review, because it's a worldwide

12           review of the literature on the subject

13           of cross-sex hormones and hormone

14           blockade in transwomen, is that they

15           found over a thousand references, and by

16           the time they got through qualifying

17           those references for suitability, they

18           got down to thirteen studies.                        And when

19           they fully screened the text, they got

20           down to a single study.                   And that's --

21           that's kind of characteristic of -- of

22           the data used to support hormonal

23           transitioning.



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1                         And so yeah, they -- they have

2            to -- they have to backpedal in order to

3            get any data because what they have in

4            hand now is -- is not supportive of -- of

5            the use of cross-sex hormones in

6            transwomen, so.

7                 Q.      All right.           Let me introduce

8            another exhibit.

9                         MR. TISHYEVICH:              Can we go off

10           the record?

11                        THE VIDEOGRAPHER:                We are off

12           the record at 4:07 p.m.

13                                (Break taken.)

14                        THE VIDEOGRAPHER:                We are back

15           on the record at 4:20 p.m.

16                Q.      (By Mr. Tishyevich) All right.

17           Doctor, let me ask you about what

18           experience you have with the individual

19           plaintiffs in this case specifically.

20                        You personally did not meet with

21           any of the plaintiffs in this case;

22           correct?

23                A.      No.     I did a review of their



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1            charts and nothing more.                    Yeah.

2                 Q.      All right.           You've personally

3            never spoken with any of the plaintiffs;

4            correct?

5                 A.      I have not.

6                 Q.      You obviously were not present

7            in any meetings that any of these

8            plaintiffs may have had with their mental

9            health professionals; right?

10                A.      I was not.

11                Q.      And you don't know specifically

12           what was said or not said during those

13           meetings; correct?

14                A.      The only information I have

15           about those meetings was what's entered

16           in the medical record that was given to

17           me to review.

18                Q.      Yeah.       You were also not present

19           in any meetings any of the plaintiffs may

20           have had with their endocrinologists;

21           right?

22                A.      Correct.

23                Q.      And outside of reading medical



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1            records, you don't know what was said or

2            not said during those meetings; correct?

3                  A.      Correct.

4                  Q.      And finally, for plaintiffs who

5            had undergone surgical procedures, you

6            were also not present in any meetings

7            between these plaintiffs and their

8            surgeons; correct?

9                  A.      Correct.

10                 Q.      And outside of medical records,

11           again, you don't know what was said or

12           not said during those meetings; correct?

13                 A.      Correct.

14                 Q.      Okay.       You should see a new

15           exhibit pop up, Exhibit 29.

16                 A.      Okay.

17           (Exhibit 29 was marked for identification

18           and is attached.)

19                 Q.      And if you can go to PDF page

20           54.

21                 A.      PDF page 54.            Okay.

22                 Q.      First of all, you understand

23           what this document is; right?



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1                  A.      I didn't get to see the header

2            on it.        I haven't seen this before, I

3            don't think.

4                  Q.      Oh, feel free -- yeah, feel free

5            to go back to the first page if you want

6            to.

7                  A.      Okay.

8                       (Witness reviews document.)

9                  Q.      All right.           This is the --

10                 A.      Okay.       Okay.       So it's --

11                 Q.      Yeah.

12                 A.      -- a benefits booklet for the

13           State health plan.                 Is that right?

14                 Q.      For North Carolina, right.

15                 A.      Yes.      The teachers union --

16           teachers and employ- -- and State

17           employees, right.                Okay.

18                 Q.      You know what a benefit plan is;

19           right?

20                 A.      Yes, uh-huh.

21                 Q.      At a high level, it sets out

22           what the insurer is going to cover or not

23           cover; right?



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1                 A.      Correct.

2                 Q.      Among other things.                   Okay.          And

3            earlier, we talked about medical

4            necessity.          You recall that?

5                 A.      Yes.

6                 Q.      All right.            Go to -- now go back

7            to PDF page 54 of this plan.

8                 A.      Okay.        I'm there.

9                 Q.      You see at the top, it says,

10           "What is not Covered?"                    And it's a list

11           of items?

12                A.      Am I on the right page?                      I'm

13           on -- on PDF page 54?

14                Q.      Yeah.

15                A.      That's the -- the -- oh, I'm

16           sorry.

17                Q.      Plan page 46, so that's --

18                A.      Plan page 46.              Let me back up

19           real quickly here.                 Sorry.        Okay.           I'm

20           there.

21                Q.      At the top or near the top, it

22           says, "What is not Covered?"                         You see

23           that?



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1                 A.      I do.

2                 Q.      There's a list of items

3            alphabetically.              See that?

4                 A.      Yes.

5                 Q.      And under M, it says, "Services

6            or supplies deemed not medically

7            necessary."           "Medically necessary" is in

8            bold; right?

9                 A.      Right.

10                Q.      All right.            Let's look at that

11           definition.           Go to PDF page 89, which is

12           page 81 of the plan.

13                A.      Okay.

14                Q.      All right.            At the bottom, you

15           see there's a definition of "Medically

16           Necessary (or Medical Necessity"; right?

17                A.      Yes.

18                Q.      And it says, "those covered

19           services or supplies that are: a)

20           Provided for the diagnosis, treatment,

21           cure, or relief of a health condition,

22           illness, injury, or disease; and, except

23           for clinical trials as described under



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1            this health benefit plan, not for

2            experimental, investigational, or

3            cosmetic purposes."                  Right?

4                 A.      Okay.

5                 Q.      I understand that as part of

6            determining what the benefit plan is

7            going to consider medically necessary,

8            whether or not the treatment is

9            experimental is one of the factors;

10           right?

11                A.      As would be defined -- so all of

12           the definitions here are determined by

13           the insurance provider.                     So they've

14           defined these listed necessities as

15           covered under their plan, yes.

16                Q.      Yeah.        So under this definition,

17           if a treatment is experimental, it is

18           likely not going to be covered under the

19           plan; right?

20                A.      Right.         According to their

21           definition, it doesn't appear they would

22           cover experimental surgery or cosmetic

23           surgery.



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1                 Q.      Conversely, if a treatment is

2            not experimental, it may be covered by

3            the plan in some circumstances; right?

4                 A.      It would seem --

5                         MR. KNEPPER:             Objection, form.

6                 Q.      Yeah.        And I showed you earlier

7            a policy from BlueCross BlueShield of

8            North Carolina from March 2021 that says

9            that gender-affirming hormone and

10           surgical treatment is considered

11           medically necessary; right?

12                        MR. KNEPPER:             Objection, form.

13                A.      Yeah, no.           As we talked about

14           before, these are definitions formulated

15           by the insurance company to define

16           coverage, not medical definitions in

17           terms of medical care.                    This is strictly

18           coverage by insurance.                    Yeah.

19                Q.      Well, one of the factors that

20           goes into that consideration is whether

21           or not that treatment in question is

22           experimental; right?

23                        MR. KNEPPER:             Objection, form.



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1                 A.      Right.         The plan excludes

2            experimental or investigational or

3            cosmetic procedures.

4                 Q.      Okay.        All right.           We're talking

5            about BlueCross BlueShield of North

6            Carolina.         Let me ask you about another

7            insurer, Aetna, A-E-T-N-A.                       You've heard

8            of Aetna; right?

9                 A.      Yes.

10                Q.      Are you aware that Aetna is one

11           of the five largest health insurance --

12           insurers in the U.S.?

13                A.      It would not surprise me to

14           learn that.

15                        MR. KNEPPER:             Form.

16                Q.      Do you have any idea whether

17           Aetna considers gender-affirming surgery

18           and hormone therapy to be medically

19           necessary?

20                        MR. KNEPPER:             Objection, form,

21           scope.

22                Q.      Would it surprise you if Aetna

23           --



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1                         THE COURT REPORTER:                   I'm sorry.

2            I didn't hear the answer over the

3            objection.

4                         THE WITNESS:             I haven't answered

5            yet.

6                         THE COURT REPORTER:                   Okay.

7                         THE WITNESS:             Sorry.

8                 A.      So as to the size of Aetna or

9            the -- that they cover --

10                Q.      Yeah, let me just ask -- I'll

11           ask the question again.

12                A.      Okay.

13                Q.      Do you have any idea whether

14           Aetna considers gender-affirming surgery

15           and hormone therapy to be medically

16           necessary?

17                        MR. KNEPPER:             Objection, form,

18           scope.

19                A.      I don't.

20                Q.      Well, let me show you.                     I'm

21           going to introduce another exhibit.

22           Okay.      This is going to be Exhibit 30.

23           Let me know when you have it.



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1            (Exhibit 30 was marked for identification

2            and is attached.)

3                 A.      Okay.       All right.           I have it.

4                 Q.      All right.           This is a policy

5            from Aetna titled "Gender Affirming

6            Surgery."         You see that?

7                 A.      I do.

8                 Q.      You see there's a "Policy

9            History" on the right?

10                A.      Yes.

11                Q.      Under "Last Review," it says

12           January 12th, 2021; right?

13                A.      Yes.

14                Q.      So you understand this was

15           revised within this year; right?

16                A.      Yes.

17                Q.      And under Policy, it says,

18           "Aetna considers gender affirming surgery

19           medically necessary when all of the

20           following criteria are met."                       Right?

21                A.      Right.

22                        MR. KNEPPER:            Form.

23                Q.      All right.           So according to this



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1            policy, in Aetna's view, gender-affirming

2            surgery is medically necessary, therefore

3            nonexperimental; right?

4                         MR. KNEPPER:            Objection, form.

5                 A.      Yeah, Aetna's definition of what

6            is medically necessary appears to allow

7            for gender-affirming surgery.

8                 Q.      Okay.       Go to page 3.

9                 A.      Okay.

10                Q.      Look at the bottom of the page.

11                A.      Okay.

12                Q.      The second to the last paragraph

13           says, "Aetna considers

14           gonadotropin-releasing hormone medically

15           necessary to suppress puberty in trans

16           identified adolescents if they meet World

17           Professional Association for Transgender

18           Health (WPATH) criteria."                     Do you see

19           that?

20                A.      I do.

21                Q.      Okay.       According to Aetna,

22           puberty-blocking hormones are medically

23           necessary to suppress puberty in



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1            trans-identified adolescents if they meet

2            the WPATH criteria; right?

3                         MR. KNEPPER:            Objection, form.

4                 A.      That -- that's what it states

5            there, yes.

6                 Q.      By the way, look at the next

7            paragraph.          See it says, "Aetna considers

8            reversal of gender affirming surgery for

9            gender dysphoria not medically

10           necessary."

11                        MR. KNEPPER:            Objection.

12                Q.      Do you see that?

13                A.      I do.

14                Q.      Okay.       We talked about Blue

15           Cross Blue Shield, talked about Aetna.

16           Do you know what Cigna is?

17                A.      Yeah.       It's one of the largest

18           health insurance providers.

19                Q.      Do you know what position Cigna

20           takes on whether gender dysphoria

21           treatment is medically necessary?

22                        MR. KNEPPER:            Objection, form,

23           scope.



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1                  A.      I have not read their policies.

2                  Q.      You don't know; right?

3                  A.      Correct.

4                  Q.      Let me show you that policy.

5                  A.      Okay.

6                  Q.      All right.           This is going to be

7            Exhibit 31.           Let me know when you have

8            it.

9            (Exhibit 31 was marked for identification

10           and is attached.)

11                 A.      Okay.       Okay.       I have it.

12                 Q.      All right.           This is a Cigna

13           medical coverage policy titled "Treatment

14           of Gender Dysphoria."                   Do you see that?

15                 A.      Yes, I do.

16                 Q.      On the right top, it says

17           "Effective Date," May 18th, 2021; right?

18                 A.      Yes.

19                 Q.      Also recently updated; right?

20                 A.      Yes.

21                 Q.      Go to page 2.             Under "Coverage

22           Policy," look at the third paragraph in

23           bold.       It says, "Medically necessary



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1            treatment for an individual with gender

2            dysphoria may include any of the

3            following services, when services are

4            available in the benefit plan."                           Do you

5            see that?

6                 A.      I do.

7                 Q.      All right.            And then there's

8            five different bullets of different

9            categories of services; right?

10                A.      One, two, three, four, five.

11           Yes.

12                Q.      Number two is "Hormonal therapy,

13           including but not limited to androgens,

14           anti-androgens, Gn-" -- "GnRH analogues,

15           estrogens, and progestins."                        Right?

16                A.      Yes.

17                Q.      That's a medically necessary

18           benefit in Cigna's view; right?

19                        MR. KNEPPER:             Objection, form.

20                A.      It is a -- medically necessary

21           as defined by a insurance company for

22           purposes of a policy.

23                Q.      Yeah.



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1                 A.      Yes.

2                 Q.      And the last bullet point says,

3            "Gender reassignment and related surgery

4            (see below)."            Do you see that?

5                 A.      I do.

6                 Q.      According to this policy, in

7            Cigna's view, gender reassignment and

8            related surgery is a medically necessary

9            service; right?

10                        MR. KNEPPER:            Objection, form.

11                A.      Again, so -- so the insurance

12           company makes a distinction between

13           medically necessary, meaning things that

14           they will cover, versus not medically

15           necessary, meaning things they won't

16           cover.       It's not based on an actual

17           medical diagnosis but a -- a managerial

18           diagnosis, because if it's not medically

19           necessary, it's not covered by insurance.

20           So if they choose to cover it, they will

21           call that medically necessary.                         And

22           that's what they're detailing here, what

23           they will cover and what they won't



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1            cover.

2                 Q.      Okay.

3                 A.      And they call what they will

4            cover medically necessary.

5                 Q.      Let me show you one last policy.

6            Do you know -- strike that.

7                         You know what UnitedHealthcare

8            is; right?

9                 A.      Yes, I do.

10                Q.      It's another health insurer;

11           right?

12                A.      Yes.

13                Q.      They're the largest health

14           insurer in the country; right?

15                A.      I don't know that for a fact.

16           I'll assume if you're telling me so.

17                Q.      All right.            Well, do you have

18           any idea whether United considers

19           gender-affirming surgery and hormone

20           treatment to be medically necessary for

21           gender dysphoria?

22                A.      I have a dawning suspicion that

23           they do.



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1                 Q.      Yeah.       I think you can probably

2            tell where this is heading at this point;

3            right?

4                 A.      Sure.       The insurance industry

5            likes these services.

6                 Q.      Let me introduce this next

7            exhibit.        This is going to be Exhibit 32.

8            All right at the top it says, "United

9            Healthcare."           You see that?

10           (Exhibit 32 was marked for identification

11           and is attached.)

12                A.      I don't have it yet.

13                Q.      Oh, I apologize.

14                A.      That's okay.

15                Q.      Let me know when.

16                A.      Okay.       Yes.

17                Q.      All right.           Top right says

18           "United Healthcare" -- "Healthcare

19           Commercial Medical Policy."                       Right?

20                A.      Yes.

21                Q.      Under that, it says, "Gender

22           Dysphoria Treatment."                  Right?

23                A.      Yes.



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1                 Q.      See there's an effective date of

2            April 1, 2021; right?

3                 A.      Yes.

4                 Q.      Also fairly recently updated;

5            right?

6                 A.      Yes.

7                 Q.      Okay.        And then you see there's

8            a bunch of bullet points setting forth

9            criteria for the services on page 1;

10           right?

11                A.      Yeah.        Yes.

12                Q.      Then go to page 2.

13                A.      Okay.

14                Q.      And the first full paragraph

15           says, "When the above criteria are met,

16           the following surgical procedures to

17           treat Gender Dysphoria are medically

18           necessary and covered as a proven

19           benefit."         Do you see that?

20                A.      I do.

21                Q.      Okay.        So United also covers --

22           also considers this treatment to be

23           medically necessary; right?



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1                         MR. KNEPPER:            Objection to form.

2                 A.      Yeah, again, so the interesting

3            thing about this that I'm just reading --

4            because, again, this is the first time

5            I've seen this -- is that the same policy

6            declares that the policy does not apply

7            to individuals with objectively ambiguous

8            genitalia or disorders of sexual

9            development.           So that's an example of the

10           insurance company choosing what to call

11           medically necessary based upon an

12           insurance definition rather than a

13           medical definition.                Because under, you

14           know, plastic surgical/general medical

15           wisdom, ambiguous genitalia and disorders

16           of sexual development are objective

17           medical surgical -- well, medical

18           conditions, at least, that would be

19           covered -- would be considered medically

20           necessary to treat, you know, because

21           disorders of sexual development can

22           include emergencies like adrenal

23           hyperplasia.           So that's a -- you've given



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1            an example of how insurance companies

2            make their own definitions for the sake

3            of distinguishing what they will cover

4            and what they will not cover.

5                 Q.      Go to page 9.

6                 A.      Okay.

7                 Q.      You see there's a section toward

8            the bottom that says, "Benefit

9            Considerations"?

10                A.      Yes.

11                Q.      Third paragraph says, "Unless

12           otherwise specified, if a plan covers

13           treatment for Gender Dysphoria, coverage

14           includes psychotherapy, cross-sex hormone

15           therapy, puberty suppressing medications

16           and laboratory testing to monitor the

17           safety of hormone therapy."                       Do you see

18           that?

19                A.      I do.

20                Q.      You understand that United

21           considers not just surgery but all these

22           other services, including cross-sex

23           hormone therapy and puberty suppressing



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1            medications, to be medic- -- medically

2            necessary for the treatment of gender

3            dysphoria; right?

4                         MR. KNEPPER:            Objection, form,

5            scope.

6                 A.      Yeah, again, the same -- same

7            issues of definition.                  So they -- they

8            can define it any way they choose for the

9            sake of the business of insuring people,

10           yeah.      So they -- they definitely have

11           defined all of the services associated

12           with gender dysphoria as covered

13           benefits.

14                Q.      And not just as covered

15           benefits, as medically necessary; right?

16                A.      Again --

17                        MR. KNEPPER:            Objection, form

18           and scope.

19                A.      Again, they use -- the use of

20           the word "medically necessary" is defined

21           by the insurance company to distinguish

22           covered benefits from not covered

23           benefits, and it's not based in medical



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1            evidence of efficacy or anything else.

2            It's just an internal definition for the

3            sake of their business model.

4                 Q.      You think that insurers do not

5            look at scientific literature in deciding

6            whether or not to cover something?

7                         MR. KNEPPER:            Objection, form.

8                 Q.      Is that really what you think?

9                 A.      Your -- your first example that

10           we've gone through is a -- is an example

11           of the level of literature they've been

12           using, and that example showed that the

13           most recent paper that they used to

14           support it was 2016.                 So in my mind, it's

15           in doubt.         I don't know for a fact what

16           this particular policy used as

17           references.          All I have is what you've

18           shown me on that particular policy.                              And

19           the evidence there was they're not

20           current in the -- in the literature.                              But

21           they're still doing good business,

22           apparently, because they continue even

23           after reviewing.



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1                 Q.      Okay.       Go to page 10.

2                 A.      Okay.       All right.

3                 Q.      See there's a section at the

4            bottom that says, "Clinical Evidence"?

5                 A.      Yes.

6                 Q.      Do you know what that means?

7                 A.      Yes, I do.

8                 Q.      You see then the first thing

9            that's said -- cited is a study from 2019

10           and the second thing is a study from

11           2019, the third thing is a study from

12           2019.      You see that?

13                A.      I do.

14                        MR. KNEPPER:            Objection, form.

15                Q.      Do you under- -- do you

16           understand what this section represents?

17                        MR. KNEPPER:            Objection, form.

18                A.      Permit me to just look at the

19           particular names and the particular cited

20           articles, if I could.

21                     (Witness reviews document.)

22                A.      Sorry.        I just wanted to see if

23           there were any -- and then they go to --



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1            okay.      Okay.       Could I ask you to ask your

2            question again?             I'm sorry to have to do

3            that.      I just wanted to see what you were

4            referring to.

5                 Q.      Yeah.       You understand that this

6            "Clinical Evidence" section provides an

7            overview of some of the scientific

8            evidence on which United based its

9            policy; right?

10                        MR. KNEPPER:            Objection, form.

11                A.      Yes.      They -- they have listed

12           some of the scientific evidence available

13           in the literature.

14                Q.      Including studies as recently as

15           2019 --

16                A.      Yes.

17                Q.      -- right?

18                A.      Right.

19                Q.      And because you weren't involved

20           with writing this policy or updating for

21           United, you don't know what else they may

22           have considered outside of this policy;

23           right?



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1                 A.      I have no way of knowing what

2            they would have considered.                        That's

3            right.

4                 Q.      Okay.        All right.           Let's shift

5            gears a little bit.                  You've heard the

6            term "Christian anthropology."                          Right?

7                 A.      Yes, I have.

8                 Q.      You've used that term yourself;

9            right?

10                A.      Yes, I have.

11                Q.      The view that Christian

12           anthropology takes is that the -- a

13           person's sex assigned at birth is

14           intrinsic and unchangeable; correct?

15                A.      No.

16                        MR. KNEPPER:             Objection, form,

17           scope.

18                A.      I would not say that.

19                Q.      What would you -- how would you

20           describe it?

21                A.      Well, your use of the term "sex

22           assigned at birth" is not -- is not

23           contained within Christian anthropology.



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1                 Q.      Let me try this --

2                 A.      By the -- by the way, I don't --

3            I don't use definitions in Christian

4            anthropology to confect my expert

5            opinion.        My opinion is based in the

6            scientific literature, my review of that

7            literature, and my 30-plus years'

8            experience as a reconstructive surgeon.

9                 Q.      I understand.             The view that

10           Christian -- to use your words, the view

11           that Christian anthropology takes is that

12           a person's biologic sex is intrinsic and

13           unchangeable; right?

14                A.      Yes.

15                        MR. KNEPPER:            Objection, form,

16           scope.

17                Q.      You think that people with

18           gender dysphoria should be welcomed, but

19           they should be told that they're

20           biological sex cannot be changed; right?

21                        MR. KNEPPER:            Objection, form,

22           scope.

23                A.      Yeah.       So, persons who



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1            self-identify as transgender are to be

2            welcomed and are to be cared for because

3            they suffer greatly, and they -- they

4            deserve, in justice -- they deserve, out

5            of justice, I should say, our -- our care

6            and support.           But that care and support

7            must always be rooted in the truth of the

8            nature of the human person, the nature of

9            the biology that informs our

10           understanding of that, because that has

11           to drive our medical and surgical

12           decision-making.

13                        So that's why my -- my expert

14           opinion is based in the objective

15           scientific evidence.                 I don't make

16           reference to my -- any faith statements

17           when I'm -- when I'm developing my expert

18           opinion on transgender medicine and

19           surgery.

20                Q.      In your expert report, you refer

21           to plaintiff Julie -- Dr. Julie McKeown;

22           right?

23                A.      Could you walk me to where I



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1            speak about her?

2                 Q.      Yeah.       Go to -- go to page 54 of

3            your report.

4                 A.      Fifty-four.           Thank you.

5                         MR. TISHYEVICH:              And the

6            spelling is M-C-K-E-O-W-N.

7                 A.      Fifty-four.           Okay.        I'm there.

8                 Q.      Give me a second.                Yeah.       This

9            is -- this is you discussing one of the

10           plaintiffs; right?

11                A.      Yes.      Yes.       I'm on page 53, 54.

12                Q.      Yeah.       And the second full

13           paragraph on page 54, you refer to Dr.

14           McKeown as a he; right?

15                     (Witness reviews document.)

16                A.      Am I looking at the right -- oh,

17           yes.      Okay.      I'm sorry.           Right at the

18           very beginning.             Yes.

19                Q.      Page 48 of your report, this is

20           you discussing minor plaintiff CB; right?

21                A.      Right.

22                Q.      And you refer to minor plaintiff

23           as a she; right?



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1                 A.      Correct.

2                 Q.      Go to page 51.

3                 A.      Fifty-one?

4                 Q.      Five one.

5                 A.      Okay.        All right.

6                 Q.      This is you talking about

7            plaintiff Connor Thonen-Fleck; right?

8                 A.      Let me go to the preceding page

9            because I've got to see where the names

10           -- oh, I only used the initials.                            Yes.

11           CT-F, yes.

12                Q.      It's T-H-O-N-E-N, dash,

13           F-L-E-C-K.          And you refer to him as a

14           she; right?

15                A.      Yes.

16                Q.      Now, you personally do not

17           believe that a person's sex assigned at

18           birth can ever be changed?

19                        MR. KNEPPER:             Objection.

20                Q.      Sorry, let me -- let me use your

21           terms.       You personally do not believe

22           that a person's biological sex can ever

23           be changed; right?



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1                         MR. KNEPPER:            Objection, form.

2                 A.      A person's biological sex can

3            never be changed, yes.

4                 Q.      Do you know what the term

5            "misgendering" is?

6                 A.      It's a -- it's a political term,

7            yes.      It's a political, cultural term, I

8            should say.          Political, cultural term.

9                 Q.      Misgendering means referring to

10           a person in a way that doesn't align with

11           their gender; right?

12                        MR. KNEPPER:            Objection, form.

13                A.      In -- within their hearing, I

14           could see a problem with that.                         But from

15           the standpoint of offering medical

16           evidence, I'm obliged to honor objective

17           biological realities when I speak about

18           an examination of their medical record.

19                        There's so many things at stake

20           relating to the sex of the patient that

21           impinge upon the effects of drugs, the

22           effects of time, the effects of hormones

23           that I -- I cannot incorrectly report the



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1            sex of the patient when I'm talking about

2            objective medical care.

3                         Now, speaking with the patients

4            themselves, I wouldn't do that.                          As we

5            talked about earlier, I have a number of

6            transgender patients, and I don't

7            misgender them.             We're talking here about

8            something that's not within their hearing

9            or I assume they -- I assume that they

10           wouldn't be reading this.                     We're speaking

11           as a professional to a professional

12           review of this stuff, among other

13           experts.        So I think it's essential that

14           we stick to the biological reality that

15           -- that biological sex is immutable.

16                Q.      In your expert report, you are

17           misgendering several of the individual

18           plaintiffs in this case; correct?

19                        MR. KNEPPER:            Objection, form.

20                A.      I would say incorrect, because

21           misgendering is something that's done to

22           the person themselves or is something

23           that they're going to read or hear or



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1            see.      And that's an abuse of the person's

2            right to their name, and I don't do that

3            to people.          I don't misgender people.

4                 Q.      Well, in this report at least,

5            you are referring to several of these

6            plaintiffs, including a minor, in a way

7            that does not align with their gender;

8            right?

9                 A.      I would be --

10                        MR. KNEPPER:            Objection, form.

11                A.      Again, I would be concerned to

12           not do that if it was going to be

13           something they were going to read or

14           hear.      But this expert testimony, in my

15           understanding, is for the Court and for

16           the other experts to review, in which

17           case, I insist upon the -- the prevailing

18           necessity of sticking to objective truths

19           when talking about medical opinions,

20           scientific opinions.

21                        Again, I -- I'm not in the habit

22           of -- of offending people or using names

23           that they haven't chosen, because, again,



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1            I treat transgender patients and I don't

2            subject them to that kind of abuse.                              But

3            when reviewing medical and biological

4            realities like this, I have to insist

5            upon it because medical care is not

6            served by incorrectly naming biological

7            realities and confusing people.                           I can

8            give you an example if you like.

9                 Q.      That's all right.

10                A.      Of a --

11                Q.      That's all right.

12                A.      Okay.

13                Q.      You've used the phrase before,

14           "You can't heal an interior wound with

15           external surgery."                 Right?

16                A.      Yes, I have.

17                Q.      Do you remember giving a

18           presentation at the Gospel of Life

19           conference in Denver in 2018?

20                A.      Yes.

21                Q.      And that presentation was titled

22           "Transgender Surgery & Christian

23           Anthropology."              Right?



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1                 A.      Yes.

2                 Q.      All right.           Let me introduce an

3            exhibit.        This will be Exhibit 33.                         Let

4            me know when you have it.

5            (Exhibit 33 was marked for identification

6            and is attached.)

7                 A.      Okay.       Yes, I have it.

8                 Q.      Go to page 2.

9                 A.      Okay.

10                Q.      These are slides you prepared;

11           right?

12                A.      Yes.

13                Q.      On the bottom left corner,

14           there's a red logo for Courage

15           International.             You see that?

16                A.      I do.

17                Q.      Why did you include that logo in

18           this presentation?

19                        MR. KNEPPER:            Objection, form,

20           scope.

21                A.      This was a presentation for the

22           Archdiocese of Denver, the Catholic

23           Archdiocese of Denver, and it was to an



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1            audience of pastors, teachers, school

2            administrators, and so on.                       And I was

3            there representing my position in the

4            Catholic apostolate of courage, and so

5            making a presentation to a church group,

6            I wanted them to understand the resource

7            so that they could investigate it

8            themselves if they wanted to.                          So I put

9            that up there for their benefit.

10                Q.      Well, some of the topics you

11           covered also included your views on what

12           the scientific evidence on these issues

13           is; right?

14                A.      Yeah.        The -- the talk is a

15           combination of both the scientific

16           evidence and the historic Catholic

17           teachings on the nature of the human

18           person.

19                Q.      For example, go to page -- go to

20           page 87, for example.

21                A.      Okay.        Let me hustle down there.

22           Boy, no wonder people get bored when I

23           give this talk.              It's so long; right?



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1            Let's see.           87.     Here we are.             Is that --

2            let's see.           This is -- I want to make

3            sure I'm on the same page as you are.

4            It's of the --

5                  Q.      It's titled "The Swedish

6            Study" --

7                  A.      Yes.

8                  Q.      -- at the top.

9                  A.      Yes, yes.

10                 Q.      And go to the next page.

11                 A.      Okay.        Yeah.

12                 Q.      You cite from the abstract on

13           that study; right?

14                 A.      Yes.      Well, I -- I'm not citing

15           it.        I'm showing them what this study

16           looks like if they search for it online.

17                 Q.      So part of the talk was your

18           recitation of what you think the

19           scientific evidence on these issues

20           shows; right?

21                         MR. KNEPPER:            Objection, form,

22           scope.

23                 A.      Yeah, I was asked to talk on



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1            this -- on -- on both subjects, as I said

2            earlier, both the -- the teaching in

3            human anthropology as well as the

4            scientific evidence that's used to

5            support these services of transgender

6            medicine and surgery.                  That's right.

7                 Q.      Courage International is an

8            organization that offers support for

9            persons who experience same-sex

10           attraction; right?

11                A.      Yes.

12                        MR. KNEPPER:            Objection, form,

13           scope.

14                Q.      Courage International says that

15           people should not act on same sex

16           attraction and should strive for chastity

17           instead; right?

18                        MR. KNEPPER:            Objection, form,

19           scope.

20                A.      Actually, it's broader than

21           that.      So, Courage addresses chastity as

22           something that's required of everyone.

23           But it -- it particularly addresses the



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1            struggles that persons who experience

2            same-sex attraction experience in trying

3            to maintain the same chastity that all of

4            us are called to.               So it's not an

5            exceptional case; it's a particular

6            apostolate to a particular group of

7            people.

8                 Q.      There's a chapter of Courage

9            International in Birmingham, Alabama;

10           right?

11                A.      That's correct.

12                        MR. KNEPPER:            Objection, form,

13           scope.

14                Q.      And their website lists you as

15           the main contact for that chapter; right?

16                A.      I'm not only the contact, I'm

17           the chaplain for that chapter.

18                Q.      Okay.       Go to page 3 of this

19           presentation.

20                A.      Okay.

21                Q.      Let me know when you get there.

22                A.      Okay.       Two, three.            Yes.      The

23           Challenge?



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1                 Q.      It's titled "The Challenge"?

2                 A.      Yeah.

3                 Q.      The first bullet says, "'Male

4            and female He created them.'"                        Right?

5                 A.      Right.

6                 Q.      That's a quote from Genesis;

7            right?

8                 A.      Correct.

9                 Q.      The capitalized "He" refers to

10           God; right?

11                A.      Yes.

12                Q.      And this bullet reflects the

13           church's position that God has created

14           each individual as either a man or a

15           woman; right?

16                A.      Well, actually, so this -- these

17           slides serve as jumping-off points for a

18           discussion that I have at each slide.                            In

19           this case, the point of the discussion

20           was to disabuse the audience of the idea

21           that they can rely on scripture when

22           addressing this problem because the

23           majority of the people that are seeking



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1            to serve do not speak in Biblical

2            language.         So the point of this slide is

3            to -- is to encourage them to understand

4            that they have to learn a new language in

5            order to be able to speak effectively to

6            people suffering from gender discordance

7            and to speak to their families on this

8            same issue.          That's what this slide is

9            about.       It's not a -- it's not a

10           declaration about what God has said.

11           It's a -- it's an explanation of the

12           problem they're going to have if they're

13           going to seek to serve people who

14           experience same-sex -- I'm sorry, who

15           experience cross-sex identification.

16                Q.      All right.           You say, "'Male and

17           female He created them' has been replaced

18           by a confusion of exceptional cases."

19           Right?

20                A.      Yes.

21                Q.      And by the phrase "confusion of

22           exceptional cases," one of the things

23           you're referring to are patients with



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1            gender dysphoria; right?

2                          MR. KNEPPER:            Objection, form,

3            scope.

4                  A.      Right.        I'm referring to the --

5            the recently growing list of exceptional

6            cases that is enumerated in the -- the

7            acronyms of -- of this topic, LGBTQ add a

8            plus and so on, which can be very

9            confusing to people who are trying to

10           help.       And so I'm acknowledging that the

11           -- the likelihood that they may be

12           confused by those terms, and I'm also

13           acknowledging the sources of those

14           confusing terms.               And the point of the

15           slide, again, is to help them understand

16           there's a language they need to learn and

17           to not be daunted by the confusion that

18           they may experience when they first look

19           into this topic.               Yeah.       That's what this

20           is.

21                 Q.      Go to slide 11.              It's titled

22           "Human Nature."

23                 A.      So slide 11, Human Nature, yes.



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1            Okay.

2                 Q.      So the first two bullets say,

3            "Why must we consider first the nature of

4            the human person?"                Then it says,

5            "Defines the 'end' of medical and

6            surgical care."

7                 A.      Yes.

8                 Q.      What does it mean that it

9            "defines the 'end' of medical and

10           surgical care"?

11                        MR. KNEPPER:            Objection, form,

12           scope.

13                A.      Okay.       So that's a -- that's a

14           term that dates back to Aristotelian

15           philosophy.          And what it has to do is

16           what is the purpose or what is the

17           ultimate arc of a particular thing.                              So

18           the "end" meaning what are you seeking to

19           accomplish, what is the final goal of

20           that -- of that medical or surgical

21           treatment.

22                        So -- and the examples I use are

23           you have to have an understanding, for



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1            example, of normal blood pressure in

2            order to know when to treat it and why

3            normalizing blood pressure is important.

4            Or we have to know that, you know, the

5            human person has two legs, and if he has

6            a poverty of legs, he has a poverty of

7            human flourishing.                And so in the one

8            case, I might be treating with blood

9            pressure medicine, and in the other case,

10           I might be fitting him for a prosthesis.

11           But the point is we have an objective

12           understanding of the nature of the human

13           person, which defines the goals of

14           treatment, whether you're talking about

15           orthopedics or transgender medicine.

16                Q.      Yeah.       You think this concept

17           also applies to the concept of treatment

18           for gender dysphoria; right?

19                A.      It does.         Yes, it does.

20                        MR. KNEPPER:            Objection, form,

21           scope.

22                Q.      All right.           Go to slide 23.

23                A.      Okay.       Okay.



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1                 Q.      The top left says, "Shaping the

2            Conversation, & Grooming a Generation."

3                 A.      Right.

4                 Q.      You see that?

5                 A.      Right.

6                 Q.      What do you mean by "grooming a

7            generation"?

8                 A.      Grooming is a -- is a process by

9            which ideas are introduced that make

10           subsequent actions possible, so that's

11           what -- that's what grooming is, yeah.

12                Q.      Grooming is sometimes used to

13           refer to preparing to -- strike that.

14                        Grooming is sometimes used as

15           preparing children for sexual abuse.

16           Isn't that true?

17                A.      That's one of the --

18                        MR. KNEPPER:             Objection, form,

19           scope.

20                A.      That's one of the uses of

21           grooming, yeah, but it's not exclusive

22           use of grooming.               Yeah.        And I discuss

23           this in this -- in this slide.                          Yes, I



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1            do.

2                  Q.      And you think that discussing

3            gender identity issues with children

4            means sexualizing them; right?

5                  A.      Yes, I do.           Absolutely, I do.

6                          MR. KNEPPER:            Objection, form,

7            scope.

8                  Q.      And you think that discussing

9            gender identity issues with children

10           means grooming them for potential later

11           sexual abuse; right?

12                         MR. KNEPPER:            Objection, form,

13           scope.

14                 A.      No.     No.      What we're talking

15           about here is grooming them for -- for

16           future -- what's the word I would want to

17           choose carefully?                It's preparing them

18           for these interventions is what it does.

19           It lays the groundwork for it by

20           sexualizing their thoughts in a way

21           that's -- is not consonant with their

22           best interest.              That's what this slide is

23           about, so --



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1                 Q.      Let me introduce another

2            exhibit.

3                 A.      Okay.

4                 Q.      This will be Exhibit 34.

5            (Exhibit 34 was marked for identification

6            and is attached.)

7                 A.      Could I back up to that last

8            one?      Would that be all right?

9                 Q.      Sure.

10                A.      Before we -- before we press on.

11           One of the things I'm just recalling, the

12           -- the -- the urgency of having that

13           particular slide there is that when

14           people take care of transgender persons,

15           children in particular, we always -- but

16           including adults.               But -- but children

17           and adults, one always has to be on the

18           lookout for signs of sexual abuse because

19           it's a very -- it's a very commonly

20           reported comorbidity in persons who

21           experience these self-identifications.

22           It's not uncommon to discover that

23           they've suffered some form of abuse that



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1            may be sexual but not necessarily sexual.

2            And so this is -- one of the things I

3            talk about in that slide is -- is for the

4            people who are care providers,

5            counselors, school administrators, to be

6            alert to that possibility.

7                         So I'm sorry, we were going to

8            move on to the next one.

9                 Q.      Do you have the next exhibit?

10                A.      And that is Exhibit 34?

11                Q.      Yeah.

12                A.      Okay.

13                Q.      All right.           This is a printout

14           from LifeSite, and the title is "Plastic

15           surgeon: Sex-change operation 'utterly

16           unacceptable' and a form of 'child

17           abuse.'"        Right?

18                A.      Yes.

19                Q.      And it says, "Dr. Patrick

20           Lappert, a Catholic deacon in Alabama,

21           says changing a person's sex is a lie and

22           also a moral violation for a physician."

23           Right?



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1                 A.      Yes.

2                 Q.      And you hold those views --

3                 A.      I do.

4                 Q.      -- correct?

5                 A.      I do.

6                         MR. KNEPPER:             Objection, form,

7            scope.

8                 Q.      Go to page 2.

9                 A.      Okay.

10                Q.      This was published in September

11           2019; right?

12                A.      Yes.

13                Q.      This is reporting on you

14           appearing on a broadcast of something

15           called the "Relevant Radio's Trending

16           With Timmerie."

17                A.      Yes.

18                Q.      Right?

19                A.      Yes.

20                Q.      You made that appearance; right?

21                A.      On the radio, yes.

22                Q.      Okay.        Look -- look to the fifth

23           paragraph on page 2.



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1                 A.      Okay.

2                 Q.      It says, "He called it 'utterly

3            unacceptable' on moral grounds for a

4            plastic surgeon, because it disregards

5            the surgeon's call to balance respect for

6            both form and function of the body in his

7            or her work."

8                 A.      Right.

9                 Q.      Right?

10                A.      Yes, sir.

11                Q.      You don't deny saying that;

12           right?

13                A.      Right.        You should understand,

14           though, that the use of the term "moral

15           grounds" here is strictly from the

16           standpoint of my training as a plastic

17           surgeon.        I'm not using this as a

18           platform for a religious discussion.

19           Speaking -- I'm speaking about form and

20           function, which are both very crucial to

21           an understanding of what plastic surgery

22           means.

23                        And again, that speaks to the



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1            end of plastic surgery, which is -- when

2            you're speaking about reconstructive

3            surgery, it's the restoration of form and

4            function.         And these operations lack

5            moral basis precisely because they

6            destroy essential human functions for the

7            sake of achieving a cosmetic result,

8            which is morally unacceptable.                         And I say

9            that without reference to any religious

10           teaching.         This is strictly my training

11           as a plastic surgeon, morally

12           unacceptable.            And from the first moments

13           of my training as a reconstructive

14           surgeon, that was drilled into me, that

15           if you're planning a reconstructive

16           operation and it involves the movement of

17           tissue on the patient's body, you never

18           do something that's going to compromise

19           or destroy an essential human function.

20                        You may challenge that function

21           a little bit, as you do, for example, in

22           a radial forearm flap, the same flap

23           that's used to recon- -- to construct a



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1            phalloplasty.            I've used that flap many

2            times to reconstruct head and neck cancer

3            defects, the same neurotized vascular

4            flap.      And I would never dream of using

5            that flap, for example, if I was going to

6            compromise hand function.                     So it obliges

7            me to be careful, to make sure that when

8            I raise the flap, I don't harm the blood

9            supply to the hand.                That's an example of

10           that.

11                        In the example of transgender

12           surgery, by definition, you're destroying

13           fertility for life, which is an immoral

14           act in the eyes of plastic surgery as I

15           learned it through 30-plus years of

16           training.

17                Q.      I understand.             Let me just ask

18           you about the next two paragraphs --

19                A.      Okay.

20                Q.      -- of this article.

21                A.      Okay.

22                Q.      Then it says:             "Regarding

23           children, Lappert said, sexualizing them



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1            at a young age with these ideas is

2            grooming them for later abuse.                         'It's

3            atrocious,' he said.                 'And no one even

4            knows how that's going to play out.

5            There's no body of scientific evidence to

6            even support the safety of doing that to

7            children.         But it's being done.'"                    Right?

8                         MR. KNEPPER:            Objection, form,

9            scope.

10                A.      Okay.       So, let's go through

11           that.      So in this case -- we talked about

12           multiple uses of the word "grooming."                               In

13           this case, the abuse that they're -- it's

14           grooming them for is the abuse we just

15           finished discussing, what I consider to

16           be the abuse of transgender medicine and

17           surgery and what it does to the life of

18           that child.          So that's the abuse I'm

19           referring to here.                I'm not speaking

20           about this in terms of sexual abuse, I'm

21           speaking about in terms of

22           medical/surgical abuse of a child.                               So if

23           you get a child -- if you sexualize a



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1            child's thinking and encourage them to

2            believe, for example, if -- if -- if I --

3            and I don't want to take up your

4            remaining time, but we can go into it in

5            more detail if you wish.                    But the point

6            I'm making here is this is grooming them

7            for medical and surgical abuse.

8                 Q.      Okay.

9                         MR. TISHYEVICH:              We can go off

10           the record.

11                        THE VIDEOGRAPHER:                This is the

12           end of Media Unit 6.                 We are off the

13           record at 5:07 p.m.

14                                (Break taken.)

15                        THE VIDEOGRAPHER:                This is the

16           beginning of Media Unit No. 7.                         We are on

17           the record at 5:14 p.m.

18                Q.      (By Mr. Tishyevich) Doctor,

19           that's all the questions I have for you

20           today.       Thanks for your time.

21                A.      Thank you.           This was my first

22           ever deposition, and you were very kind

23           to me.       Thank you for that.



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1                  Q.      Okay.

2                          MR. TISHYEVICH:              All right.

3            Mr. Knepper?

4                          MR. KNEPPER:            Yeah, I'm ready to

5            go.        I'm sorry.        I actually had you

6            turned down, because when I put you on

7            mute, I could still hear Lane and Andrew.

8            I thought I saw their lips moving.

9                          THE COURT REPORTER:                  Yeah, he

10           said he was finished asking questions.

11                         MR. KNEPPER:            Oh, I'm sorry.               I

12           didn't hear that.                I'm sorry, Dmitriy.                   I

13           apologize.           I had -- you know, Lane

14           and -- and Andrew were talking to one

15           another, and so I was -- I had to turn

16           down my speaker.

17                         So I guess why don't we -- why

18           don't we take a -- I've got 4:15.                            Why

19           don't we take a 15-minute break, and then

20           I'll see if I have anything on redirect,

21           and we'll come back at I guess it would

22           be 6:30 your time, Dmitriy?

23                         MR. TISHYEVICH:              Yeah.



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1                         MR. KNEPPER:            Okay.

2                         MR. TISHYEVICH:              Sounds good.

3                         THE VIDEOGRAPHER:                We are off

4            the record at 5:15.

5                                 (Break taken.)

6                         THE VIDEOGRAPHER:                We are back

7            on the record at 5:29 p.m.

8

9            EXAMINATION BY MR. KNEPPER:

10                Q.      Dr. Lappert, I wanted to ask you

11           a couple of questions about your CV and

12           your biography.

13                A.      Okay.

14                Q.      On your biography, you identify

15           yourself as the Specialty Leader for

16           Plastic and Reconstructive Surgery, the

17           Office of the Surgeon General - United

18           States Navy, from 1997 to 2002.                          Could

19           you describe what that position involved?

20                A.      Yeah.       So I advised the Surgeon

21           General, first of all, with regard to the

22           selection of physicians for advanced

23           training in plastic surgery.                       I also



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1            advised the Office of the Surgeon General

2            on policy matters pertaining to the

3            movement of patients and the availability

4            of services in the various treatment

5            facilities.          I also advised him on policy

6            relating to coverage of particular

7            medical problems versus sending them out

8            into the community for care or declining

9            care.

10                        So part of it was resource

11           management, part of it was personnel

12           management, and part of it was financial

13           management.          And all the time, it

14           required to review the state of the

15           literature regarding reconstructive

16           surgery for combat-injured and as well as

17           medically retired personnel and other

18           retired people.

19                Q.      And I -- I note that also in

20           your resumé is that from 1996 to 2002,

21           you were the Chairman of the Department

22           of Plastic and Reconstructive Surgery at

23           Naval Hospital Portsmouth.                      Could you



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1            describe that -- that facility and its

2            role within the United States military?

3                  A.      Okay.       Well, that -- as

4            department head, I was -- I had a five --

5            five staff plastic surgeons working for

6            me.        I had I think seventeen hospital

7            corpsmen working for me.                     And we provided

8            services, reconstructive surgical

9            services on a referral basis from --

10           essentially from the eastern

11           Mediterranean all the way to Appalachia

12           and from North Carolina -- I'm sorry,

13           from -- from Maryland all the way down to

14           Florida.         So all persons requiring

15           reconstructive surgery, including

16           combat-injured or other, would be

17           referred to us, people with congenital

18           deformities, peop- -- you know, pediatric

19           patients and -- and adults.                        And this was

20           in a -- in the facility which at the time

21           was the largest medical treatment

22           facility in -- I think in the world,

23           certainly in -- in the American purview.



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1                         I also -- I also established and

2            ran congenital craniofacial deformity

3            treatment.          We ran a limb salvage

4            treatment that involved a great deal of

5            microvascular reconstructive surgery for

6            wounds, cancer, that sort of thing.                              We

7            also established the -- the wound care

8            center for that facility, and that --

9            again, we served that large catchment

10           area with advanced wound care services.

11                Q.      Dr. Lappert, you served as a --

12           as a plastic and reconstructive surgeon

13           for the United States Navy.                       Is that

14           correct?

15                A.      Correct.

16                Q.      And you also served as a plastic

17           and reconstructive surgeon in private

18           practice.         Is that correct?

19                A.      Correct.

20                Q.      Could you describe the -- or

21           contrast or describe the similarities and

22           differences in those two practices.

23                A.      Certainly.           Well, so both



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1            practices involved both reconstructive

2            surgery and aesthetic cosmetic surgery.

3            But the difference is that in the

4            military, because of the nature of the

5            requirements, the experience level grows

6            much more rapidly in the military than it

7            does in the civilian world.                       So within

8            the first couple of years of my practice

9            as a reconstructive surgeon in the Navy,

10           I was doing the most advanced

11           reconstructive procedures, such as the

12           mi- -- the neurotized microvascular flap

13           operations that are often used, for

14           example, in the phalloplasties of

15           transgender surgery, or the perineal

16           vaginal reconstruction for cancer, same

17           operations that are used in the

18           vaginoplasty for transgender

19           self-identified persons.                    So a very

20           advanced complexity.

21                        In fact, when I sat for my

22           boards, my oral boards, we had to present

23           ten selected cases that the board



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1            selected, and both of my examiners were

2            startled at the level of complexity for a

3            second-year person out of training, doing

4            craniofacial surgery, free flap

5            operations, massive limb salvage surgery.

6            So that's the distinct difference, what

7            you get in civilian versus what you get

8            in the military.              But both of them

9            involved reconstructive as well as

10           aesthetic cosmetic surgery.

11                Q.      Sure.       Now earlier, you were

12           asked about whether you had performed

13           certain procedures in the context of

14           transgender surgery.                 Is that correct?

15                A.      Yes, sir.

16                Q.      And your answer was that you had

17           not.      Is that correct?

18                A.      That's correct.

19                Q.      Have you done those procedures

20           in the context of your practice of

21           plastic surgery?

22                A.      I have.

23                Q.      Could you describe that --



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1            those -- those circumstances.

2                 A.      Well, as an example, a -- a very

3            memorable case, a patient with what's

4            called Fournier's gangrene, where

5            essentially, they had a massive

6            uncontrollable infection of the perineum

7            that destroyed the scrotum, destroyed

8            major portions of the penis, required

9            what amounts to a reconstructive

10           phalloplasty/scrotoplasty to reconstitute

11           them after a long period of wound care.

12           But the -- the operations to reconstruct

13           the urethra is the same operation that's

14           used to construct the urethra in a

15           phalloplasty or construct the urethra in

16           a metoidioplasty, same operations

17           involving local flaps, mucosal grafts,

18           tubularized flap operations.                       All of

19           those are the same.                Just the indication

20           for the surgery is reconstructive rather

21           than the surgeries for transgender.

22                        Same thing with the

23           vaginoplasty.            Again, often --



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1            oftentimes, reconstruction for radiation

2            injuries secondary to management of

3            vagineal -- vaginal perineal malignancies

4            that require removal of large areas of

5            soft tissue, again reconstruction of the

6            -- the perineum, the external genitalia,

7            the vaginal introitus, the vaginal canal,

8            same operations using flaps, grafts to

9            reconstruct as are used in the

10           transgender surgery world.

11                Q.      So, do you feel that your

12           professional experience and

13           qualifications allow you to comment on

14           the -- the medical operations involved in

15           surgery for a transgender individual?

16                A.      Yes.      I'm -- I'm very familiar

17           with all of those operations.

18                Q.      And -- and you've performed

19           those operations?

20                A.      Yes, I have.

21                Q.      Okay.       Just not in the context

22           of gender transition?

23                A.      That's correct.



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1                 Q.      Okay.       There was a -- there was

2            a brief question, and -- and we didn't

3            get back to it, about one of the articles

4            on your CV on breast reconstruction.                             Is

5            that -- is that correct?

6                 A.      Right.        Yeah, that's one of my

7            listed articles.              That's right.

8                 Q.      Great.        Did you want to -- did

9            you want to say more about that article?

10                A.      Yeah.       So, that's -- was really

11           my entrance into the breast

12           reconstruction world.                  That actually

13           started when I was still a general

14           surgeon and I was collaborating with a

15           plastic surgeon, and we examined the

16           surgical planning for mastectomy in the

17           setting of breast cancer or other causes

18           and -- and the surgeon's role in

19           designing those operations to get the

20           best possible outcome.                   And it was

21           actually a seminal article, up until

22           recently was the most quoted article in

23           the literature on breast reconstruction.



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1            And that was actually the first article

2            that spoke about conservation surgery in

3            surgical planning for the treatment of

4            breast malignancies or other breast

5            problems.

6                 Q.      Dr. Lappert, you were asked

7            questions about the policy or position

8            statements of several professional

9            organizations.             Do you recall those

10           questions?

11                A.      I do.

12                Q.      Did those exhibits or any of the

13           questions change your opinion that

14           affirmative hormonal treatment and

15           surgery remains unproven and

16           experimental?

17                A.      It has not changed my opinion.

18                Q.      You were asked questions about

19           the evidence supporting the provision of

20           hormonal therapy and surgical

21           interventions for the treatment of gender

22           dysphoria.          Is that correct?

23                A.      Yes.



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1                 Q.      Were any of the questions or any

2            of the studies that were presented to

3            you, did they change your opinion that

4            the existing medical evidence supporting

5            those interventions is of very low

6            quality and has methodological defects?

7                 A.      That did not change my opinion

8            about those, no.

9                 Q.      And just to clarify, what is

10           your opinion about the -- about the

11           current state of the evidence supporting

12           hormonal therapy for treatment of gender

13           dysphoria?

14                A.      My opinion is that all of these

15           published studies that are used to

16           support or to justify the use of puberty

17           blockade, cross-sex hormones, or

18           transgender -- gender-affirming surgery

19           are of the lowest quality scientific

20           evidence and are not sufficient to

21           support care and interventions that have

22           such far-reaching and lifelong effects on

23           the patient.



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1                 Q.      Are your opinions on that -- on

2            that issue in this case based on anything

3            other than your review of the scientific

4            and medical literature and your training

5            as a -- as a physician?

6                 A.      No, they're not.

7                 Q.      Dr. Lappert, you were asked

8            about off-label use of Botox for certain

9            muscle -- muscle groups.                    Is that

10           correct?

11                A.      Yes, I was.

12                Q.      And you -- and you described --

13           and you stated that you've actually used

14           Botox off label for treatment of those

15           muscle groups before that was approved by

16           the FDA.        Is that correct?

17                A.      That's correct.

18                Q.      But you have also said that you

19           believe that it is significant and -- and

20           relevant to this case that the use of

21           hormone and puberty blockers for

22           treatment of gender dysphoria is

23           off-label.          Is that correct?



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1                 A.      Yes.

2                 Q.      Could you disting- --

3            distinguish between why you hold the view

4            that off-label uses of some

5            pharmaceuticals is acceptable by a -- by

6            a physician and when you consider that to

7            be unacceptable by a physician?

8                 A.      Right.        So, the off-label use of

9            medications when there's a low risk to

10           the patient or that the -- the possible

11           adverse effect may be brief and that a

12           favorable result is likely where risk is

13           low, then that's justifiable to go off

14           label with medications.                   But when you're

15           -- when you're talking about significant

16           risk to the patient and irreversible

17           changes, that the off-label use places a

18           tremendous burden on the practitioner to

19           -- to have scientific evidence to support

20           his decision to do that.                    And to not have

21           sufficient evidence when doing that is a

22           -- is a -- is a great difficulty in terms

23           of consent and in terms of just general



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1            medical/surgical decision-making.

2                         So the distinction is the

3            risk/benefit equation.                   How much risk are

4            you placing the patient under, is it

5            irreversible, and is the benefit so great

6            that it's worth taking the risk.

7                 Q.      Sure.       Just to follow up, and

8            these are going to be my final questions,

9            is it your view that there are no -- and

10           does it continue to be your view that

11           there are no -- currently no competent --

12           competently conducted long-term,

13           peer-reviewed, reliable, and valid

14           research studies documenting the number

15           or percentage of patients who receive

16           gender-affirming medical interventions

17           who are helped by such procedures?

18                A.      It's still my position that --

19           that the medical literature does not

20           support those interventions of medical

21           and surgical treatment for

22           self-identified transgender persons.

23                Q.      Is it still your view that there



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1            are no published, reliable, and valid

2            research studies that document a valid or

3            reliable biological, medical, surgical,

4            radiological, psychological, or other

5            objective assessment of a -- of a

6            patient's gender identity or gender

7            dysphoria?

8                 A.      Yes.      It's still my position

9            that there are no tests that will confirm

10           or refute the diagnosis of transgender, a

11           diagnosis made by the patient.                         There's

12           no way to test for that.

13                Q.      All right.           Is it still your

14           view, after the evidence and the

15           questions that you've been presented,

16           that an unknown percentage of patients

17           who present with gender dysphoria also

18           suffer from mental illnesses that

19           complicate and may distort their

20           judgments and perceptions of gender

21           identity?

22                A.      Yes.      The -- the world

23           literature demonstrates a consistent and



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1            significant level of comorbidities,

2            including severe anxiety, major

3            depression, self-harm.                   The patient is

4            very likely to be on the autism spectrum.

5            Suicidal ideation.                And -- and the world

6            literature supports that.                     So -- and

7            those are -- those are serious issues,

8            not only in terms of decision-making, but

9            even on the question of consent and

10           competence for consent.

11                Q.      Just one -- one more thing I

12           wanted to follow up with.                     Your testimony

13           -- we didn't cover this, but I want to

14           make sure that it's still your view that

15           medical treatments may differ

16           significantly by sex according to your

17           chromosomal assessment but not based on

18           your gender identity and that

19           misinforming physicians of a patient's

20           biological sex could have deleterious

21           effects on treatment for medical

22           conditions?

23                A.      Yes, that's correct.                  And when



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1            we discuss the issue of misgendering,

2            that's what we were talking about.                               We

3            were talking about placing the patient at

4            risk.      If you're having a -- a discussion

5            or conversation about medical

6            decision-making, you have to distinguish

7            between biological male and female

8            because you run -- there -- there are

9            illnesses that predominate in females

10           that don't exist in males; there are

11           conditions that affect males that do not

12           affect females, and you have to know that

13           if you're going to offer care.                         But

14           again, that hasn't been changed by -- by

15           what I've seen or heard here today.

16           That's still -- is still the case.

17                Q.      Okay.       And it's still your view

18           that the use of hormones and surgery to

19           treat gender dysphoria is not supported

20           by the relevant scientific communities as

21           discerned by your literature review and

22           your training as a physician in

23           reconstructive and plastic surgery?



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1                 A.      Yes.

2                         MR. KNEPPER:            Those are my

3            questions.          I don't think I have anything

4            else.      Did you have follow-ups you

5            wanted, Dmitriy?

6                         MR. TISHYEVICH:              Very, very

7            briefly.

8                         MR. KNEPPER:            Okay.

9

10           EXAMINATION BY MR. TISHYEVICH:

11                Q.      Doctor, you were just asked

12           about your views on why it's okay to use

13           Botox off-label but you have a different

14           view of puberty blockers.                     Do you recall

15           that?

16                A.      I do.

17                Q.      And one of your considerations

18           is the risk/benefit profile of Botox;

19           right?

20                A.      Right.

21                Q.      Do you know what a black box

22           warning is, Doctor?

23                A.      Yes.



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1                 Q.      It's the strongest warning that

2            the FDA can require; right?

3                 A.      That's -- that's right.

4                 Q.      And that warning is typically

5            only used if studies indicate that the

6            drug carries a significant risk of

7            serious or even life-threatening adverse

8            effects; right?

9                 A.      Yes.

10                Q.      Do you know that Botox has a

11           black box warning?

12                A.      Yes, I do.

13                Q.      It's for distant spread of toxin

14           effect; right?

15                A.      Yes.

16                Q.      And the use of Botox has -- has

17           resulted in reports of life-threatening

18           injuries and death; right?

19                A.      I'm even familiar with the case

20           reports that reported that.                        Yes, sir.

21                Q.      Okay.        That's all I've got for

22           you.

23                        MR. KNEPPER:             Okay.        Thank you,



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1            Dr. Lappert.

2                         THE WITNESS:             Thank you.

3                         MR. KNEPPER:             We're finished

4            with your testimony.

5                         Thank you, Dimitry.                   Thank you,

6            Lane.      Thank you, Andrew.

7                         We can go off the record.

8                         THE VIDEOGRAPHER:                 This is the

9            end of Media Unit No. 7.                      We are off the

10           record at 5:47 p.m. Thursday, September

11           30th, 2021, and this concludes today's

12           testimony given by Dr. Patrick Lappert.

13

14                               END OF DEPOSITION

15                                     (5:47 p.m.)

16

17

18

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1                            C E R T I F I C A T E

2            STATE OF ALABAMA                  )

3            COUNTY OF JEFFERSON )

4                         I hereby certify that the above

5            and foregoing proceeding was taken down

6            by me by stenographic means, and that the

7            content herein was produced in transcript

8            form by computer aid under my

9            supervision, and that the foregoing

10           represents, to the best of my ability, a

11           true and correct transcript of the

12           proceedings occurring on said date at

13           said time.

14                        I further certify that I am

15           neither of counsel nor of kin to the

16           parties to the action; nor am I in

17           anywise interested in the result of said

18           case.

19                        /s/ Lane C. Butler

20                        LANE C. BUTLER, RPR, CRR, CCR

21                        CCR# 418 -- Expires 9/30/22

22                        Commissioner, State of Alabama

23                        My Commission Expires:                    2/11/25



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1         John G. Knepper, Esquire

2         john@knepperllc.com

3                                        October 13, 2021

4         RE:       Kadel, Et Al v. Folwell

5               9/30/2021, Patrick Lappert, M.D. (#4814384)

6               The above-referenced transcript is available for

7         review.

8               Within the applicable timeframe, the witness should

9         read the testimony to verify its accuracy. If there are

10        any changes, the witness should note those with the

11        reason, on the attached Errata Sheet.

12              The witness should sign the Acknowledgment of

13        Deponent and Errata and return to the deposing attorney.

14        Copies should be sent to all counsel, and to Veritext at

15        erratas-cs@veritext.com

16

17         Return completed errata within 30 days from

18      receipt of transcript.

19          If the witness fails to do so within the time

20      allotted, the transcript may be used as if signed.

21

22                            Yours,

23                            Veritext Legal Solutions

24

25

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2         Patrick Lappert, M.D. (#4814384)
3                                 E R R A T A         S H E E T
4         PAGE_____ LINE_____ CHANGE________________________
5         __________________________________________________
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21        REASON____________________________________________
22
23        ________________________________                   _______________
24        Patrick Lappert, M.D.                                         Date
25

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1         Kadel, Et Al v. Folwell

2         Patrick Lappert, M.D. (#4814384)

3                           ACKNOWLEDGEMENT OF DEPONENT

4             I, Patrick Lappert, M.D., do hereby declare that I

5         have read the foregoing transcript, I have made any

6         corrections, additions, or changes I deemed necessary as

7         noted above to be appended hereto, and that the same is

8         a true, correct and complete transcript of the testimony

9         given by me.

10

11        ______________________________              ________________

12        Patrick Lappert, M.D.                              Date

13        *If notary is required

14                              SUBSCRIBED AND SWORN TO BEFORE ME THIS

15                              ______ DAY OF ________________, 20___.

16

17

18                              __________________________

19                              NOTARY PUBLIC

20

21

22

23

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                    Federal Rules of Civil Procedure

                                    Rule 30



       (e) Review By the Witness; Changes.

       (1) Review; Statement of Changes. On request by the

       deponent or a party before the deposition is

       completed, the deponent must be allowed 30 days

       after being notified by the officer that the

       transcript or recording is available in which:

       (A) to review the transcript or recording; and

       (B) if there are changes in form or substance, to

       sign a statement listing the changes and the

       reasons for making them.

       (2) Changes Indicated in the Officer's Certificate.

       The officer must note in the certificate prescribed

       by Rule 30(f)(1) whether a review was requested

       and, if so, must attach any changes the deponent

       makes during the 30-day period.




       DISCLAIMER:      THE FOREGOING FEDERAL PROCEDURE RULES

       ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

       THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

       2019.    PLEASE REFER TO THE APPLICABLE FEDERAL RULES

       OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.




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